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                                                                         Expedited Hearing Requested
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 Attorneys for Lehman Brothers Holdings Inc.
 and Certain of its Affiliates
 -------------------------------------------------------------------x
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al.                              :   08-13555 (JMP)
                                                                    :
                                    Debtors.                        :   (Jointly Administered)
 -------------------------------------------------------------------x

        MOTION OF LEHMAN BROTHERS HOLDINGS INC. PURSUANT TO
     BANKRUPTCY RULE 9019 FOR APPROVAL OF SETTLEMENT AGREEMENT
     REGARDING CLAIM OF FEDERAL NATIONAL MORTGAGE ASSOCIATION

 TO THE HONORABLE JAMES M. PECK,
 UNITED STATES BANKRUPTCY JUDGE:

                    Lehman Brothers Holdings Inc. (“LBHI” and the “Plan Administrator”), as Plan

 Administrator under the Modified Third Amended Joint Chapter 11 Plan of Lehman Brothers

 Holdings Inc. and Its Affiliated Debtors (the “Plan”), files this Motion and respectfully

 represents:

                                            Preliminary Statement

                    1.        By this Motion, the Plan Administrator seeks authority to enter into a

 settlement agreement (the “Settlement Agreement”) with the Federal National Mortgage

 Association (“Fannie Mae”), Aurora Commercial Corporation (f/k/a Aurora Bank FSB)

 (“Aurora”) and Aurora Loan Services (“ALS,” together with LBHI and Aurora, the “Lehman




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 Parties,” and collectively with Fannie Mae, the “Parties”).1 The Settlement Agreement is

 expected to benefit LBHI and its creditors in a number of respects.

                    2.        First, the Settlement Agreement provides for the Fannie Mae Claim (as

 defined below) to be reduced and allowed in the amount of $2.15 billion in LBHI Class 7. This

 agreement will resolve one of the single largest remaining claims against LBHI at an amount

 which the Plan Administrator believes to be advantageous to the estate.

                    3.        Second, the Settlement Agreement obligates Fannie Mae to provide the

 Plan Administrator with certain documents and information that will, in turn, allow the Plan

 Administrator to pursue indemnity claims against various third parties for breaches of

 representations and warranties made to Lehman in connection with Lehman’s pre-petition

 residential mortgage loan business. The Plan Administrator expects to obtain substantial

 recoveries in connection with these claims, which will serve to offset a portion of the amounts

 that are paid to Fannie Mae on account of the allowed Fannie Mae Claim.

                    4.        Third, the Settlement Agreement provides for (i) the termination of the

 RPSA, the Transaction Agreements (each as defined below), and any related agreements, and (ii)

 the release of any other claims that Fannie Mae may have against Aurora, ALS or the Debtors (as

 defined below). These provisions are expected to significantly advance the Plan Administrator’s

 ultimate goal of winding down Aurora and ALS in accordance with the Plan.

                    5.        As described below in greater detail, the Settlement Agreement is the

 product of a lengthy, arm’s-length negotiation process among the Parties. Given (i) the uncertain

 legal questions and the factual complexity surrounding many of the issues to be settled by the

 Settlement Agreement, (ii) the risks and expense attendant to litigating each of these settled


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     A copy of the Settlement Agreement is attached hereto as Annex A.


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 issues, and (iii) the net financial effects of the Settlement Agreement, the Plan Administrator

 believes that the Settlement Agreement is fair and reasonable and in the best interests of LBHI,

 its creditors, and all parties in interest. Accordingly, the Plan Administrator requests

 authorization, pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”), to enter into the Settlement Agreement.

                                                 Background

                    6.        Commencing on September 15, 2008, and periodically thereafter (as

 applicable, the “Commencement Date”), LBHI and certain of its subsidiaries (collectively, the

 “Debtors”) commenced with this Court voluntary cases (the “Chapter 11 Cases”) under chapter

 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Chapter 11 Cases have

 been consolidated for procedural purposes only and are being jointly administered pursuant to

 Bankruptcy Rule 1015(b).

                    7.        On December 6, 2011, the Court approved and entered an order

 confirming the Plan (ECF No. 23023) (the “Confirmation Order”). The Plan became effective

 on March 6, 2012. Pursuant to the Plan, the Plan Administrator is, among other things,

 authorized to implement the provisions of the Plan on behalf of LBHI and its controlled

 affiliates.

                    8.        On March 31, 2010, the Court entered an order establishing certain claims

 settlement procedures (the “First Settlement Procedures Order”) (ECF No. 7936).

                    9.         On July 18, 2012, the Court entered an order modifying the First

 Settlement Procedures Order and authorizing the Plan Administrator to, among other things,

 settle certain claims where the allowed amount of the settled claim is less than or equal to $200




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 million without further approval of the Court (the “Second Settlement Procedures Order”) (ECF

 No. 29505).

                                                  Jurisdiction

                    10.       This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

 §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

                                               Relief Requested

                    11.       Under the terms proposed in the Settlement Agreement, the Fannie Mae

 Claim will be reduced from its asserted amount of approximately $18.9 billion and allowed in

 the amount of $2.15 billion in LBHI Class 7—an amount that is in excess of the $200 million

 threshold for discretionary claims settlements established under the Second Settlement

 Procedures Order. Accordingly, the Plan Administrator seeks authorization, pursuant to

 Bankruptcy Rule 9019, to enter into the Settlement Agreement. The Plan Administrator has

 determined, in the exercise of its sound business judgment, that the Settlement Agreement is fair

 and reasonable, in the best interests of LBHI and its creditors, and should be approved.

                                            The Fannie Mae Claim

                    12.       On September 22, 2009, Fannie Mae filed a claim in LBHI’s Chapter 11

 Case (Claim No. 29557) arising out of (i) LBHI’s alleged guarantee of certain obligations of

 Lehman Brothers Special Financing Inc. under an ISDA master agreement (the “Guarantee

 Claim”), (ii) LBHI’s alleged obligations under the MSSC (as defined below), (iii) LBHI’s

 alleged obligations under various sale and servicing agreements between LBHI and Fannie Mae,

 (iv) LBHI’s alleged violations of the Federal securities laws in connection with the issuance of

 certain private label securities (the “PLS Claim”), (v) LBHI’s alleged violations of the Federal

 securities laws in connection with the issuance of certain notes, (vi) LBHI’s alleged obligations



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 under that certain sale agreement, dated as of October 5, 2007, and (vii) certain alleged

 indemnity obligations of LBHI in connection with certain of the above (claims (ii)-(vii) above

 shall be referred to herein as the “Fannie Mae Claim”). The total asserted amount of the Fannie

 Mae Claim was approximately $18,937,811,000.2

                    13.       On January 6, 2012, the Bankruptcy Court so ordered a stipulation

 between Fannie Mae and LBHI pursuant to which, among other things, LBHI agreed that the

 Reserve Amount (as such term is defined in the Plan) for the Fannie Mae Claim would be

 $5,000,000,000 in LBHI Class 7 (ECF No. 24097).

                    14.       On January 26, 2012, the Bankruptcy Court entered an order allowing the

 Guarantee Claim in the reduced amount of $110,000,000 (ECF No. 24670).

                    15.       On September 27, 2013, the Plan Administrator filed an objection seeking

 to subordinate the PLS Claim portion of the Fannie Mae Claim pursuant to section 510(b) of the

 Bankruptcy Code (the “Objection”) (ECF No. 40244). On October 28, 2013, Fannie Mae filed a

 response to the Objection (the “Response”) (ECF No. 40770). On November 20, 2013, the Plan

 Administrator filed a reply to the Response (the “Reply,” collectively with the Objection and the

 Response, the “Subordination Pleadings”). The hearing on the Subordination Pleadings has been

 adjourned until January 28, 2014.

                                     The Representation and Warranty Claims

                    16.       Prior to the Commencement Date, the Lehman enterprise was involved in

 the buying and selling of residential mortgage loans in the secondary marketplace. As part of

 this business, LBHI acquired loans secured by residential real property (the “Mortgage Loans”)


 2
   The original filed amount of Claim No. 29557 was $19,058,000,000 plus unliquidated amounts. The
 $18,937,811,000 amount of the Fannie Mae Claim used herein was obtained by reducing the filed amount
 of Claim No 29557 by the asserted amount of the Guarantee Claim portion of Claim No. 29557.


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 from various third party originators or brokers (the “Mortgage Originators”),3 which it then

 transferred, directly or indirectly, to upstream investors ranging from government sponsored

 entities (e.g., Fannie Mae), large financial institutions, and/or securitization trusts that issued

 residential mortgage backed securities. In connection with its acquisition of the Mortgage

 Loans, LBHI generally received representations and warranties from the Mortgage Originators

 regarding the character, quality and marketability of the Mortgage Loans. At times, when LBHI

 transferred the Mortgage Loans to an upstream investor, particularly with respect to Fannie Mae,

 LBHI made similar representations and warranties regarding the Mortgage Loans for the benefit

 of such investor.

                    17.       Fannie Mae acquired a large number of Mortgage Loans from LBHI

 pursuant to that certain Mortgage Selling and Servicing Contract, dated as of April 8, 1994 (the

 “MSSC”). Consistent with the above, the MSSC required LBHI to make certain representations

 and warranties to Fannie Mae with respect to each Mortgage Loan acquired by Fannie Mae

 under the MSSC. A substantial portion of the Fannie Mae Claim arises out of alleged breaches

 of these representations and warranties.

                    18.       To the extent that there are any breaches of LBHI’s representations and

 warranties, such breaches are also likely to apply to the representations and warranties made by

 the Mortgage Originators to LBHI, meaning that LBHI has corresponding indemnification

 claims against the Mortgage Originators. However, pursuing indemnification claims against the

 Mortgage Originators requires a substantial amount of loan-level information which must be

 obtained from Fannie Mae or Fannie Mae’s agents. Accordingly, while the Settlement

 Agreement will crystalize LBHI’s representation and warranty liability to Fannie Mae, it will


 3
     LBHI also acquired Mortgage Loans from certain affiliates including Aurora and BNC Mortgage LLC.


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 also enable the Plan Administrator to pursue LBHI’s related indemnification claims against the

 Mortgage Originators. The Plan Administrator expects that LBHI will realize substantial

 recoveries on such claims.

                                               The PLS Claim

                    19.       Another significant portion of the Fannie Mae Claim arises out of LBHI’s

 alleged violation of sections 11 and 12(a)(2) of the Securities Act of 1933 in connection with the

 marketing or sale to Fannie Mae of certain residential mortgage backed securities, i.e., the PLS

 Claim. Specifically, Fannie Mae alleges that it relied on misleading representations or omissions

 in the prospectus and prospectus supplement for each of the LBHI-sponsored residential

 mortgage backed securities listed in the Fannie Mae Claim (the “Lehman RMBS”).

                    20.       The Plan Administrator does not believe that the PLS Claim has any merit.

 Moreover, as set forth in the Objection and the Reply, LBHI’s indirect subsidiary Structured

 Asset Securities Corporation is the issuer of the Lehman RMBS and, accordingly, the Lehman

 RMBS are securities of an affiliate (SASCO) of the debtor (LBHI). Under section 510(b) of the

 Bankruptcy Code, therefore, the Plan Administrator asserts that the PLS Claim portion of the

 Fannie Mae Claim must be subordinated to all allowed general unsecured claims against LBHI.

 The hearing on the Subordination Pleadings has been adjourned while the parties seek a

 consensual resolution of the entire Fannie Mae Claim.

                   Claims Relating to the REMIC and Grantor Trust Transactions

                    21.       The remaining major portion of Fannie Mae’s claims relate to indemnity

 obligations of LBHI relating to the REMIC and Grantor Trust transactions. LBHI, as lender and

 servicer, and Fannie Mae, as purchaser, are parties to 38 Sale and Servicing Agreements

 pursuant to which LBHI sold certain fixed-rate and adjustable- rate, fully amortized FHA-



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 insured or VA-guaranteed residential mortgage loans that were deposited into Fannie Mae’s

 Guaranteed REMIC or Grantor Trusts. Under the Sale and Servicing Agreements, LBHI agreed

 to indemnify Fannie Mae and be responsible for losses resulting from a borrower default under

 or modification of loans deposited into these Trusts.

                    22.       Fannie Mae asserted total claims of approximately $442 million pursuant

 to these Sale and Servicing Agreements against LBHI. Unlike Fannie Mae’s representation and

 warranty based claims described above, Fannie Mae’s claims under the Sale and Servicing

 Agreements are not contingent on LBHI’s breach of a representation and warranty regarding the

 quality of the loan. Rather, LBHI agreed to be responsible without condition for certain losses

 incurred by Fannie Mae under loans sold to it pursuant to the Sale and Servicing Agreements.

 Thus, the primary issue with respect to Fannie Mae’s claims in respect of the Sale and Servicing

 Agreements was factual and required LBHI to validate the amount of Fannie Mae’s actual and

 estimated future losses.

             The Amended and Restated Repurchase, Pledge and Security Agreement

                    23.       In connection with its efforts to wind down the businesses of Aurora and

 ALS, the Plan Administrator caused Aurora and ALS to enter into an agreement with Nationstar

 Mortgage LLC (“Nationstar”) pursuant to which ALS and Aurora agreed to transfer to

 Nationstar their respective rights to service certain loans owned by Fannie Mae. In order to

 effectuate the transfer of such rights, however, Aurora and ALS were required to obtain Fannie

 Mae’s consent. Accordingly, on or about June 11, 2012, ALS, Aurora and Fannie Mae entered

 into that certain Amended and Restated Repurchase, Pledge and Security Agreement (the

 “RPSA”) pursuant to which Fannie Mae consented to the transfer of Aurora’s and ALS’s

 servicing rights to Nationstar, and Aurora and ALS agreed to post collateral in the amount of



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 approximately $25 million (the “Collateral”) to Fannie Mae to secure and/or satisfy the

 obligations of Aurora and ALS under the RPSA and the Transaction Agreements (as defined in

 the RPSA)—primarily the obligation of Aurora or ALS, as applicable, to repurchase certain

 defaulted mortgage loans from Fannie Mae and/or pay to Fannie Mae certain servicing fees and

 penalties. The Plan Administrator understands that Fannie Mae continues to hold Collateral in

 the approximate amount of $22.9 million.

                                         The Settlement Agreement4

                    24.       As set forth in the Declaration of Zachary Trumpp, attached hereto as

 Annex B, the Settlement Agreement is comprised of four key elements. First, the Fannie Mae

 Claim will be reduced and allowed in the amount of $2.15 billion in LBHI Class 7. This amount

 is the product of substantial negotiations of each element of the Fannie Mae Claim and takes into

 consideration, among other things, (i) similar settlements that Fannie Mae has entered into with

 other large banks regarding claims related to alleged breaches of representations and warranties;

 (ii) the strengths and weaknesses of the Parties’ respective legal arguments in connection with

 the disputed portions of the Fannie Mae Claim; and (iii) the expense and delay attendant to

 litigating each of the disputed portions of the Fannie Mae Claim, particularly with respect to the

 PLS Claim and the claims related to the Rep and Warranty Default Loans.5

                    25.       Second, the Settlement Agreement establishes Fannie Mae’s damages with

 respect to each Rep and Warranty Default Loan and obligates Fannie Mae to provide (or cause

 its agents to provide) to the Plan Administrator all of the documents and information required by

 4
   This summary is intended to be used for information purposes only. This summary is qualified in its
 entirety by the provisions of the Settlement Agreement and shall not, in any way, affect the meaning or
 interpretation thereof.
 5
  The Federal Housing Finance Agency (“FHFA”), in its capacity as conservator for Fannie Mae, has
 authorized Fannie Mae to enter into the Settlement Agreement.


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 the Plan Administrator to pursue LBHI’s indemnification claims against the Mortgage

 Originators for their breaches of representations and warranties. The Plan Administrator is

 confident that these provisions will significantly enhance LBHI’s ability to obtain recoveries

 from the Mortgage Originators. Such recoveries are expected to offset a portion of the

 distributions made on account of the allowed Fannie Mae Claim.

                    26.       Third, in exchange for Aurora’s and ALS’s release of the Collateral to

 Fannie Mae, Fannie Mae will consent to the termination of the RPSA and the Transaction

 Agreements and release Aurora and ALS from any further obligations in connection therewith.

                    27.       Finally, the Settlement Agreement provides for the Lehman Parties on the

 one hand, and Fannie Mae on the other, to provide each other with a broad release of existing

 claims. These last two provisions are expected to benefit the Lehman Parties by removing

 uncertainty with respect to any future liability to Fannie Mae and will also allow the Plan

 Administrator to move forward with the orderly wind-down of Aurora and ALS.

                                        Basis for the Relief Requested

                    28.       Bankruptcy Rule 9019(a) provides “[o]n motion by the trustee and after

 notice and a hearing, the court may approve a compromise or settlement.” FED. R. BANKR. P.

 9019(a). This rule empowers bankruptcy courts “to approve settlements if they are in the best

 interests of the estate.” Vaughn v. Drexel Burnham Lambert Grp., Inc. (In re Drexel Burnham

 Lambert Grp., Inc.), 134 B.R. 499, 505 (Bankr. S.D.N.Y. 1991). The settlement need not result

 in the best possible outcome for the debtor, but must not “fall beneath the lowest point in the

 range of reasonableness.” Id.; see also Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599,

 608 (2d Cir. 1983); In re Spielfogel, 211 B.R. 133, 144 (Bankr. E.D.N.Y. 1997).




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                    29.       “Compromises are a normal part of the process of reorganization.” Prot.

 Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson (“TMT Trailer Ferry”),

 390 U.S. 414, 424 (1968) (quoting Case v. L.A. Lumber Prods. Co., 308 U.S. 106, 130 (1939)).

 The decision to approve a particular compromise lies within the sound discretion of the

 bankruptcy court. See Nellis v. Shugrue, 165 B.R. 115, 123 (S.D.N.Y. 1994). The court’s

 discretion must be exercised “in light of the general public policy favoring settlements.” In re

 Hibbard Brown & Co., 217 B.R. 41, 46 (Bankr. S.D.N.Y. 1998). A proposed compromise and

 settlement implicates the issue of whether it is “fair and equitable, and … in the best interest of

 the [debtor’s] estate.” In re Best Products Co., 168 B.R. 35, 50 (Bankr. S.D.N.Y. 1994) (internal

 citations omitted). The court must apprise itself “of all [relevant] facts necessary for an

 intelligent and objective opinion of the probabilities of ultimate success should the claim be

 litigated.” TMT Trailer Ferry, 390 U.S. at 424.

                    30.       While a court must evaluate “all … factors relevant to a full and fair

 assessment of the wisdom of the proposed compromise,” TMT Trailer Ferry, 390 U.S. at 424,

 there is no requirement for the conduct of a “mini-trial” of the claims being settled or a full

 independent investigation. See In re W.T. Grant Co., 699 F.2d at 608; In re Drexel Burnham

 Lambert Grp., Inc., 134 B.R. at 505. “The bankruptcy judge does not have to decide the

 numerous questions of law and fact. . .. The court need only canvass the settlement to determine

 whether it is within the acceptable range of reasonableness.” Nellis, 165 B.R. at 123 (internal

 citations omitted). Lastly, in assessing a global settlement of claims, “[t]he appropriate inquiry is

 whether the Settlement Agreement in its entirety is appropriate for the . . . estate.” Air Line

 Pilots Ass’n, Int’l v. Am. Nat’l Bank & Trust Co. of Chi. (In re Ionosphere Clubs, Inc.), 156 B.R.

 414, 430 (S.D.N.Y. 1993) (emphasis added), aff’d, 17 F.3d 600 (2d Cir. 1994).



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                    31.       The Settlement Agreement offers substantial value to LBHI, significantly

 advances the claims resolution process, and is manifestly in the best interests of LBHI and

 LBHI’s creditors. Principally, the Settlement Agreement provides for the resolution of one of

 the largest remaining claims against LBHI at an amount that is substantially less than the

 asserted amount of that claim, while also obviating the need for LBHI to engage in litigation

 over the many complex issues raised in the Fannie Mae Claim. Litigating these issues would

 require the development of a massive factual record, including the determination of whether

 LBHI breached its representations and warranties in connection with each of the thousands of

 Mortgage Loans that are the subject of the Fannie Mae Claim. Such litigation would be very

 expensive and require the diversion of vast amounts of time and effort on the part of the Plan

 Administrator, the Plan Administrator’s professionals, and the Court—resources that could more

 profitably be spent on other aspects of the Chapter 11 Cases.

                    32.       In addition to resolving the Fannie Mae Claim on terms that are favorable

 to LBHI, the Settlement Agreement also significantly enhances LBHI’s ability to pursue its

 indemnification claims against the Mortgage Originators. Pursuit of these claims is expected to

 allow LBHI to recoup substantial recoveries in the form of settlements with, or judgments

 against, the Mortgage Originators.

                    33.       Finally, the Settlement Agreement extricates Aurora and ALS from their

 respective obligations to Fannie Mae, which will significantly advance the Plan Administrator’s

 efforts to wind down those entities and may enable LBHI to realize a return on its substantial

 equity investment in those entities.

                    34.       The Settlement Agreement is the result of arms’-length negotiations with

 Fannie Mae during the last year. Throughout the negotiations, the Parties exchanged vast



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 amounts of information and submitted each competing legal claim to rigorous analysis. Viewed

 in its entirety, the Settlement Agreement is favorable to LBHI and LBHI’s creditors in that it

 resolves one of the largest remaining claims against LBHI and avoids the expense and delay

 attendant to litigating the many issues raised in the Fannie Mae Claim. As such, the settlements

 and compromises set forth in the Settlement Agreement are well above the lowest point in the

 range of reasonableness.

                    35.       For all the foregoing reasons, the Settlement Agreement results in a highly

 desirable outcome for LBHI, is manifestly in the best interests of LBHI and its creditors, and

 should be approved.

                                                    Notice

                    36.       No trustee has been appointed in the Chapter 11 Cases. The Plan

 Administrator, in accordance with the procedures set forth in the second amended order entered

 on June 17, 2010 governing case management and administrative procedures for these cases

 (ECF No. 9635), has served notice of this Motion on (i) the U.S. Trustee; (ii) the Securities and

 Exchange Commission; (iii) the Internal Revenue Service; (iv) the United States Attorney for the

 Southern District of New York; (v) Fannie Mae; (vi) FHFA; and (vii) all parties who have

 requested notice in these chapter 11 cases. The Plan Administrator submits that no other or

 further notice need be provided.




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                    37.       No previous request for the relief sought herein has been made by LBHI

 or the Plan Administrator to this or any other court.

                    WHEREFORE the Plan Administrator respectfully requests that the Court grant

 the relief requested herein and such other and further relief as is just.

 Dated: January 23, 2014
        New York, New York

                                                   /s/ Alfredo R. Pérez
                                                   Lori R. Fife
                                                   David J. Lender
                                                   Alfredo R. Pérez

                                                   WEIL, GOTSHAL & MANGES LLP
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                                                   New York, New York 10153
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                                                   Attorneys for Lehman Brothers Holdings Inc.
                                                   and Certain of its Affiliates




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                                                 Annex A
                                         (Settlement Agreement)




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                                    SETTLEMENT AGREEMENT

 This Settlement Agreement (the “Agreement”) is made and entered into as of January 22, 2014
 by and among Lehman Brothers Holdings Inc. (“LBHI”), as Plan Administrator for LBHI under
 the Modified Third Amended Joint Chapter 11 Plan (the “Plan”) of Lehman Brothers Holdings
 Inc. and Its Affiliated Debtors (the “Plan Administrator”),1 Aurora Commercial Corporation
 (f/k/a Aurora Bank, FSB) (“Aurora”), Aurora Loan Services LLC (“ALS,” together with LBHI
 and Aurora, the “Lehman Parties”), and the Federal National Mortgage Association (“Fannie
 Mae”). The Plan Administrator, Aurora, ALS and Fannie Mae shall each be referred to
 individually as a “Party” and collectively as the “Parties.”

                                             RECITALS

          WHEREAS:

        A.      On September 6, 2008, the Federal Housing Finance Agency was appointed
 conservator for Fannie Mae (hereinafter, the “Conservator”), and granted all rights, titles, powers
 and privileges as conservator thereof, pursuant to 12 U.S.C. §4617, as amended by P.L. 110-289,
 which was enacted as part of the Housing and Economic Recovery Act of 2008;

          B.      On September 15, 2008 and on various dates thereafter, LBHI and certain of its
 affiliates (collectively, the “Debtors”) commenced voluntary cases under chapter 11 of title 11 of
 the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
 Southern District of New York (the “Bankruptcy Court”), which cases are being jointly
 administered under Case Number 08-13555 (JMP);

        C.     On September 22, 2009, Fannie Mae timely filed a proof of claim (the “Fannie
 Mae Claim”) against LBHI in the approximate amount of not less than $19,058,000,000, which
 was assigned claim number 29557 by the Bankruptcy Court-approved claims and noticing agent,
 Epiq Bankruptcy Solutions, LLC (“Epiq”);

         D.      As set forth with greater specificity in the Fannie Mae Claim, the Fannie Mae
 Claim is comprised of claims against LBHI allegedly arising out of, among other things, the
 following: (a) a Mortgage Selling and Servicing Contract (i.e., the MSSC set forth and defined in
 the Fannie Mae Claim) which incorporates provisions of the Fannie Mae Selling and Servicing
 Guides and related agreements, including but not limited to, the Contract (as defined in the
 Fannie Mae Claim); (b) certain Sale and Servicing Agreements (i.e., the SSAs set forth and
 defined in the Fannie Mae Claim); (c) LBHI’s alleged guarantee pursuant to that certain
 Guaranty, dated May 13, 2003 of Lehman Brothers Special Financing Inc.’s obligations under an
 ISDA Master Agreement, dated May 8, 2003 (the “Guaranty Claim”); (d) LBHI’s alleged
 violations of the Federal Securities Laws relating to certain private label securities (the “PLS
 Claim”); (e) LBHI’s alleged violations of the Federal Securities Laws relating to certain LBHI
 Notes (i.e., the Notes as set forth and defined in the Fannie Mae Claim); (f) that certain Sale
 Agreement, dated October 5, 2007 between Fannie Mae, as Purchaser, and LBHI, as seller; and

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  Capitalized terms not defined in this Agreement shall have the meanings ascribed to such terms in the
 Plan.



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 (g) LBHI’s alleged indemnity/reimbursement obligations in connection with the MSSC and/or
 SSAs (as more fully set forth in the MSSC);

         E.    On September 1, 2011, LBHI, Fannie Mae and certain other parties entered into a
 tolling agreement (as amended on March 20, 2012, January 7, 2013, May 20, 2013, and
 December 20, 2013, the “Tolling Agreement”);

       F.     On December 6, 2011, the Bankruptcy Court entered an order confirming the Plan
 (ECF No. 23023). The Plan became effective on March 6, 2012;

        G.     On January 6, 2012, the Bankruptcy Court so ordered a stipulation between
 Fannie Mae and LBHI pursuant to which, among other things, LBHI agreed that the Reserve
 Amount for the Fannie Mae Claim (excluding the Guaranty Claim) would be $5,000,000,000 in
 LBHI Class 7 (ECF No. 24097);

        H.    On January 26, 2012, the Bankruptcy Court entered an order allowing only the
 Guaranty Claim portion of the Fannie Mae Claim in the reduced amount of $110,000,000 (ECF
 No. 24670);

         I.      On June 11, 2012, ALS, Fannie Mae and Aurora (or its predecessor in interest)
 entered into that certain Amended and Restated Repurchase, Pledge and Security Agreement (the
 “RPSA”) pursuant to which ALS and Aurora pledged certain collateral to Fannie Mae to secure
 certain obligations of Aurora and/or ALS (the “Collateral”);

         J.      Aurora’s predecessor Aurora Bank, FSB underwent a number of organizational
 and structural changes in 2013, including a charter conversion from a Federal thrift institution to
 a national banking institution known as Aurora Interim National Bank, a merger of Aurora
 Interim National Bank into Aurora, and a termination of the bank charter of Aurora Interim
 National Bank;

          K.        Aurora and ALS are wholly-owned, indirect subsidiaries of LBHI;

         L.       Aurora is the successor to all rights, liabilities, duties, and obligations of Aurora
 Bank, FSB as a result of the organizational changes referenced above, including, without
 limitation, all rights with respect to the Collateral;

        M.      On September 27, 2013, the Plan Administrator filed an objection seeking to
 subordinate the PLS Claim portion of the Fannie Mae Claim (the “Objection”) (ECF No. 40244);

        N.      On October 28, 2013, Fannie Mae filed a response to the Objection asserting that
 the Objection should be denied (the “Response”) (ECF No. 40770);

        O.      On November 20, 2013, the Plan Administrator filed a reply to the Response (the
 “Reply,” collectively with the Objection and the Response, the “Claim Objection Pleadings”);

        P.          The hearing on the Claim Objection Pleadings has been adjourned until January
 28, 2014;


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         Q.      Fannie Mae has advised LBHI that the Conservator has approved Fannie Mae’s
 entry into the settlement of the Fannie Mae Claim pursuant to the terms and conditions set forth
 in this Agreement;

        R.      The Parties have engaged in extensive arm’s length negotiations concerning the
 Claim Objection Pleadings, the other claims that comprise the Fannie Mae Claim, the RPSA, and
 the Transaction Agreements (as defined in the RPSA); and

        S.     The Parties wish to resolve all outstanding issues regarding the matters described
 above and to avoid extensive and expensive litigation in connection therewith.

                                             AGREEMENT

                 NOW, THEREFORE, in consideration of the foregoing, and the mutual
 agreements contained herein, and other good and valuable consideration, the receipt and
 sufficiency of which is hereby acknowledged, and subject to and on the terms and conditions set
 forth herein, the parties hereto, intending to be legally bound, agree as follows:

          1.        Effectiveness of Agreement.

                1.1    This Agreement, except for Sections 2, 3, 4, 5 and 8, shall be effective
 upon the first date upon which this Agreement is signed by all of the Parties (the “Execution
 Date”).

                1.2     This Agreement, including Sections 2, 3, 4, 5 and 8, shall be fully
 effective upon the first date (the “Effective Date”) following (i) the approval of LBHI’s entry
 into and performance under this Agreement by a Final Order2 in form and substance acceptable
 to the Plan Administrator and Fannie Mae (“Bankruptcy Court Approval”); and (ii) the execution
 and delivery of an amendment to the Tolling Agreement, in form and substance acceptable to the
 Plan Administrator and Fannie Mae (the “Tolling Amendment”), providing that as of the
 Effective Date the Tolling Agreement (a) shall be deemed terminated only in respect of the
 extension of the Limitations Periods (as defined in the Tolling Agreement) related to the Fannie
 Mae Claim, including the Fannie Mae Priority Claim, in each case as defined in the Tolling
 Agreement; and (b) shall otherwise remain in full force and effect in accordance with the terms
 and conditions thereof


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   A “Final Order” shall mean an order of the Bankruptcy Court (a) that has not been reversed, rescinded,
 stayed, modified, or amended; (b) that is in full force and effect; and (c) with respect to which: (1) the
 time to appeal or to seek review, remand, rehearing, or a writ of certiorari has expired and as to which no
 timely-filed appeal or petition for review, rehearing, remand, or writ of certiorari is pending; or (2) any
 such appeal or petition has been withdrawn, dismissed or resolved by the highest court to which the order
 or judgment was timely appealed or from which review, rehearing, remand, or a writ of certiorari was
 timely sought; provided that the possibility of a motion under Rule 59 or Rule 60 of the Federal Rules of
 Civil Procedure or any analogous Federal Rule of Bankruptcy Procedure (the “Bankruptcy Rules”) or
 other applicable law being filed with respect to such order will not cause such order not to be a Final
 Order.


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               1.3     As soon as practicable after the Execution Date (but in all events not later
 than 3 Business Days after the Execution Date), the Plan Administrator shall (i) file with the
 Bankruptcy Court a motion (the “Approval Motion”) pursuant to Bankruptcy Rule 9019 and the
 Bankruptcy Court’s Order Modifying Certain Existing Claims Orders (ECF No. 29505), entered
 on July 18, 2012, seeking Bankruptcy Court Approval of this Agreement, and (ii) notice the
 objection deadline and the hearing on the Approval Motion for the earliest dates then available
 under the Second Amended Case Management Order (ECF No. 9635).

              1.4    The Parties shall make commercially reasonable efforts to secure approval
 of the Approval Motion by a Final Order, and the execution and delivery of the Tolling
 Amendment, and shall cooperate with each other in such efforts.

                1.5     In the event that Bankruptcy Court Approval of this Agreement is denied
 by a Final Order, or if the Bankruptcy Court Approval or the Tolling Amendment has not been
 obtained by March 14, 2014, this Agreement shall be void ab initio and the Parties shall be
 restored to their respective positions as of the date prior to the Execution Date, with the same
 effect as that provided for in the event of a Termination pursuant to Section 9.4 of this
 Agreement.

          2.        Settlement of Disputes Concerning the Fannie Mae Claim.

                2.1    Upon the Effective Date, the Fannie Mae Claim (excluding the Guaranty
 Claim) shall be reduced and Allowed in the amount of $2,150,000,000 (the “Settlement
 Amount”) in LBHI Class 7 (the “Allowed Fannie Mae Claim”), and any asserted amounts in
 respect of the Fannie Mae Claim (excluding the Guaranty Claim) in excess of the Settlement
 Amount shall be expunged.

                    2.2       Upon the Effective Date, the Claim Objection Pleadings shall be deemed
 withdrawn.

               2.3     Within five (5) Business Days after the Effective Date, the Plan
 Administrator shall direct Epiq to modify the claims registry to reflect the terms provided for in
 this Agreement.

               2.4     Fannie Mae shall be entitled to receive Distributions on the Allowed
 Fannie Mae Claim effective as of the first Distribution Date following the Effective Date. In
 connection therewith, Fannie Mae shall be entitled to catch-up Distributions on account of the
 Allowed Fannie Mae Claim as provided in section 8.4 of the Plan.

        3.    Turnover of Documents Supporting Repurchase Claims, Allocation of
 Settlement Amount

         3.1    On the Execution Date, Fannie Mae shall provide Columns A, B and G for each
 of the loans set forth on Exhibit A (the “Rep and Warranty Default Loans”), which Rep and
 Warranty Default loans are fully liquidated loans with respect to which Fannie Mae has valid
 make whole claims for indemnity/reimbursement against LBHI directly arising out of a violation
 of a representation or warranty contained in the MSSC and/or the Transaction Agreements. The
 Plan Administrator shall make only Columns A, B and G publicly available. The remaining

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 information for the Rep and Warranty Default Loans set forth in Exhibit A shall be provided no
 later than thirty (30) days following the Effective Date but shall not be made publicly available
 by the Plan Administrator, provided that the Lehman Parties may subsequently disclose a limited
 version of Exhibit A in furtherance of seeking reimbursement by parties owing indemnities to the
 Lehman Parties so long as the Lehman Parties make a reasonable effort to secure a protective
 order or confidentiality agreement prior to disclosing such information. The limited version of
 Exhibit A may show data in all columns, but shall be redacted to identify to any receiving
 indemnifying entity only data for loans for which the receiving indemnifying entity has potential
 liability.

                    3.2       Subject to all applicable laws:

     a. From and after the Effective Date, at any time and from time to time until January 1,
        2017, Fannie Mae shall provide the Plan Administrator with access to the following
        information in Fannie Mae’s QAS system (or any successor system of record) related to
        each Rep and Warranty Default Loan:

              i.    Fannie Mae’s findings as set forth in repurchase or findings letters;

             ii.    Any mortgage insurance rescission letters; and

            iii.    The documents supporting Fannie Mae’s findings.

          provided, however, that if any of the above information is unavailable in the QAS System
          for any reason, in response to a written request from the Plan Administrator, Fannie Mae
          shall use commercially reasonable efforts to provide such missing information otherwise
          in its possession to the Plan Administrator within thirty (30) calendar days of such
          request.

     b. Within thirty (30) calendar days of the Effective Date, Fannie Mae shall provide the Plan
        Administrator with a “Loss Reimbursement Statement” for each of the Rep and Warranty
        Default Loan. The term “Loss Reimbursement Statement” shall mean the loan-level
        report of loss realized from a liquidated loan as of approximately January 7, 2014, in the
        form generally prepared for Fannie Mae servicers, containing line items for all expenses
        incurred and revenues received, including, but not limited to, the following information:
        (i) unpaid principal balance at liquidation; (ii) accrued interest; (iii) corporate advances;
        (iv) escrow advances; (v) mortgage insurance proceeds; and (vi) liquidation proceeds.

     c. Fannie Mae shall provide to the Plan Administrator such written authorization as is
        reasonably required for the Plan Administrator to obtain the Loan File (as such term is
        defined in Exhibit B hereto) from any third party servicer; provided, however, that Fannie
        Mae shall not be obligated to provide the Plan Administrator with any authorization
        related to a Rep and Warranty Default Loan with respect to which Aurora or ALS was the
        primary servicer or subservicer on the date such Rep and Warranty Default Loan was
        liquidated. If after commercially reasonable efforts the Plan Administrator is unable to
        retrieve a Loan File from a third party servicer (other than Aurora or ALS), in response to
        a written request from the Plan Administrator, Fannie Mae shall make commercially
        reasonable efforts to provide to the Plan Administrator such Loan File, or portion thereof

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          that is otherwise in QAS or any successor system of record.

     d. Fannie Mae shall make commercially reasonable efforts to provide to the Plan
        Administrator, within thirty (30) days of its receipt of a written request (with the
        understanding that the timing of any response is subject to the volume of requests
        received from the Plan Administrator), any broker price opinion, any appraisal and any
        Department of Housing and Urban Development Settlement Statement, commonly
        known as a “HUD-1,” that is available to Fannie Mae with respect to the underlying
        support for the sale price realized by Fannie Mae in connection with the liquidation of a
        Rep and Warranty Default Loan; provided, however, that the Plan Administrator agrees
        that such requests will be made only when reasonably necessary to support the claims of
        the Lehman Parties or their respective affiliates against third parties related to the Rep
        and Warranty Default Loans.

     e. Within thirty (30) calendar days of the Effective Date, Fannie Mae shall make
        commercially reasonable efforts to provide the Plan Administrator with all of the
        available information set forth on Exhibits D and E hereto for each Rep and Warranty
        Default Loan (which Exhibits D and E are forms for the information to be provided and
        which Exhibits D and E shall be redacted from any publicly available version of this
        Agreement, provided that the Lehman Parties may subsequently disclose a limited
        version of Exhibits D and E in furtherance of seeking reimbursement by parties owing
        indemnities to the Lehman Parties so long as the Lehman Parties make a reasonable effort
        to secure a protective order or confidentiality agreement prior to disclosing such
        information. The limited version of Exhibits D and E may show data in all columns, but
        shall be redacted to identify to any receiving indemnifying entity only data for loans for
        which the receiving indemnifying entity has potential liability.

                 3.3    From and after the Effective Date, at any time and from time to time until
 January 1, 2017, Fannie Mae shall use commercially reasonable efforts to assist the Plan
 Administrator in the Plan Administrator’s efforts to acquire the Servicing File (as such term is
 defined in Exhibit C hereto) for each Rep and Warranty Default Loan (with it being understood
 that Fannie Mae does not have any Servicing File under its direct control). In connection
 therewith, Fannie Mae agrees to provide to the Plan Administrator such authorization as is
 reasonably required for the Plan Administrator to obtain such Servicing Files from any third
 party servicer or subservicer, subject to applicable laws and the rights of such servicer or
 subservicer; provided, however, that Fannie Mae shall not be obligated to (i) require such
 servicer or subservicer to produce all information requested or pay any associated expenses
 sought by such servicer or subservicer; or (ii) assist the Plan Administrator with any Servicing
 File related to a Rep and Warranty Default Loan with respect to which Aurora or ALS was the
 primary servicer or subservicer on the date such Rep and Warranty Default Loan was liquidated.

         3.4     From and after the Effective Date, at any time and from time to time until January
 1, 2017, Fannie Mae shall, within thirty (30) days of its receipt of a written request, use
 commercially reasonable efforts to (i) provide to the Plan Administrator such additional
 information in its possession as may reasonably be requested by the Plan Administrator subject
 to applicable laws; and (ii) otherwise reasonably cooperate with the Plan Administrator, in each
 case as reasonably necessary to pursue the claims of the Lehman Parties or their respective

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 affiliates against third parties related to the Rep and Warranty Default Loans; provided, however,
 that the Plan Administrator shall reimburse Fannie Mae’s actual, reasonable and documented out
 of pocket expenses, including necessary and reasonable attorney fees incurred in connection with
 the Plan Administrator’s requests. Fannie Mae will reasonably consider use of counsel
 recommended by the Lehman Parties. Nothing herein constitutes a representation, warranty, or
 guarantee by Fannie Mae that all information, data, or records sought by the Plan Administrator
 will be located and/or turned over to the Plan Administrator.

                 3.5    The amounts set forth in column G of Exhibit A represent Fannie Mae’s
 current losses incurred with respect to each Rep and Warranty Default Loan, but the amounts are
 subject to minor variation over time to record adjustments to expenses or receipts.
 Notwithstanding the preceding sentence, Fannie Mae shall retain sole and absolute discretion to
 determine how and when to apply the Settlement Amount toward the various components of the
 Fannie Mae Claim.

                 3.6     The Parties agree that all columns of Exhibit A except for columns A, B
 and G shall be redacted in any version of this Agreement that is filed on the Bankruptcy Court’s
 public docket in connection with the Approval Motion or is otherwise made publicly available
 provided that the Lehman Parties may subsequently disclose a limited version of Exhibit A in
 furtherance of seeking reimbursement by parties owing indemnities to the Lehman Parties so
 long as the Lehman Parties make a reasonable effort to secure a protective order or
 confidentiality agreement prior to disclosing such information. The limited version of Exhibit A
 may show data in all columns, but shall be redacted to identify to any receiving indemnifying
 entity only data for loans for which the receiving indemnifying entity has potential liability.

          4.        Release of Collateral, Termination of Agreements

                 4.1     Upon the Effective Date, any Collateral (as defined in the RPSA)
 remaining in the Custody Account (as defined in the RPSA) shall be released to Fannie Mae in
 full and final satisfaction of any obligation, whether accrued or unaccrued, known or unknown,
 matured or unmatured, liquidated or unliquidated, certain or contingent, of Aurora or ALS under
 the RPSA or the Transaction Agreements.

                4.2     Aurora and/or ALS shall promptly provide JPMorgan Chase Bank, in its
 capacity as custodian of the Collateral (the “Custodian”) with any notice, authorization, consent,
 or other approval reasonably required by the Custodian to release the Collateral to Fannie Mae.

                4.3    Upon the Effective Date, the RPSA and the Transaction Agreements, and
 any other related agreements or understandings between or among any of the Lehman Parties on
 the one hand, and Fannie Mae on the other, in respect thereof, shall be deemed to be terminated
 without breach by any Party and without termination fee, charge or penalty.

          5.      Assignment of Rights/No Waiver of Defenses. Fannie Mae hereby sells, assigns,
 and otherwise transfers to LBHI any claims related to the Rep and Warranty Default Loans listed
 on Exhibit B that Fannie Mae holds against any originating lenders, secondary mortgage market
 sellers, borrowers, appraisers, brokers, title companies, escrow agents, insurers, and/or other
 third parties in connection with the Rep and Warranty Default Loans; provided, however, that


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 nothing herein shall be deemed to be a waiver of any defense of any Party hereto regarding
 claims made against it by third parties and all such defenses are expressly reserved by each
 Party.

         6.     Representations, Warranties and Agreements of Fannie Mae. As consideration
 for the Lehman Parties entering into and performing their respective obligations under this
 Agreement, Fannie Mae hereby represents, warrants, acknowledges and agrees, as of the
 Execution Date and the Effective Date, and subject to the occurrence of the Effective Date to the
 extent applicable, as follows:

                6.1    Authority. (i) Fannie Mae has the power and authority to execute, deliver
 and perform its obligations under this Agreement, and to consummate the transactions
 contemplated herein; (ii) the execution, delivery and performance by Fannie Mae of this
 Agreement and the consummation of the transactions contemplated herein have been duly
 authorized by all necessary action on the part of Fannie Mae and no other proceedings on the
 part of Fannie Mae are necessary to authorize and approve this Agreement or any of the
 transactions contemplated herein; and (iii) Fannie Mae has been duly authorized by all necessary
 action to approve Fannie Mae’s entry into and performance of this Agreement.

               6.2    Validity. This Agreement has been duly executed and delivered by Fannie
 Mae and upon the Effective Date, constitutes the legal, valid and binding agreement of Fannie
 Mae, enforceable against Fannie Mae in accordance with its terms.

                6.3     Authorization of Governmental Authorities. No further action by
 (including any authorization, consent or approval), in respect of, or filing with, any governmental
 authority is required for, or in connection with, the valid and lawful authorization, execution,
 delivery and performance of its obligations under this Agreement by Fannie Mae.

                    6.4       Title; No Prior Transfer of Claim.

                (a)   Title. Fannie Mae, in conservatorship, is the legal owner and record
 holder of the Fannie Mae Claim and as such Fannie Mae is entitled to receive any proceeds of
 the Fannie Mae Claim.

                (b)     Transfer.     Fannie Mae has not conveyed, transferred, assigned,
 encumbered, or participated, in whole or in part, the Fannie Mae Claim, or any right or interest
 arising thereunder or related thereto.

                6.5      No Reliance. Fannie Mae (i) is a sophisticated party with respect to the
 subject matter of this Agreement, (ii) has been represented and advised by legal counsel in
 connection with this Agreement, (iii) has adequate information concerning the matters that are
 the subject of this Agreement, and (iv) has independently and without reliance upon the Plan
 Administrator, LBHI, Aurora, ALS, or any of the Lehman Parties’ respective affiliates or any
 officer, employee, agent or representative thereof, and based on such information as Fannie Mae
 has deemed appropriate, made its own analysis and decision to enter into this Agreement, except
 that Fannie Mae has relied upon the Lehman Parties’ express representations, warranties and
 covenants in this Agreement. Fannie Mae acknowledges that it has entered into this Agreement
 voluntarily and of its own choice and not under coercion or duress.

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        7.      Representations, Warranties and Agreements of the Lehman Parties. As
 consideration for Fannie Mae entering into and performing its respective obligations under this
 Agreement, each of the Lehman Parties, solely with respect to itself, hereby represents, warrants,
 acknowledges, and agrees, as of the Execution Date and the Effective Date, and subject to the
 occurrence of the Effective Date to the extent applicable, as follows:

                7.1     Authority. Subject to Bankruptcy Court Approval, (i) each Lehman Party
 has the power and authority to execute, deliver and perform its obligations under this Agreement,
 and (ii) the execution, delivery and performance by each Lehman Party of this Agreement and
 the consummation of the transactions contemplated herein have been duly authorized by all
 necessary action on the part of each Lehman Party and no other proceedings on the part of a
 Lehman Party are necessary to authorize and approve this Agreement or any of the transactions
 contemplated herein.

               7.2   Validity. This Agreement has been duly executed and delivered by each
 Lehman Party and, upon the Effective Date, shall constitute the legal, valid and binding
 agreement of each Lehman Party, enforceable against each Lehman Party in accordance with its
 terms.

                7.3     Authorization of Governmental Authorities. No action by (including any
 authorization, consent or approval), in respect of, or filing with, any governmental authority is
 required for, or in connection with, the valid and lawful authorization, execution, delivery and
 performance by each Lehman Party of its respective obligations hereunder, other than
 Bankruptcy Court Approval.

                 7.4    No Reliance. Each Lehman Party (i) is a sophisticated party with respect
 to the matters that are the subject of this Agreement, (ii) has been represented and advised by
 legal counsel in connection with this Agreement, (iii) has adequate information concerning the
 matters that are the subject of this Agreement, and (iv) has independently and without reliance
 upon Fannie Mae or any officer, employee, agent or representative thereof, and based on such
 information as each Lehman Party has deemed appropriate, made its own analysis and decision
 to enter into this Agreement, except that it has relied upon the express representations, warranties
 and covenants of Fannie Mae in this Agreement, which it enters into voluntarily and of its own
 choice and not under coercion or duress.

          8.        Releases.

               8.1    Releases by LBHI. Upon the occurrence of the Effective Date, and except
 as to the agreements, promises, settlements, representations and warranties set forth in this
 Agreement, and in consideration of the foregoing, from the beginning of time to the Execution
 Date:

                  (a)     LBHI, as Plan Administrator for LBHI, on behalf of itself, and its direct
 and indirect affiliates and subsidiaries, other than Aurora and ALS, and its and their successors
 and assigns and any person or entity claiming under or through LBHI (collectively the “Lehman
 Releasing Parties”), fully and forever release, discharge and acquit Fannie Mae, the direct and
 indirect affiliates and subsidiaries of Fannie Mae, and their respective owners, directors, officers,


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 employees, financial advisors, accountants, attorneys, and other representatives, all in their
 capacities as such, and their respective successors and assigns (collectively, the “Fannie Mae
 Released Parties”) and the Conservator, from all manners of action, causes of action, judgments,
 executions, debts, demands, rights, damages, costs, expenses, claims, defenses and counterclaims
 of every kind, nature, and character whatsoever, whether at law or in equity, whether based on
 contract (including, without limitation, quasi-contract or estoppel), statute, regulation, tort or
 otherwise, accrued or unaccrued, known or unknown, matured or unmatured, liquidated or
 unliquidated, certain or contingent, that the Lehman Releasing Parties ever had or claimed to
 have or now has or claims to have against the Fannie Mae Released Parties and the Conservator
 in connection with, related to or otherwise concerning the Fannie Mae Claim.

                 (b)    Subject to section 8.4 below, LBHI as Plan Administrator for LBHI, on
 behalf of itself and on behalf of the Debtors, fully and forever releases, discharges and acquits
 the Fannie Mae Released Parties and the Conservator from all manners of action, causes of
 action, judgments, executions, debts, demands, rights, damages, costs, expenses, claims, defenses
 and counterclaims of every kind, nature, and character whatsoever, whether at law or in equity,
 whether based on contract (including, without limitation, quasi-contract or estoppel), statute,
 regulation, tort or otherwise, accrued or unaccrued, known or unknown, matured or unmatured,
 liquidated or unliquidated, certain or contingent, that the Debtors ever had or claimed to have or
 now has or claims to have against the Fannie Mae Released Parties.

                8.2     Releases by Aurora and ALS. Upon the occurrence of the Effective Date,
 and except as to the agreements, promises, settlements, representations and warranties set forth
 in this Agreement, and in consideration of the foregoing, Aurora and ALS and each of their
 respective successors and assigns (collectively, the “Aurora Releasing Parties”), subject to
 section 8.4 below, fully and forever release, discharge and acquit the Fannie Mae Released
 Parties and the Conservator from all manners of action, causes of action, judgments, executions,
 debts, demands, rights, damages, costs, expenses, claims, defenses and counterclaims of every
 kind, nature, and character whatsoever, whether at law or in equity, whether based on contract
 (including, without limitation, quasi-contract or estoppel), statute, regulation, tort or otherwise,
 accrued or unaccrued, known or unknown, matured or unmatured, liquidated or unliquidated,
 certain or contingent, that each of the Aurora Releasing Parties ever had or claimed to have or
 now has or claims to have against the Fannie Mae Released Parties.

                 8.3     Releases by Fannie Mae. Upon the occurrence of the Effective Date, and
 except as to (i) the Allowed Fannie Mae Claim, (ii) the Guaranty Claim, and (iii) the agreements,
 promises, settlements, representations and warranties set forth in this Agreement, and in
 consideration of the foregoing, from the beginning of time to the Execution Date:

                 (a)     Fannie Mae, on behalf of itself, and its direct and indirect affiliates and
 subsidiaries, and its successors and assigns, and any person or entity claiming under or through
 Fannie Mae, but in all events excluding the Conservator (collectively, the “Fannie Mae
 Releasing Parties”), fully and forever releases, discharges and acquits LBHI (for itself and as
 Plan Administrator for LBHI), LBHI’s direct and indirect affiliates and subsidiaries, including,
 without limitation, Aurora and ALS, and its and their respective owners, directors, officers,
 employees, financial advisors, accountants, attorneys, and other representatives, all in their
 capacities as such, and their successors and assigns (collectively, the “Lehman Released

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 Parties”), from all manners of action, causes of action, judgments, executions, debts, demands,
 rights, damages, costs, expenses, and claims of every kind, nature, and character whatsoever,
 whether at law or in equity, whether based on contract (including, without limitation, quasi-
 contract or estoppel), statute, regulation, tort or otherwise, accrued or unaccrued, known or
 unknown, matured or unmatured, liquidated or unliquidated, certain or contingent, that the
 Fannie Mae Releasing Parties ever had or claimed to have or now has or claims to have against
 the Lehman Released Parties in connection with, related to or otherwise concerning the Fannie
 Mae Claim. Except as provided in sections 8.3(b) and 8.3(c), nothing in this Agreement releases
 any Lehman Released Parties from claims and causes of action that are not part of the Fannie
 Mae Claim.

                (b)     Subject to section 8.4 below, each of the Fannie Mae Releasing Parties
 (excluding, for the avoidance of doubt, the Conservator) fully and forever releases, discharges
 and acquits each of the Debtors (including LBHI in its individual capacity and as Plan
 Administrator for the Debtors) and each of their respective successors and assigns (collectively,
 the “Debtor Released Parties”) from all manners of action, causes of action, judgments,
 executions, debts, demands, rights, damages, costs, expenses, and claims of every kind, nature,
 and character whatsoever, whether at law or in equity, whether based on contract (including,
 without limitation, quasi-contract or estoppel), statute, regulation, tort or otherwise, accrued or
 unaccrued, known or unknown, matured or unmatured, liquidated or unliquidated, certain or
 contingent, that the Fannie Mae Releasing Parties ever had or claimed to have or now has or
 claims to have against any of the Debtor Released Parties.

                 (c)    Subject to section 8.4 below, each of the Fannie Mae Releasing Parties
 (excluding, for the avoidance of doubt, the Conservator) fully and forever releases, discharges
 and acquits Aurora and ALS and each of their respective predecessors, successors and assigns
 (collectively, the “Aurora Released Parties”) from all manners of action, causes of action,
 judgments, executions, debts, demands, rights, damages, costs, expenses, and claims of every
 kind, nature, and character whatsoever, whether at law or in equity, whether based on contract
 (including, without limitation, quasi-contract or estoppel), statute, regulation, tort or otherwise,
 accrued or unaccrued, known or unknown, matured or unmatured, liquidated or unliquidated,
 certain or contingent, that the Fannie Mae Releasing Parties ever had or claimed to have or now
 has or claims to have against the Aurora Released Parties.

                 8.4     For the avoidance of doubt, nothing in this Agreement or otherwise shall
 release, waive, or discharge any claim, defense, or cause of action against the Lehman Released
 Parties other than as set forth in Section 8.3 above, and nothing herein or otherwise shall release,
 waive, or discharge or otherwise affect any other claim, defense or cause of action against the
 Lehman Released Parties, including, without limitation, any claim, defense or cause of action
 held by the Federal Home Loan Mortgage Corporation (“Freddie Mac”) and/or the Conservator
 in its capacity as Conservator of Freddie Mac (including, without limitation, in respect of Claim
 Nos. 33568, 33569 and 33576 filed in connection with the LBHI bankruptcy proceedings);
 provided, further, that nothing contained herein or otherwise shall release, waive or discharge
 any claim, defense or cause of action against the Fannie Mae Released Parties or the Conservator
 other than as set forth in sections 8.1 or 8.2 above, and nothing contained herein shall release,
 waive, or discharge any other claim, defense or cause of action held by a Lehman Released Party
 against Freddie Mac and/or the Conservator in its capacity as Conservator of Freddie Mac.

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                8.5    Waiver of Statutory Limitations on Releases. Each of the releasing parties
 in each of the releases contained herein expressly acknowledges that, although ordinarily a
 release may not extend to claims which the releasing party does not know or suspect to exist in
 its favor, which if known by it may have materially affected its settlement with the party
 released, they have carefully considered and taken into account in determining to enter into the
 above releases the possible existence of such unknown losses or claims. Without limiting the
 generality of the foregoing, each releasing party expressly waives any and all rights conferred
 upon it by any statute or rule of law which provides that a release does not extend to claims
 which the claimant does not know or suspect to exist in its favor at the time of executing the
 release, which if known by it may have materially affected its settlement with the released party,
 including, without limitation, the provisions of California Civil Code section 1542. The releases
 contained herein are effective regardless of whether matters released thereby are presently
 known or unknown, suspected or unsuspected, foreseen or unforeseen.

          9.        Termination.

               9.1     Lehman Parties’ Right to Terminate. Prior to the Effective Date, each of
 the Lehman Parties shall have the right, in its discretion, to terminate this Agreement by written
 notice to Fannie Mae if there is a breach, in any material respect, of the representations,
 warranties and/or covenants of Fannie Mae under this Agreement, taken as a whole, that has not
 been cured within three Business Days after notice thereof given to Fannie Mae.

               9.2     Fannie Mae’s Right to Terminate. Prior to the Effective Date, Fannie Mae
 shall have the right, in its discretion, to terminate this Agreement by written notice to the
 Lehman Parties if there is a breach, in any material respect, of the representations, warranties
 and/or covenants of the Lehman Parties under this Agreement, taken as a whole, that has not
 been cured within three Business Days after notice thereof given to each of the Lehman Parties.

                 9.3    Mutual Termination. This Agreement may be terminated at any time prior
 to the Effective Date with the written consent of all of the Parties.

                9.4     Effect of Termination. In the event that this Agreement is terminated in
 accordance with its terms, neither this Agreement (except for this Section 9) nor any motion or
 other papers filed in the Bankruptcy Court or on appeal with respect to the approval of this
 Agreement shall have any res judicata or collateral estoppel effect or be of any force or effect,
 each of the Parties’ respective interests, rights, remedies and defenses shall be restored without
 prejudice as if this Agreement had never been executed, and the Parties shall be automatically
 relieved of any further obligations under this Agreement. Upon such termination, this
 Agreement and all communications and negotiations among the Parties with respect hereto or
 any of the transactions contemplated hereunder are without waiver of or prejudice to the Parties’
 rights and remedies and the Parties hereby reserve all claims, defenses and positions that they
 may have with respect to each other.

          10.       Venue and Choice of Law.

               10.1 Venue. The Parties agree that in the Approval Motion, LBHI shall request
 that the Bankruptcy Court retain jurisdiction over any actions or proceedings relating to the


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 enforcement or interpretation of this Agreement and that any proposed order approving this
 Agreement shall so provide. The Parties expressly consent and submit to the exclusive
 jurisdiction of the Bankruptcy Court over any actions or proceedings relating to the enforcement
 or interpretation of this Agreement and any Party bringing such action or proceeding shall bring
 such action or proceeding in the Bankruptcy Court. Each of the Parties consents to the
 Bankruptcy Court entering a final judgment determining such matter and agrees that a final
 judgment in any such action or proceeding, including all appeals, shall be conclusive and may be
 enforced in other jurisdictions (including any foreign jurisdictions) by suit on the judgment or in
 any other manner provided by applicable law. If the Bankruptcy Court refuses or abstains from
 exercising jurisdiction over the enforcement or interpretation of this Agreement and/or any
 actions or proceedings arising hereunder, then the Parties agree that venue shall be in any other
 federal court located within the County of New York in the State of New York having proper
 jurisdiction. Each Party hereby irrevocably and unconditionally waives, to the fullest extent it
 may legally and effectively do so, (i) any objection which it may now or hereafter have to the
 laying of venue of any suit, action or proceeding arising out of or relating to the enforcement or
 interpretation of this Agreement with the Bankruptcy Court or with any other federal court
 located within the County of New York in the State of New York, and (ii) the defense of an
 inconvenient forum to the maintenance of such action or proceeding in any such court. Each
 Party irrevocably consents to service of process in the manner provided for notices in Section 11
 hereof. Nothing in this Agreement will affect the right, or requirement, of any Party to this
 Agreement to serve process in any other manner permitted or required by applicable law. The
 Parties otherwise expressly reserve their jurisdictional rights to any action, suit, or proceeding
 commenced outside the terms of this Agreement.

                10.2 Choice of Law. This Agreement and all claims and disputes arising out of
 or in connection with this Agreement shall be governed by and construed in accordance with the
 laws of the State of New York or the Bankruptcy Code, as applicable, without regard to choice
 of law principles to the extent such principles would apply a law other than that of the State of
 New York or the Bankruptcy Code, as applicable.

         11.    Notices. All notices and other communications given or made pursuant to this
 Agreement shall be in writing and all communications shall be deemed effectively given: (a)
 upon personal delivery to the party to be notified, (b) when sent by email if sent during normal
 business hours of the recipient, and if not so sent, then on the next Business Day, or (c) when
 delivery is confirmed by a nationally recognized overnight courier, with written verification of
 receipt. All communications shall be sent:

 To LBHI at:

 Lehman Brothers Holdings Inc.
 1271 Avenue of the Americas
 New York, New York 10020
 Attn: Matthew Cantor

 With a copy (which shall not constitute notice) to:

 Weil, Gotshal & Manges LLP


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 700 Louisiana, Suite 1600
 Houston, Texas 77002-2755
 Attn: Alfredo R. Perez, Esq.

 To Aurora at:

 Aurora Commercial Corporation
 10350 Park Meadow Drive
 Littleton, CO 80124
 Attn: Stephanie Camara-Ray
 Senior Vice President

 To ALS at:

 Aurora Loan Services LLC
 c/o Aurora Commercial Corporation
 10350 Park Meadow Drive
 Littleton, CO 80124
 Attn: Stephanie Camara-Ray
 Senior Vice President

 To Fannie Mae at:

 Federal National Mortgage Association
 3900 Wisconsin Avenue, N.W.
 Washington, D.C. 20016
 Attn: Jonathan L. Griffith, Esq.
 Deputy General Counsel

 With a copy (which shall not constitute notice) to:

 Winston & Strawn LLP
 200 Park Ave.
 New York, New York 10166-4193
 Attn: David Neier, Esq.

 or to such other address as may have been furnished by a Party to each other Party by notice
 given in accordance with the requirements set forth above.

         12.    Expenses. The fees and expenses incurred by each Party (including the fees of
 any attorneys, accountants, investment bankers, financial advisors or any other professionals
 engaged by such Party) in connection with this Agreement and the transactions contemplated
 hereby, whether or not the transactions contemplated hereby are consummated, will be paid by
 such Party, and not by any other Party.

         13.    Entire Agreement. This Agreement constitutes the entire agreement of the
 Parties concerning the subject matter hereof, and supersedes any and all prior or


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 contemporaneous agreements among the Parties concerning the subject matter hereof. The
 Parties acknowledge that this Agreement is not being executed in reliance on any oral or written
 agreement, promise or representation not contained herein.

         14.    No Oral Modifications. This Agreement, including this Section 14, may not be
 modified or amended orally. This Agreement only may be modified or amended by a writing
 signed by a duly authorized representative of each Party hereto. Any waiver of compliance with
 any term or provision of this Agreement on the part of a Party must be provided in a writing
 signed by each other Party. No waiver of any breach of any term or provision of this Agreement
 shall be construed as a waiver of any subsequent breach.

         15.     Construction. This Agreement constitutes a fully negotiated agreement among
 commercially sophisticated parties and therefore shall not be construed or interpreted for or
 against any Party based on the drafting of this Agreement, and any rule or maxim of construction
 to such effect shall not apply to this Agreement.

         16.    Binding Effect; Successor and Assigns. This Agreement shall inure to the
 benefit of and be binding upon the Parties and their respective successors and permitted assigns.

         17.     Counterparts. This Agreement may be executed in counterparts, each of which
 constitutes an original, and all of which, collectively, constitute only one agreement. The
 signatures of all of the Parties need not appear on the same counterpart. Executed facsimile
 and/or .pdf copies of this Agreement shall be deemed and considered originals.

         18.     Headings. The headings utilized in this Agreement are designed for the sole
 purpose of facilitating ready reference to the subject matter of this Agreement. Said headings
 shall be disregarded when resolving any dispute concerning the meaning or interpretation of any
 language contained in this Agreement. References to sections, unless otherwise indicated, are
 references to sections of this Agreement. All Exhibits to this Agreement are hereby made a part
 hereof and incorporated herein by reference for all purposes.

          19.    Severability and Construction. If any provision of this Agreement shall be held
 by a court of competent jurisdiction to be illegal, invalid or unenforceable, the remaining
 provisions shall remain in full force and effect only if the essential terms and conditions of this
 Agreement applicable to each Party remain valid, binding and enforceable. If such essential
 terms and conditions are no longer valid, binding and enforceable as the result of any illegal,
 invalid or unenforceable provision, the Parties shall use all reasonable efforts to modify this
 Agreement (and to obtain the Bankruptcy Court’s approval thereof, if necessary or advisable) so
 as to eliminate such provisions while preserving the intent of the Parties.

         20.     Further Assurances. From and after the Effective Date, each Party shall, at any
 time and from time to time, make, execute and deliver, or cause to be made, executed and
 delivered, such instruments, agreements, consents and assurances and take or cause to be taken
 all such actions as may reasonably be requested by the other Party for the effective
 consummation of this Agreement and the transactions contemplated hereby.

     21.  Acknowledgments. THIS AGREEMENT AND THE TRANSACTIONS
 CONTEMPLATED HEREIN ARE THE PRODUCT OF ARMS’ LENGTH NEGOTIATIONS

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 AMONG THE PARTIES AND THEIR RESPECTIVE REPRESENTATIVES. NOTHING IN
 THIS AGREEMENT SHALL REQUIRE ANY PARTY TO TAKE ANY ACTION
 PROHIBITED BY THE BANKRUPTCY CODE, THE SECURITIES ACT OF 1933 (AS
 AMENDED), THE SECURITIES EXCHANGE ACT OF 1934 (AS AMENDED), ANY RULE
 OR REGULATIONS PROMULGATED THEREUNDER, OR BY ANY OTHER
 APPLICABLE LAW OR REGULATION OR BY AN ORDER OR DIRECTION OF ANY
 COURT OR ANY STATE OR FEDERAL GOVERNMENTAL AUTHORITY.




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                                                       FORM OF EXHIBIT A
                                                  (Rep and Warranty Default Loans)


 Fannie            Acquisition      Current /   Current    Current    Original   Actual Make       Contract     Master
Mae Loan            Loan ID           Last       / Last     / Last     Loan      Whole Claim       Number      Contract
   ID               Number          Servicer    Servicer   Servicer   Amount      Amount /           (H)       Number
Number                (B)           Number       Entity    Lender       (F)        Damage                        (I)
  (A)                                 (C)        Name      Loan ID                 Amount
                                                   (D)     Number                    (G)
                                                              (E)




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                                                           Exhibit A
                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1680654497                     11441268            $42,312.90     1702888326                      33654377            $147,767.83
 1681044204                     11619186            $15,469.61     1702888328                      33654856            $222,370.61
 1681327413                     11695939            $84,672.06     1702888332                      33655838            $314,030.14
 1681327466                     11728540            $19,082.06     1702888343                      33662677            $163,242.72
 1681327984                     11699717            $11,292.23     1702888345                      33665100             $77,593.73
 1681634038                     11689015            $39,499.29     1702888347                      33666215            $252,863.49
 1681634948                     11785094            $45,142.24     1702888349                      33666587            $270,698.65
 1681634976                     11806163            $59,472.67     1702888361                      33675075            $201,429.62
 1681877811                     11824646             $3,965.39     1702888372                      33687450            $152,225.68
 1681879761                     11830247            $69,941.23     1702888388                      39259858            $216,970.14
 1681879879                     11779907           $171,670.20     1702888400                      39383658            $243,257.47
 1682261332                     11959418             $5,417.92     1702888401                      39389150            $239,995.70
 1682261730                     11982485            $24,280.13     1702888409                      39415716            $237,664.55
 1682262115                     11839610            $42,806.78     1702888412                      39440342            $141,440.59
 1682262239                     11847290            $48,780.87     1702888414                      39448410            $163,882.71
 1682262311                     11881968            $72,838.71     1702888415                      39449756            $278,537.01
 1682262312                     11881984            $43,867.13     1702888416                      39450929            $287,161.13
 1682267101                     11810801           $103,810.83     1702888419                      39456777             $87,757.99
 1682665871                     11974029            $41,172.44     1702888422                      39475389            $201,669.22
 1682666299                     14053862             $1,650.46     1702888425                      39500897            $170,673.65
 1682667458                     11970530           $109,991.26     1702888434                      39522800            $256,716.05
 1682667605                     11971546            $27,171.43     1702888448                      39558358            $271,395.00
 1683232006                     14116727            $15,694.68     1702888468                      39603063            $392,520.50
 1683232998                     14099840            $30,880.10     1702888478                      39622618            $266,029.89
 1683233666                     14117287            $40,175.19     1702888479                      39623210            $319,825.63
 1683233814                     14089510           $111,596.29     1702888482                      39629654            $257,078.98
 1683233872                     14171920            $27,978.56     1702888487                      39639034            $226,015.94
 1683234062                     11683331            $14,505.58     1702888494                      39653464            $123,454.78
 1683234180                     11831609            $40,414.84     1702888498                      39659016            $134,780.75
 1683806775                     14140073            $21,957.74     1702888513                      39685672             $27,465.84
 1683810411                     14282768            $71,656.05     1702888520                      39697586            $163,180.15
 1684455337                     14398648            $41,710.89     1702888531                      39713524            $223,971.01
 1684455517                     14403851               $379.27     1702888532                      39713854            $125,554.53
 1684455656                     14249023            $18,395.54     1702888533                      39713979            $245,445.25
 1684455683                     14282560            $74,716.01     1702888534                      39714076            $141,173.59



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                                                           Exhibit A
                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1684463536                     14319628                $13.26     1702888536                      39714514            $267,097.10
 1684463922                     14177059            $39,224.10     1702888542                      39726161            $165,235.60
 1684463936                     14244214           $104,272.87     1702888552                      39735527            $177,399.81
 1684463991                     14342604            $93,973.16     1702888558                      39741046            $196,405.87
 1684464654                     14290126            $48,352.67     1702888560                      39742812             $87,216.81
 1685151211                     14635833            $23,386.78     1702888565                      39752472            $235,088.48
 1685152858                     14565717             $5,018.16     1702888569                      39758537            $149,125.64
 1685153129                     14207500            $58,513.15     1702888570                      39759170            $133,961.49
 1685153456                     14551147             $2,869.41     1702888574                      39765151            $104,802.11
 1685209548                     14169247            $33,077.38     1702888577                      39767876            $288,346.48
 1685757063                     14425573            $24,752.89     1702888579                      39772561            $251,618.10
 1685757065                     14426324            $33,587.04     1702888583                      39777941            $276,136.37
 1685758065                     14636120            $31,297.45     1702888584                      39778659            $358,420.09
 1685776392                     14725238            $72,044.98     1702888586                      39780853            $155,700.89
 1685776421                     14432579            $25,705.62     1702888591                      39786769            $207,348.43
 1685776778                     14391700            $40,932.99     1702888592                      39788708            $122,567.94
 1685776897                     14655716             $4,864.07     1702888614                      39808332            $230,691.71
 1685776945                     14706725             $3,469.02     1702888620                      39811187            $423,887.72
 1685777103                     14529150            $43,089.41     1702888622                      39812714            $117,161.46
 1685777963                     14736946            $38,555.80     1702888623                      39813159            $160,139.47
 1686385072                     14965289             $8,243.74     1702888626                      39815329            $405,839.58
 1686385256                     14650485            $53,585.07     1702888627                      39816863            $216,047.51
 1686416003                     14603435            $56,174.02     1702888632                      39821095            $111,389.02
 1686419944                     14942213            $33,713.55     1702888645                      39832589             $87,999.06
 1686420170                     14915904            $25,373.94     1702888647                      39836143            $271,238.22
 1686420171                     14916233             $1,159.31     1702888662                      39852843            $167,844.53
 1686426519                     14819106             $4,757.49     1702888663                      39853536            $201,067.64
 1687147131                     15008345            $64,752.32     1702888669                      39857370            $285,353.28
 1687174605                     16004574            $12,782.40     1702888671                      39859053            $103,373.38
 1687174653                     15170038            $39,209.26     1702888672                      39859749            $292,159.84
 1687174670                     14919302            $65,191.04     1702888675                      39862305            $225,558.34
 1687176361                     15181266           $106,738.57     1702888691                      39881990             $56,758.28
 1687176436                     14983332            $77,885.71     1702888696                      39888144            $121,308.24
 1687206052                     15068422            $70,648.29     1702888713                      39910609             $34,375.95
 1687540546                     15113103            $66,002.22     1702888723                      39926506            $202,190.13



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                                                           Exhibit A
                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1687913055                     14383699            $23,063.71     1702888730                      39935705            $274,317.76
 1687915376                     15235740            $76,028.75     1702888768                      39987516            $127,736.53
 1687915681                     15294374            $41,481.77     1702888786                      45023694            $179,886.19
 1687932342                   108376823            $105,187.08     1702888789                      45026713            $108,577.60
 1688704550                     15421753            $30,117.21     1702888791                      45029337            $171,945.86
 1688725381                     14248181           $132,936.90     1702888795                      45042793             $74,293.45
 1689388938                     16033342           $119,305.23     1702888799                      45054913            $139,169.76
 1689389075                     14855555            $20,362.54     1702888800                      45058492            $230,931.36
 1689389112                     15311970           $126,178.48     1702888801                      45063690            $382,639.08
 1689389147                     15562861            $58,137.22     1702888810                    123159030              $73,162.03
 1689389215                     15354574           $108,874.14     1702888811                    123159063             $203,464.65
 1689389270                     14773741            $18,541.49     1702888815                    123159469             $338,475.36
 1689390002                     15267636            $16,099.57     1702888818                    123159634             $168,717.74
 1689390150                     14718118            $26,210.79     1702888822                    123159998             $250,608.28
 1689390278                     14984827           $116,408.89     1702888823                    123160061             $292,819.94
 1689390396                     15265424             $6,341.34     1702888839                    123161523             $118,828.29
 1689390461                     15157472            $14,580.21     1702888847                      33335811            $304,255.52
 1689390977                     14673537             $1,245.30     1702888858                      33469040             $51,310.76
 1689432012                     15566342            $81,044.51     1702888860                      33475518             $77,635.69
 1689432015                     16053605            $61,986.58     1702888870                      33508920            $115,340.10
 1689432451                     16053670            $14,507.98     1702888872                      33513821            $172,184.43
 1689432461                     15481054            $41,979.69     1702888890                      33551672            $240,646.91
 1689432663                     15391212           $122,238.16     1702888895                      33557984            $255,983.46
 1689432977                     15483555            $19,788.77     1702888903                      33561408            $297,874.95
 1689433081                     16025538            $25,461.96     1702888909                      33565920            $120,502.13
 1689433121                     15469042            $42,804.68     1702888912                      33568221            $267,690.96
 1692165817                     15719529             $3,393.41     1702888926                      33573155            $107,891.51
 1692166095                     15355639            $39,567.39     1702888932                      33576307            $323,000.30
 1692166126                     15445091            $57,287.01     1702888933                      33576604            $229,517.16
 1692166274                     15640469            $78,649.04     1702888940                      33580333            $219,084.93
 1692166514                     16066631             $7,178.33     1702888943                      33584590            $318,318.47
 1692180146                     15368095           $155,579.29     1702888950                      33588484             $37,570.77
 1692180355                     15655608            $30,436.51     1702888952                      33588831            $291,863.04
 1692180415                     15703242             $8,221.28     1702888955                      33591728            $264,340.62
 1692180464                     15742182            $64,475.61     1702888962                      33597089            $351,266.26



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                                                           Exhibit A
                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1692180517                     15522907               $729.65     1702888966                      33599069            $178,394.23
 1692180688                     15399801            $19,657.49     1702888980                      33610643             $42,497.82
 1692855667                     15762081            $21,873.90     1702888984                      33612003             $94,592.29
 1692862966                     15675978               $440.48     1702888989                      33615857            $206,143.74
 1692863098                     15816291           $148,470.56     1702889000                      33625815            $293,577.48
 1692863212                     15738610               $491.22     1702889022                      33651548            $223,549.46
 1693445560                     15941891            $68,842.67     1702889030                      33654443            $113,230.89
 1693461531                     15875941            $60,727.30     1702889049                      33676347            $255,296.96
 1693461609                     15825581            $66,434.37     1702889123                      39737309            $297,419.49
 1693815640                     15539539            $11,154.39     1702889134                      39772546            $279,193.76
 1693815752                     16178790           $161,695.56     1702889151                      39814835            $221,040.59
 1694520265                     15967342           $107,372.38     1702889156                      39822168            $277,650.79
 1694729131                     17171950             $9,103.55     1702889177                      39867502            $258,996.04
 1695060184                     15967334            $21,975.93     1702889180                      39870175            $140,136.12
 1695060225                     17247479           $121,143.29     1702889209                      39917430             $93,992.89
 1695060369                     17290636            $47,915.66     1702889216                      39931217            $259,179.73
 1695068490                     16398463            $73,009.78     1702889220                      39938212            $274,998.94
 1695069157                     17389859           $253,057.38     1702889223                      39946678            $216,701.60
 1695420979                     16519365           $152,255.31     1702889239                      45005998            $247,713.77
 1695428397                     17473166            $54,685.94     1702889244                      45065208            $187,936.25
 1695754301                     17346834            $52,599.13     1702889248                      45104890            $345,192.55
 1695776382                     16544314           $216,742.92     1702889260                    123160301             $239,652.13
 1695783140                     17443979            $75,790.93     1702889261                    123160863             $343,120.32
 1695787831                     15706492           $356,367.36     1702889265                    123161739             $308,313.38
 1695788017                     17183153            $25,604.90     1702889272                      33405317            $215,354.15
 1695788319                     15224157            $49,334.00     1702889279                      33489501            $174,385.87
 1695788555                     14659825            $39,460.60     1702889285                      33525775            $219,182.66
 1695798782                     16462533            $71,512.49     1702889288                      33530122             $69,442.99
 1695799554                     17557331           $161,826.70     1702889289                      33532037            $175,138.63
 1695800976                     16541112            $99,837.96     1702889307                      33570672            $183,457.07
 1695802608                     17397753           $107,852.28     1702889319                      33590159            $262,487.53
 1696094933                     17572199            $67,037.74     1702889335                      33612144            $161,895.51
 1696094943                     16638371           $130,470.25     1702889340                      33617333            $236,852.86
 1696123152                     17788050           $122,990.87     1702889348                      33633538            $393,458.23
 1696125458                     17813791           $172,014.77     1702889366                      33672684            $231,733.72



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1696125542                     17830936           $181,611.32     1702889367                      33672726            $172,117.99
 1696125696                     16594400            $82,220.70     1702889368                      33672759             $57,034.67
 1696362723                     16522799            $93,539.05     1702889378                      39328257            $125,230.78
 1696373756                     17875188            $94,515.19     1702889385                      39530712            $128,855.90
 1696374012                     16734071           $114,711.07     1702889393                      39641964            $323,517.14
 1696376164                     16732810           $173,278.35     1702889398                      39675210            $279,476.96
 1696376555                     17870775           $100,430.83     1702889400                      39704606             $57,786.61
 1696376780                     17938168           $136,438.14     1702889450                      39928080            $176,373.05
 1696377202                     17846965           $257,517.25     1702889451                      39929732            $277,184.17
 1696598352                     16865164            $76,866.37     1702889474                    123159907             $434,067.19
 1696599805                     18102350            $82,404.51     1702889484                      33396011            $197,140.03
 1696600767                     18080804            $90,514.28     1702889498                      33503145            $248,996.63
 1696600853                     16821688            $84,747.94     1702889499                      33505223            $132,199.40
 1696602725                     17870270           $112,271.69     1702889500                      33508300            $112,771.47
 1696603098                     18048611           $153,109.06     1702889501                      33508466            $119,007.62
 1696603154                     18065268           $118,636.46     1702889507                      33536764            $142,573.11
 1696603449                     17918004            $42,618.15     1702889526                      33571035            $289,156.34
 1696604350                     18107649           $199,822.24     1702889534                      33584533            $208,088.22
 1696605138                     17943028           $110,384.33     1702889536                      33591405            $230,052.77
 1696605336                     17985334            $97,594.04     1702889546                      33605510            $117,392.66
 1696826614                     16645632           $134,862.50     1702889557                      33626672            $261,606.49
 1696827918                     17601972            $58,683.62     1702889562                      33639618             $86,307.19
 1696827981                     18165522           $314,245.52     1702889568                      33651662            $163,514.86
 1696830972                     18120436           $208,463.69     1702889579                      33676495            $387,670.68
 1696831567                     18246694           $109,312.30     1702889583                      39246632            $253,050.90
 1696833211                     18120873           $192,167.86     1702889591                      39461413            $177,580.91
 1696833409                     18187328           $117,399.44     1702889594                      39511498            $199,110.04
 1696843604                     16627192            $86,249.02     1702889597                      39534706             $81,144.78
 1697058366                     18275305           $161,289.77     1702889600                      39580063            $107,258.56
 1697058398                     18285031           $118,306.88     1702889612                      39669791            $188,073.11
 1697058405                     18289546           $117,374.99     1702889625                      39725163            $226,462.22
 1697058433                     18304634            $92,371.34     1702889640                      39792932            $252,106.03
 1697058444                     18308031           $146,211.13     1702889644                      39816269             $83,428.71
 1697058484                     18331116           $129,580.60     1702889647                      39826607            $151,240.32
 1697058513                     18343731           $206,316.20     1702889661                      39885199            $316,087.78



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1697058560                     18361188           $167,624.78     1702889670                      39922612            $227,362.80
 1697058712                   113393318            $183,575.15     1702889674                      39944798            $219,128.29
 1697058914                     18313163           $167,549.16     1702889679                      39960190             $98,061.16
 1697058981                     18386409           $208,193.85     1702889686                      45066008            $217,169.97
 1697059328                     18213504            $43,451.90     1702889688                    122955677              $64,165.81
 1697059519                     18280305           $149,464.54     1702889700                      33395534            $386,913.71
 1697059697                     18340851           $263,053.41     1702889701                      33405192            $166,064.84
 1697059748                     18354068           $132,625.05     1702889718                      33518200            $118,500.75
 1697059754                     18355594           $128,819.62     1702889719                      33520784            $303,360.60
 1697059833                     18400739           $185,408.32     1702889723                      33535485            $111,967.64
 1697059870                     19037431           $189,737.03     1702889727                      33543901            $213,693.36
 1697060067                     16837114           $125,493.00     1702889728                      33546581            $144,363.48
 1697060108                     16949745           $149,925.36     1702889734                      33561739            $301,494.67
 1697060127                     16979908           $126,709.97     1702889740                      33566027            $107,880.78
 1697060144                     16995177           $231,027.68     1702889744                      33574625            $100,273.53
 1697060241                     18187823           $114,079.45     1702889746                      33576232            $126,134.56
 1697060368                     18266536           $180,220.90     1702889747                      33577230            $106,337.41
 1697060893                     16892820           $254,932.73     1702889750                      33578766            $241,848.55
 1697061195                     18295154            $63,351.69     1702889752                      33584632            $184,413.98
 1697064236                     16852428            $87,266.07     1702889754                      33585332            $122,920.92
 1697064238                     16857245            $97,365.06     1702889757                      33589771             $82,420.09
 1697064367                   113386486             $78,638.66     1702889758                      33591868            $224,651.51
 1697286797                     18320101           $200,693.25     1702889764                      33601436             $51,869.65
 1697286892                     18397711           $208,628.06     1702889768                      33605528            $205,676.03
 1697287130                     18509554           $114,341.96     1702889769                      33607219            $190,857.89
 1697287407                     18062133           $249,232.08     1702889771                      33611815            $362,667.27
 1697287625                     18211219           $223,591.82     1702889777                      33620907            $295,334.91
 1697288111                     18320192            $62,099.35     1702889779                      33626540            $217,576.81
 1697288179                     18330811           $176,394.75     1702889781                      33627480            $129,816.02
 1697288330                     18346585           $125,209.52     1702889792                      33644188            $272,335.22
 1697288697                     18411884           $199,281.45     1702889804                      33673526            $265,383.87
 1697288983                     18450668            $81,926.07     1702889805                      33683327            $122,659.90
 1697289087                     18462671           $166,740.87     1702889811                      39379599            $388,488.61
 1697289144                     18474809           $170,858.98     1702889813                      39407978            $263,615.72
 1697289298                     18521617            $78,885.58     1702889824                      39605076            $275,450.67



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1697289882                   113449763            $214,701.82     1702889835                      39663612            $261,982.11
 1697290047                     18419648           $165,990.17     1702889846                      39714746            $223,579.69
 1697290189                     18554188            $52,858.99     1702889847                      39715156            $130,144.07
 1697290237                     19140250           $128,306.03     1702889851                      39748603            $130,029.77
 1697290317                     19155902           $240,167.73     1702889864                      39809678            $191,239.09
 1697290460                     18281741           $195,554.81     1702889874                      39839949            $192,374.07
 1697290699                     18417519           $146,772.91     1702889877                      39848254            $196,405.99
 1697290732                     18421008           $122,293.89     1702889888                      39918297            $306,371.61
 1697290939                     18486001            $95,304.78     1702889894                      39938501            $130,834.03
 1697290949                     18493833           $200,123.45     1702889900                      39971155            $172,839.17
 1697291002                     18523845           $167,067.74     1702889902                      39978945            $139,553.09
 1697291008                     18526905            $78,288.43     1702889905                      45006327             $83,349.50
 1697291101                     19041441            $67,278.60     1702889912                    123000473             $311,770.87
 1697291290                     19030063           $234,849.81     1702889922                    123161689             $111,541.81
 1697291611                     17953910            $36,811.11     1702889928                      33415183            $190,974.55
 1697292297                     19199207           $100,816.95     1702889929                      33423476            $155,733.88
 1697292368                     18502237            $73,539.54     1702889952                      33533357            $132,775.91
 1697296751                     18407619            $66,331.17     1702889964                      33562331            $193,663.86
 1697528741                     18536052           $182,520.91     1702889981                      33585555            $994,819.88
 1697528791                     18592907           $108,171.85     1702889982                      33585944            $140,162.41
 1697528875                     18636878            $79,802.39     1702889987                      33595844             $94,130.68
 1697528947                     18679613           $107,437.40     1702889993                      33602517            $130,105.72
 1697529069                     18504811            $96,357.34     1702889995                      33604927            $235,393.59
 1697529070                     18505917            $68,798.70     1702889996                      33604968            $175,243.62
 1697529083                     18534800           $115,913.77     1702890003                      33613050            $189,629.07
 1697529091                     18536292           $187,248.26     1702890018                      33640939            $242,349.69
 1697529125                     18582759           $171,455.91     1702890027                      33659061            $169,843.99
 1697529179                     18637942           $186,462.72     1702890031                      33663154            $155,279.23
 1697529199                     18654020           $240,808.05     1702890032                      33668922            $213,470.74
 1697529211                     18660167           $183,293.01     1702890034                      33675307            $279,780.50
 1697529286                     19283704           $158,164.72     1702890047                      39480009            $268,819.56
 1697529481                     18241141           $175,734.61     1702890051                      39523576            $329,400.61
 1697529538                     18272559           $138,265.35     1702890056                      39570171            $165,478.22
 1697529545                     18275966            $98,783.71     1702890073                      39710629            $283,500.65
 1697529552                     18276071            $66,302.23     1702890083                      39776588            $129,151.86



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1697529765                     18381350           $141,461.86     1702890087                      39786298             $92,665.78
 1697529801                     18402719            $81,301.63     1702890098                      39827357            $118,963.04
 1697530053                     18502211           $147,860.30     1702890117                      39916028            $190,945.07
 1697530068                     18506899            $99,311.55     1702890118                      39916044             $78,602.67
 1697530165                     18530915           $145,166.51     1702890121                      39941729            $154,360.38
 1697530225                     18536771            $95,580.72     1702890126                      39957469             $42,897.48
 1697530650                     18611558           $135,471.43     1702890133                      39987037            $135,404.26
 1697530700                     18626119           $324,680.07     1702890137                      45033123            $371,959.47
 1697530797                     18639922           $125,247.13     1702890138                      45038171             $68,268.43
 1697531067                     18696518           $114,215.85     1702890141                    123159386             $281,399.98
 1697531087                     18702951           $102,332.93     1702890143                    123160053             $258,592.83
 1697531107                     18716613           $138,855.52     1702890151                      33275421            $133,906.33
 1697531263                     19361070           $137,516.17     1702890160                      33458357            $259,924.16
 1697531431                     18304642            $60,060.90     1702890165                      33479775             $36,757.57
 1697531594                     18535666           $120,802.19     1702890173                      33521857            $169,506.89
 1697531696                     18587238           $119,503.03     1702890197                      33570094            $188,172.06
 1697531795                     18626044           $121,743.11     1702890199                      33570656            $219,964.79
 1697531802                     18626960           $160,883.39     1702890203                      33577776            $671,235.20
 1697531987                     18720565            $76,899.59     1702890206                      33586074             $80,032.00
 1697532186                     18574681           $157,620.77     1702890209                      33590282            $246,399.52
 1697532891                     18376343            $91,992.20     1702890226                      33610189            $194,389.68
 1697536734                     18403931           $149,496.99     1702890234                      33620980            $257,059.24
 1697720888                     18609412           $341,201.80     1702890240                      33633918            $402,030.17
 1697720919                     19498880           $100,413.10     1702890254                      33655028            $304,242.35
 1697736752                     18408252           $189,052.17     1702890268                      33691239            $215,412.85
 1697736896                     18651299           $201,637.36     1702890270                      39408547            $121,945.16
 1697736968                     18705319            $41,187.85     1702890278                      39565213            $125,183.70
 1697737002                     18722942           $173,831.93     1702890287                      39644323            $172,263.67
 1697737349                     18844407           $115,559.71     1702890298                      39738729            $347,887.92
 1697737354                     18847608           $132,111.72     1702890307                      39788336            $180,560.86
 1697737355                     18848655           $183,287.71     1702890350                      39987870            $183,091.85
 1697737367                     18857771           $127,837.61     1702890363                    123161143             $186,390.63
 1697737651                     18417931           $182,464.82     1702890366                      33591678            $208,065.15
 1697737802                     18746339           $201,176.26     1702890380                      33557919            $141,671.69
 1697737934                     18823989           $159,696.44     1702890429                    123159717             $249,136.22



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1697738211                     18101048           $138,737.39     1702890436                    122200934             $232,923.37
 1697738227                     18286773           $117,402.22     1702890441                    122201577             $183,385.68
 1697738404                     18585638           $179,505.23     1702890453                      33522103            $263,871.60
 1697738487                     18662239            $84,224.84     1702890460                      33653239            $169,259.50
 1697739561                     18871657           $197,727.83     1702890476                      39889134            $166,276.31
 1697740168                     18719914           $191,834.56     1702890481                    122200736             $168,008.88
 1697740238                     18755686            $84,506.29     1702890483                    122201668             $298,008.55
 1697740284                     18780148           $154,236.00     1702890517                      39270160            $324,138.74
 1697741901                     18671743           $134,215.85     1702890524                      39599840            $104,548.69
 1697742461                     18533919           $203,130.30     1702890525                      39616487            $311,342.04
 1697742638                     18629006            $94,402.04     1702890529                      39627716            $243,789.71
 1697742876                     18743567            $73,650.64     1702890533                      39685383            $187,270.08
 1697743220                     18959031            $53,988.94     1702890535                      39717251             $55,375.68
 1697743412                     19466259            $42,075.69     1702890543                      39894910            $160,145.77
 1697743424                     19487073           $268,557.32     1703078300                      39960232            $269,875.86
 1697744572                     18732461            $93,617.18     1703078317                      33768755            $148,315.91
 1697744654                     19256981           $146,083.57     1703078404                      39897426            $226,717.37
 1697744742                   113973721             $70,060.72     1703078420                      33590217            $234,756.54
 1697745073                   113730337            $144,926.82     1703078424                      39990981             $37,291.08
 1697745130                   113768337            $162,334.59     1703078429                      33656331             $33,682.64
 1697749859                     18586628            $10,343.87     1703078431                      39886288             $75,281.37
 1697749993                     18812370           $149,249.26     1703078447                      39783733            $297,422.96
 1697750308                     18810754            $39,562.99     1703078449                      39868088            $228,432.36
 1697751242                     18705079           $136,092.37     1703078467                      45074705            $190,468.48
 1697751365                     18730986           $134,751.13     1703078473                      39814926            $133,157.29
 1697751485                     18746040           $173,575.97     1703078476                      39910153            $195,063.27
 1697751512                     18747477            $63,069.58     1703078484                      45143351            $240,810.62
 1697751900                     18799817            $88,757.94     1703078525                      33649179             $96,200.67
 1697752249                     18867663           $139,116.32     1703078535                      33606237             $51,947.43
 1697910688                     18593483           $273,694.14     1703078545                      45091964            $105,964.17
 1697911171                     30039143           $147,359.79     1703078546                      45108156            $192,989.87
 1697911583                     30027825           $135,451.56     1703078556                      39333125            $123,068.68
 1697911614                     30072250            $91,876.51     1703078638                      33592189            $147,906.08
 1697912001                     18950725           $209,839.63     1703078896                   1008154971             $431,087.78
 1697912128                     18982967           $289,734.25     1703078933                      39773890            $135,388.94



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1697912168                     19555119            $88,723.57     1703078988                      45022613            $215,827.70
 1697912865                     18989111           $238,477.37     1703078998                      45126802            $145,541.36
 1697913321                     18756841           $165,068.58     1703079108                      39443064            $236,135.58
 1697925743                     18992701           $167,133.51     1703079111                      39868914            $271,175.36
 1697926268                     18939017           $122,506.60     1703079151                      33471368             $93,258.43
 1697926308                     18973834           $103,190.33     1703079204                      39920293            $195,278.04
 1697926339                     18996934           $181,094.97     1703079218                      33297284             $99,567.16
 1697926674                     18690495           $182,386.29     1703079301                      33568668            $256,596.95
 1697927459                     18970145            $66,935.79     1703079331                      33604034             $41,113.81
 1697927616                   114038458             $62,450.12     1703079356                      39744404            $231,134.54
 1697927617                   114038466             $41,268.75     1703079374                      33620824            $171,388.09
 1698111099                     30190888           $173,666.70     1703079378                      33654203            $275,225.84
 1698118090                     18714485            $86,209.17     1703079388                      39545918             $78,182.34
 1698118110                     18868794           $236,173.27     1703079390                      39598420             $73,220.02
 1698118287                     30104103           $140,460.76     1703079416                      33662941             $45,036.42
 1698118300                     30107601           $104,496.41     1703079433                      39706387            $123,941.51
 1698118394                     30148944           $174,919.18     1703079435                      39715800            $125,460.24
 1698118453                     30173322           $191,205.72     1703079493                      45114113            $126,875.09
 1698118616                     30226518           $137,040.63     1703079514                      33611617             $69,039.02
 1698118628                     30229595           $200,309.11     1703079515                      33611914             $73,659.56
 1698118663                     30240386           $146,081.45     1703079518                      33672296            $114,265.40
 1698118670                     30241772           $174,798.30     1703079527                      39624580            $208,547.98
 1698119308                     30104624            $79,452.97     1703079566                      33511106            $117,578.61
 1698119430                     30160980           $250,839.48     1703079567                      33574336            $204,013.64
 1698119727                   400716080            $155,982.43     1703079609                      45263670            $162,672.69
 1698119770                     18755207           $163,964.30     1703079611                      33592270             $52,388.39
 1698119832                     19679968           $113,122.22     1703079623                    123214827             $100,041.49
 1698120136                     30185730            $76,466.60     1703079667                    123162810             $143,714.89
 1698120173                     30197966           $208,584.04     1703079875                   1008741355             $202,654.27
 1698120308                     30267421           $171,418.10     1703079882                   1008823179             $175,045.41
 1698120465                     18933648           $123,166.10     1703085636                      33530114            $112,060.08
 1698120948                     30258701           $123,096.88     1703085640                      33579616            $184,919.81
 1698120964                     30268593           $251,055.49     1703085645                      33592924            $141,985.52
 1698121264                     30042725           $145,669.36     1703085649                      33627415            $420,340.77
 1698121325                     30161053           $123,161.94     1703085651                      33643537            $172,838.83



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1698121521                     30229546           $131,392.71     1703085672                      33681503             $70,295.48
 1698124839                     30201461           $199,932.61     1703085674                      33682600            $332,289.96
 1698124915                     30264907           $260,218.47     1703085679                      33692377            $118,646.15
 1698124919                     30268635           $254,609.02     1703085684                      33696436            $139,462.54
 1698325409                     30367999           $157,736.45     1703085688                      33699265            $166,169.61
 1698325962                     30079313           $137,696.62     1703085689                      33699448            $110,065.11
 1698325974                     30265441           $222,253.57     1703085694                      33702671            $103,770.44
 1698326011                     35009224           $122,490.13     1703085698                      33707100            $432,577.87
 1698326043                     30456545            $39,753.24     1703085710                      33713843            $333,401.42
 1698326140                   114972714             $43,196.19     1703085716                      33715202            $196,106.86
 1698511344                     30339741           $150,526.59     1703085726                      33720202            $104,041.21
 1698511361                     30372270           $135,469.09     1703085728                      33720608            $461,346.58
 1698511501                     30477657           $235,783.20     1703085737                      33726639            $347,699.55
 1698511541                     30489991           $217,463.61     1703085738                      33726894            $216,998.36
 1698511576                     30496707           $201,922.60     1703085741                      33727355            $141,944.34
 1698511577                     30496731           $153,373.99     1703085743                      33728064             $90,046.08
 1698511596                     30497887           $305,674.89     1703085745                      33728353            $201,749.40
 1698511599                     30499016            $41,799.62     1703085751                      33730433            $145,806.49
 1698511607                     30500961           $188,807.41     1703085764                      33737560             $73,535.90
 1698511610                     30501274           $189,336.99     1703085778                      33745092            $122,384.20
 1698511651                     30516249           $211,878.36     1703085781                      33746348            $126,391.79
 1698511660                     30522163            $31,602.32     1703085783                      33746405            $186,239.10
 1698511664                     30525588           $173,568.45     1703085796                      33760869             $88,978.58
 1698511674                     30529309           $149,697.06     1703085807                      33763889            $275,313.81
 1698511752                     30560205            $77,433.95     1703085813                      33766940            $339,590.26
 1698511800                     30582530            $68,454.26     1703085816                      33768292            $146,411.02
 1698511828                     30607188           $234,724.05     1703085835                      33785569            $132,237.27
 1698511836                     30613210           $213,921.63     1703085838                      33786963            $137,200.76
 1698511928                     35364579           $155,778.14     1703085848                      33797994             $55,308.36
 1698511929                     35374990            $83,181.68     1703085861                      39304456            $258,713.09
 1698511940                     19902535           $111,693.50     1703085873                      39784772            $112,611.44
 1698511972                     30326763            $94,731.24     1703085884                      39934385            $110,368.66
 1698512000                     30411045            $96,058.99     1703085892                      39983515            $235,923.37
 1698512021                     30437891           $138,208.79     1703085910                      45059276             $71,830.87
 1698512040                     30454920            $58,375.61     1703085921                      45111671            $183,307.94



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1698512074                     30476386           $160,597.79     1703085945                      45193430            $234,707.48
 1698512135                     30497291            $98,275.09     1703085947                      45211778            $104,545.83
 1698512136                     30497358           $205,816.33     1703085963                      33378324            $319,298.09
 1698512166                     30519284           $295,505.19     1703085964                      33405085            $160,360.70
 1698512197                     30543912           $166,781.75     1703085974                      33522236            $237,377.32
 1698512198                     30544787           $142,606.99     1703085994                      33660754            $112,278.42
 1698512199                     30544969           $275,543.20     1703085998                      33675455            $100,477.49
 1698512210                     30550636           $229,433.22     1703086007                      33682246            $105,030.34
 1698512214                     30553937           $170,898.76     1703086008                      33682337            $175,571.61
 1698512222                     30559025           $177,637.04     1703086011                      33684986            $356,510.80
 1698512234                     30560312           $137,798.86     1703086013                      33685512            $183,014.36
 1698512235                     30560338           $265,048.76     1703086014                      33685702            $254,780.78
 1698512274                     30604391           $125,358.56     1703086015                      33686197            $267,435.93
 1698512278                     30619506           $143,457.96     1703086022                      33689662            $205,867.17
 1698512289                     35042365           $168,877.94     1703086023                      33690538            $106,470.06
 1698512313                     35157908           $147,619.04     1703086027                      33694597            $254,433.98
 1698512345                     35242544           $138,692.44     1703086038                      33701939            $267,976.33
 1698512350                     35250299           $143,515.90     1703086055                      33718339            $285,418.50
 1698512371                     35360254           $324,457.99     1703086056                      33719014            $157,337.92
 1698512453                     30318877            $87,509.95     1703086072                      33727801             $83,513.23
 1698512472                     30349161           $222,552.27     1703086078                      33733429            $248,645.89
 1698512491                     30376883           $138,854.80     1703086080                      33733908            $226,936.26
 1698512530                     30419188           $216,114.50     1703086083                      33736604            $219,525.10
 1698512547                     30435127           $190,391.79     1703086085                      33736638            $151,549.60
 1698512570                     30453112            $54,646.89     1703086087                      33737586            $108,151.45
 1698512639                     30473102           $171,412.60     1703086090                      33737644             $84,870.13
 1698512651                     30477301            $65,386.27     1703086091                      33737651             $98,600.70
 1698512655                     30479364           $158,148.50     1703086093                      33740622             $18,319.92
 1698512684                     30489314           $166,020.58     1703086094                      33740994             $98,540.14
 1698512689                     30491179           $111,891.75     1703086124                      33758152             $41,728.04
 1698512702                     30494942           $156,274.14     1703086134                      33766601             $48,203.45
 1698512769                     30502264           $106,906.51     1703086142                      33774795            $145,230.12
 1698512793                     30510903           $112,631.85     1703086149                      33793431            $214,158.81
 1698512801                     30513204           $167,506.19     1703086152                      33803800            $125,014.36
 1698512829                     30521199           $107,216.90     1703086158                      39402185            $249,772.29



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1698512868                     30531032            $41,226.47     1703086167                      39792833             $42,831.75
 1698512978                     30560478           $153,089.68     1703086168                      39792890             $37,770.51
 1698512985                     30560684            $66,371.67     1703086188                      45015278            $183,439.47
 1698513070                     30578777           $166,178.45     1703086203                      45074721            $239,947.66
 1698513191                     35122217            $65,960.13     1703086238                      45169208             $37,910.10
 1698513197                     35139757           $295,660.00     1703086241                      45195971              $8,159.97
 1698513236                     35198241           $168,261.63     1703086243                      45201712            $153,509.22
 1698513270                     35271907           $147,015.19     1703086246                      45221603             $62,016.62
 1698513276                     35284157           $208,229.35     1703086254                      45302270             $71,929.00
 1698513448                     30467112            $76,046.22     1703086256                    123391542             $137,756.56
 1698513460                     30471965           $118,002.67     1703086265                      33639873            $240,206.43
 1698513476                     30479547            $88,826.89     1703086266                      33668674            $194,808.70
 1698513489                     30489512           $136,792.62     1703086268                      39357678            $224,323.53
 1698513502                     30495337            $14,976.19     1703086293                      33370305            $153,530.02
 1698513509                     30496210           $137,298.40     1703086311                      33451113            $330,753.51
 1698513517                     30498745           $146,966.81     1703086331                      33559667            $247,770.68
 1698513532                     30505804           $190,042.58     1703086340                      33582222             $88,982.32
 1698513535                     30507131           $139,673.22     1703086363                      33615139            $297,099.10
 1698513548                     30514202           $200,188.15     1703086414                      33663030             $83,702.22
 1698513664                     30570279           $193,718.03     1703086416                      33665373            $168,424.61
 1698513695                     30587174           $141,151.52     1703086419                      33665506             $66,535.20
 1698513862                     30413553            $70,021.89     1703086422                      33667510            $208,917.88
 1698513879                     30442628           $157,369.72     1703086445                      33674698             $76,742.13
 1698513905                     30469522            $70,168.54     1703086447                      33674839            $141,835.42
 1698514055                     30563019           $123,860.08     1703086467                      33680141            $215,206.02
 1698514070                     30575666            $89,680.53     1703086468                      33681198             $58,823.05
 1698514091                     30593941            $75,399.47     1703086479                      33685322            $136,942.24
 1698514099                     30602510            $17,892.29     1703086480                      33685454            $164,186.06
 1698514218                     30447742           $164,813.48     1703086483                      33685652            $168,402.95
 1698514234                     30460307            $79,350.94     1703086484                      33685983            $175,265.86
 1698514304                     30495055           $255,671.34     1703086515                      33694233            $276,593.38
 1698514325                     30496285           $182,832.63     1703086534                      33699505            $150,397.40
 1698514353                     30509111           $189,526.10     1703086537                      33699851             $22,440.40
 1698514418                     30550339           $226,309.73     1703086539                      33700972             $69,463.81
 1698514449                     30559587           $223,708.22     1703086540                      33701731             $91,255.64



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1698514493                     30578538            $95,066.96     1703086541                      33701756            $127,001.76
 1698514516                     30589071           $188,813.26     1703086548                      33702762            $203,787.39
 1698514518                     30591911           $150,106.55     1703086549                      33702820            $156,973.49
 1698514522                     30594899           $222,381.02     1703086560                      33707233            $269,372.14
 1698514558                     35072735            $43,786.48     1703086563                      33707969            $112,313.23
 1698514608                     35169580            $88,112.45     1703086564                      33708363            $149,632.54
 1698514617                     35181031            $45,855.36     1703086584                      33714437            $364,276.56
 1698514683                     35302611           $141,814.90     1703086585                      33714445            $213,611.89
 1698514750                     30379747            $62,909.07     1703086589                      33717547            $128,314.05
 1698514800                     30456446            $66,294.55     1703086592                      33718164            $279,927.84
 1698514813                     30468326           $223,870.12     1703086608                      33720996            $134,982.91
 1698514819                     30472948           $283,037.62     1703086642                      33728023            $124,814.12
 1698514841                     30490999           $104,307.55     1703086658                      33729682            $288,264.11
 1698514865                     30497259           $211,911.66     1703086662                      33729989            $171,950.22
 1698514951                     30536973           $187,079.31     1703086676                      33734336            $223,358.58
 1698515011                     30561005           $216,244.15     1703086683                      33737859            $231,549.68
 1698515024                     30574172            $45,668.46     1703086692                      33740523            $343,604.06
 1698515035                     30580161           $199,899.57     1703086698                      33741422            $288,166.74
 1698515043                     30584817           $136,148.56     1703086704                      33742834            $162,798.19
 1698515077                     30607642           $115,997.16     1703086706                      33743311            $297,709.57
 1698515129                     35154871           $104,173.71     1703086725                      33747122            $227,057.79
 1698515166                     35207703            $80,210.76     1703086730                      33747254            $186,377.75
 1698515169                     35219484            $98,525.35     1703086743                      33753427             $43,122.43
 1698515177                     35234335            $82,022.29     1703086788                      33765546            $195,760.03
 1698515291                     30537716           $170,106.54     1703086806                      33769530            $232,941.47
 1698515378                     30300057            $26,541.71     1703086818                      33772575            $116,012.36
 1698515485                     30568067           $101,353.48     1703086835                      33776386            $346,134.74
 1698515502                     35209279           $291,415.24     1703086860                      33789637             $88,301.97
 1698515551                     35227321           $119,534.21     1703086871                      33797135             $92,487.81
 1698515572                     30085427           $202,401.01     1703086906                      39324959            $212,193.37
 1698515811                     30580831           $118,881.06     1703086913                      39785274            $248,831.09
 1698515858                     35185644            $90,301.07     1703086949                      45014214            $195,133.03
 1698525246                     30587315            $45,805.14     1703086951                      45019072            $229,541.78
 1698736336                     30662209           $158,863.21     1703086973                      45080835            $154,647.87
 1698736340                     30669501           $288,428.18     1703087000                      45166600             $36,004.17



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1698736421                     30706147           $132,911.89     1703087031                    123446395             $225,795.07
 1698736454                     30726392            $65,850.75     1703087039                      32733040            $153,285.37
 1698736501                     30754857           $116,249.66     1703087044                      33319609            $398,062.41
 1698736539                     35127885           $195,580.10     1703087056                      33388075            $106,596.25
 1698736715                     30677876           $193,604.10     1703087081                      33525403            $128,030.49
 1698736721                     30679419           $169,791.30     1703087094                      33568932            $136,163.01
 1698736735                     30691638           $133,550.58     1703087095                      33572892            $147,913.40
 1698736761                     30720106           $174,775.12     1703087100                      33592387            $148,209.27
 1698736786                     30745558           $308,181.78     1703087114                      33627647            $234,021.77
 1698736891                     18983866           $204,352.75     1703087115                      33629429             $79,316.58
 1698737190                     30655450           $157,892.30     1703087122                      33642679            $298,119.19
 1698737338                     30694194           $170,556.65     1703087123                      33643164            $128,965.98
 1698737370                     30703409           $150,564.30     1703087136                      33660325            $110,828.28
 1698737377                     30706220           $239,469.56     1703087154                      33671553            $290,149.29
 1698737511                     30747802            $87,144.39     1703087157                      33672718            $173,425.82
 1698737617                     30783807           $150,553.05     1703087193                      33683764            $308,798.72
 1698737755                     35417476           $164,552.71     1703087196                      33684960            $115,609.68
 1698737995                     30620280            $46,482.92     1703087205                      33688276            $229,769.04
 1698738110                     30651020           $215,447.28     1703087207                      33688318            $105,117.35
 1698738235                     30688196           $167,774.49     1703087210                      33690454            $287,579.01
 1698738328                     30724116           $223,989.52     1703087212                      33691288            $205,240.40
 1698738333                     30725709           $165,848.54     1703087215                      33692070            $260,570.51
 1698738355                     30733869           $152,558.13     1703087218                      33693599            $187,361.32
 1698738573                     30806350           $223,986.28     1703087221                      33693920            $175,728.60
 1698738817                     30463459           $271,377.02     1703087227                      33696980            $251,950.85
 1698738939                     30631618           $126,500.39     1703087233                      33698036            $281,962.25
 1698739062                     30677751           $130,904.80     1703087236                      33698747            $225,581.43
 1698739066                     30678494            $83,636.97     1703087243                      33701913            $431,603.48
 1698739400                     30802581           $139,242.89     1703087244                      33702325            $251,813.99
 1698739424                     30824890           $129,773.86     1703087249                      33704115            $503,126.95
 1698739517                     35499524           $144,339.82     1703087252                      33704792            $272,089.33
 1698739616                     30751549           $174,904.43     1703087253                      33705252            $201,949.27
 1698739626                     30786883            $94,913.03     1703087257                      33706722             $91,199.47
 1698739634                     35574615            $94,934.94     1703087260                      33707282            $216,123.45
 1698739656                     30490924           $117,600.01     1703087265                      33708017            $301,803.02



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1698739676                     30576649           $191,703.43     1703087295                      33718560            $397,244.60
 1698739797                     30679484           $180,444.85     1703087306                      33720186            $249,283.04
 1698739860                     30723589            $89,762.72     1703087309                      33720517            $110,591.50
 1698740055                     35438902           $145,361.97     1703087317                      33721267            $226,052.07
 1698740115                     35563543           $214,975.48     1703087328                      33724931            $103,200.31
 1698740156                     30491930           $116,626.10     1703087339                      33726233            $173,594.22
 1698740160                     30526453           $173,549.90     1703087345                      33727132            $393,382.02
 1698740213                     30630750            $95,359.11     1703087351                      33727918            $154,033.86
 1698740238                     30646053           $202,474.35     1703087366                      33731878            $189,561.74
 1698740321                     30686638           $172,259.62     1703087376                      33735440            $166,254.30
 1698740526                     35384841           $172,056.19     1703087382                      33737222            $264,980.77
 1698740681                     30556880            $48,091.02     1703087388                      33738998            $218,268.00
 1698740695                     30588024           $150,198.30     1703087389                      33739764            $294,263.81
 1698740739                     30629018           $191,398.58     1703087407                      33744319            $158,684.92
 1698740761                     30640114           $185,158.00     1703087408                      33744459            $112,514.46
 1698740800                     30661847            $46,158.30     1703087412                      33745316             $82,070.83
 1698740916                     30720148            $84,717.37     1703087413                      33745332            $139,973.07
 1698740999                     30766158           $149,481.33     1703087418                      33746108            $117,300.69
 1698741306                     30662621            $60,767.29     1703087420                      33746124            $111,933.59
 1698741432                     35303304           $188,464.07     1703087425                      33747213            $239,310.09
 1698741619                     30584197           $177,919.15     1703087434                      33750910            $334,248.64
 1698741836                     30730634            $66,093.97     1703087437                      33751264            $163,056.26
 1698741847                     30735617            $94,907.18     1703087443                      33752981            $304,984.88
 1698741954                     30819189           $235,882.79     1703087445                      33753971            $200,554.24
 1698742014                     35520014            $28,250.90     1703087446                      33756289            $279,290.63
 1698742016                     35529478           $122,356.49     1703087449                      33757048            $181,301.70
 1698742929                     30773220           $148,433.22     1703087452                      33757741            $200,211.78
 1698743584                     35097161           $112,106.31     1703087453                      33758632             $93,799.58
 1698743720                     30750954            $56,330.43     1703087462                      33760778            $280,584.02
 1698978394                     30881668            $57,470.24     1703087463                      33760802            $387,549.64
 1698978688                     35707751           $170,487.97     1703087474                      33763707            $215,622.34
 1698978734                     30704837           $101,753.50     1703087476                      33763996             $73,208.38
 1698978874                     31001761            $56,879.53     1703087490                      33768680            $228,567.26
 1698978903                     35556505           $200,722.59     1703087495                      33772013            $259,103.97
 1698979151                     30823058           $145,478.25     1703087506                      33774647            $309,279.25



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1698979261                     30906770           $258,297.05     1703087512                      33776063            $106,972.53
 1698979309                     30967418           $204,003.79     1703087515                      33776675            $113,313.99
 1698979325                     30989313           $105,174.50     1703087517                      33778226            $448,460.39
 1698979333                     31015126           $117,063.94     1703087518                      33778481            $286,482.84
 1698979352                     31055387           $240,966.23     1703087523                      33780628            $169,100.89
 1698979427                     30831630           $265,338.41     1703087525                      33782624             $92,052.92
 1698979428                     30832257            $75,891.98     1703087527                      33783051            $111,414.64
 1698979504                     30967194           $197,730.32     1703087535                      33784679            $126,786.75
 1698979528                     35346881            $98,185.15     1703087544                      33786849            $180,239.17
 1698979663                     30787246            $71,331.03     1703087550                      33791880            $319,939.39
 1698979752                     30837108           $208,817.84     1703087553                      33792144            $154,914.42
 1698979790                     30850903           $114,843.41     1703087561                      33793324            $296,943.95
 1698979804                     30856397           $128,736.96     1703087565                      33794066            $223,770.41
 1698979852                     30872147           $113,614.39     1703087577                      33799602            $181,010.64
 1698979957                     30908354           $128,155.77     1703087592                      33806522            $220,165.90
 1698980042                     30939193           $109,073.06     1703087602                      39333208            $220,933.19
 1698980097                     30965891           $149,407.34     1703087608                      39495072             $88,792.08
 1698980126                     30971865            $89,417.12     1703087617                      39751763            $522,055.08
 1698980165                     30990758           $158,076.29     1703087624                      39851001            $280,754.52
 1698980213                     31008949            $93,955.48     1703087626                      39873393            $207,166.48
 1698980495                     30745301           $109,277.93     1703087631                      39903695            $276,215.11
 1698980625                     30822522            $46,754.19     1703087640                      39955570            $260,466.75
 1698980630                     30824387           $146,939.45     1703087651                      39991641            $119,277.33
 1698980752                     30871958           $145,912.20     1703087657                      40003006            $475,870.49
 1698980788                     30885214           $142,250.44     1703087658                      40003089            $147,862.59
 1698980976                     30963714           $176,623.05     1703087659                      40003519             $72,129.45
 1698980977                     30965339           $122,062.10     1703087668                      40009235            $182,555.02
 1698981326                     30717516           $146,522.05     1703087674                      40019861            $288,585.27
 1698981398                     30797559           $229,227.20     1703087679                      45000817            $282,000.23
 1698981486                     30848477            $73,149.73     1703087691                      45019411            $134,307.75
 1698981557                     30873400           $141,401.01     1703087714                      45066305            $194,276.74
 1698981756                     30969869           $161,653.66     1703087723                      45091733             $94,245.09
 1698982071                     30826192           $202,801.56     1703087734                      45099983             $90,525.54
 1698982235                     30959704           $109,970.05     1703087738                      45104403            $287,646.15
 1698982311                     31031446           $125,985.15     1703087742                      45109733            $603,254.67



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1698982343                     35620582           $168,578.58     1703087747                      45112133            $277,189.98
 1698982353                     35702257           $141,115.33     1703087754                      45118254            $305,807.40
 1698982447                     30818157           $233,100.80     1703087755                      45118460             $76,638.65
 1698982461                     30832471           $202,770.42     1703087783                      45150042            $257,522.81
 1698982476                     30853774           $170,483.90     1703087788                      45155108            $303,115.13
 1698982630                     31008287           $170,326.74     1703087801                      45168531            $333,426.92
 1698982822                     30822555           $216,313.08     1703087806                      45179793            $200,967.98
 1698982860                     30848295            $60,362.82     1703087829                      45220506            $184,792.66
 1698982899                     30868731           $121,045.88     1703087832                      45224060            $370,040.51
 1698982908                     30869515           $268,994.59     1703087836                      45232451            $163,709.84
 1698982938                     30876346           $188,032.68     1703087841                      45240009            $178,982.07
 1698983028                     30918908           $144,304.87     1703087843                      45244258             $66,914.07
 1698983148                     30976047           $333,827.49     1703087850                      45253911            $229,735.39
 1698983194                     31004575           $204,971.75     1703087852                      45255411            $122,965.76
 1698983213                     31014491           $330,422.54     1703087860                      45273133            $152,493.23
 1698983255                     31053218           $159,041.91     1703087875                      45331238            $347,437.26
 1698983296                     35515378           $135,099.38     1703087881                    123391708             $380,473.81
 1698983427                     35703818            $90,090.99     1703087884                    123504151             $205,679.76
 1698983436                     35714070           $105,777.40     1703087893                    123597569             $261,788.90
 1698983468                     35744986           $103,356.62     1703087894                    123622557             $141,606.32
 1698983521                     35846716           $102,506.89     1703087896                      33249418            $233,811.32
 1698983665                     30868764           $261,829.50     1703087922                      33449190            $219,682.91
 1698983759                     30924732           $153,397.90     1703087925                      33464926             $81,376.46
 1698983761                     30925853           $152,996.99     1703087930                      33473836            $202,732.45
 1698983882                     35487032           $356,798.06     1703087931                      33493305            $130,637.40
 1698984080                     30825764            $75,154.83     1703087950                      33594722            $233,261.88
 1698984121                     30869317           $287,440.22     1703087966                      33632530            $131,386.74
 1698984131                     30871180           $188,979.15     1703087982                      33643099            $283,428.07
 1698984162                     30899512           $165,642.85     1703088002                      33662321            $167,799.67
 1698984193                     30927263           $163,420.92     1703088007                      33670860            $241,326.94
 1698984290                     31051766           $316,131.01     1703088018                      33675760            $262,639.79
 1698984400                     35860584           $143,259.39     1703088064                      33687674            $315,003.17
 1698984611                     30981963           $148,913.74     1703088086                      33695784            $217,787.17
 1698984636                     31031438           $242,676.71     1703088108                      33702184            $110,979.37
 1698984686                     35635291           $201,032.89     1703088129                      33708751            $371,506.38



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1698984845                     35592724           $122,878.16     1703088130                      33709254            $371,245.77
 1698998088                     30962963            $99,429.47     1703088132                      33710633            $247,190.52
 1698998232                     35542570           $155,053.24     1703088138                      33712852             $70,988.65
 1698998347                   115915027             $94,782.06     1703088140                      33713090            $149,516.62
 1698999098                     35364413            $71,981.52     1703088145                      33713298            $316,283.19
 1698999130                   115914509            $133,312.62     1703088146                      33713538            $363,809.15
 1698999470                     30891022            $68,235.95     1703088149                      33713876             $76,795.49
 1698999618                     35574979           $118,505.51     1703088159                      33717489            $215,579.27
 1698999680                     30825285            $85,346.79     1703088166                      33719022            $349,978.39
 1699251539                     30979355           $112,250.22     1703088173                      33720111            $204,174.54
 1699251594                     31025497            $54,808.71     1703088196                      33727074            $193,433.12
 1699251940                     31176712           $151,669.80     1703088198                      33727389             $40,984.36
 1699252394                     35906999            $45,756.12     1703088201                      33728130            $155,002.40
 1699253074                     31211436           $285,964.17     1703088206                      33728817            $215,002.45
 1699253258                     35878800           $155,035.64     1703088216                      33732249            $172,990.58
 1699253585                     30995724           $133,566.23     1703088227                      33740325            $173,258.28
 1699254023                     31022155            $53,203.73     1703088236                      33740960             $85,699.20
 1699254027                     31174949            $59,501.94     1703088250                      33744699            $171,434.55
 1699254045                     31021975            $42,521.85     1703088254                      33744756            $125,387.50
 1699578423                     19895028           $111,159.72     1703088262                      33747189            $241,512.13
 1699578897                     31293830            $60,671.62     1703088267                      33748724            $379,215.11
 1699580127                     31322191           $190,273.07     1703088273                      33750241             $96,907.98
 1699580374                     31227101           $196,140.32     1703088280                      33753575            $158,475.57
 1699592998                   116481813            $192,148.07     1703088303                      33759655            $232,127.58
 1699593005                   116482308            $102,059.27     1703088305                      33761313            $140,670.97
 1699593014                   116482647             $78,079.01     1703088308                      33762196             $88,446.52
 1699593093                   116493248            $228,448.85     1703088312                      33764036            $306,748.27
 1699593136                   116485889            $223,025.95     1703088317                      33765041             $62,567.50
 1699593214                   116488701            $219,339.02     1703088328                      33769324            $293,617.49
 1699593218                   116488818             $96,253.90     1703088360                      33784893            $354,067.91
 1699593233                   116489220            $257,619.49     1703088365                      33787235            $296,235.93
 1699593252                   116493347            $207,784.03     1703088374                      33792441            $251,979.66
 1699593258                   116493495             $77,172.50     1703088377                      33794686            $184,105.18
 1699593261                   116493651            $182,612.49     1703088384                      33806803            $222,128.06
 1699593286                   116494469            $137,635.18     1703088390                      33809724            $173,140.48



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1699593290                   116494618            $195,224.53     1703088412                      39781604            $130,918.17
 1699593368                   116485822             $63,979.25     1703088415                      39857172            $131,689.95
 1699593372                   116485996            $150,407.31     1703088434                      39918313            $102,741.98
 1699593412                   116489089            $144,163.26     1703088438                      39926605            $287,862.39
 1699593556                   116491135            $120,974.26     1703088441                      39936463            $207,979.20
 1699593618                   116486960            $141,154.86     1703088452                      39958004            $236,539.51
 1699593723                     30699805           $120,859.38     1703088454                      39964648            $195,811.60
 1699593733                     31072390            $64,154.49     1703088471                      39993001             $88,528.12
 1699593749                     31257496           $145,779.27     1703088483                      40006892             $23,932.57
 1699593774                     31314669           $189,021.19     1703088519                      45027703            $159,644.45
 1699593786                     31332562           $146,468.58     1703088520                      45028222             $45,191.01
 1699593790                     31341654           $134,262.13     1703088523                      45031564            $210,586.87
 1699593794                     31359888           $110,808.58     1703088525                      45039286            $141,083.74
 1699593807                     31391857           $185,827.96     1703088543                      45070489            $164,345.97
 1699593829                     36201549           $130,925.52     1703088546                      45072394            $360,279.86
 1699593862                     31328420           $251,245.41     1703088547                      45072881            $320,015.00
 1699593865                     31331143           $161,934.80     1703088555                      45086147            $184,728.73
 1699593874                     31362908           $171,114.67     1703088557                      45091436             $98,022.36
 1699593886                     36154573           $144,252.47     1703088572                      45106465            $232,335.72
 1699593890                     36344182           $120,356.01     1703088573                      45106531            $144,365.52
 1699593932                     30965586           $181,232.86     1703088586                      45114972            $220,893.95
 1699593953                     31038110           $140,264.29     1703088587                      45115995            $302,629.42
 1699593957                     31044860           $122,249.34     1703088591                      45124369            $157,498.17
 1699593986                     31101207           $102,543.93     1703088592                      45124567            $186,631.77
 1699593994                     31121973           $206,693.94     1703088593                      45126588             $36,495.40
 1699594071                     31203953           $104,422.58     1703088610                      45155207            $122,411.68
 1699594115                     31239411            $31,035.90     1703088635                      45193737            $213,314.22
 1699594138                     31252109           $178,110.50     1703088686                      45297223            $221,820.97
 1699594154                     31260813           $120,867.24     1703088689                      45320645            $264,667.37
 1699594166                     31264609           $142,535.65     1703088702                    123597684             $271,842.59
 1699594173                     31264856            $76,706.93     1703088708                      33457037            $336,846.22
 1699594205                     31278138           $115,763.93     1703088713                      33524307            $204,930.32
 1699594338                     31314685            $76,373.46     1703088722                      33561218            $161,952.22
 1699594359                     31321789           $296,097.99     1703088726                      33582131            $132,879.13
 1699594380                     31327588           $316,321.66     1703088730                      33591025            $110,935.11



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1699594390                     31329105           $148,826.18     1703088740                      33628926            $111,866.32
 1699594414                     31330889           $244,655.37     1703088752                      33650326            $192,295.44
 1699594425                     31331531           $253,551.19     1703088753                      33650532            $166,314.95
 1699594428                     31331812           $135,966.65     1703088754                      33651175            $152,649.61
 1699594429                     31331846           $366,772.77     1703088760                      33662552            $200,389.02
 1699594491                     31351091           $217,198.92     1703088762                      33664434            $317,873.40
 1699594513                     31359110           $126,097.81     1703088764                      33665654            $233,914.24
 1699594533                     31366933           $136,884.06     1703088772                      33674672            $264,124.27
 1699594543                     31372519           $193,309.86     1703088776                      33681412            $203,528.06
 1699594547                     31374051           $173,452.57     1703088782                      33682428            $299,049.89
 1699594565                     31377799           $188,144.01     1703088789                      33685710            $295,479.28
 1699594579                     31381890           $148,202.61     1703088792                      33686072            $281,324.58
 1699594611                     31392632            $73,742.36     1703088798                      33688136            $118,567.55
 1699594616                     31394265           $124,354.93     1703088802                      33690876             $78,989.16
 1699594620                     31395239           $119,995.36     1703088810                      33701103            $157,161.18
 1699594718                     31442221            $38,885.42     1703088816                      33703760            $281,439.29
 1699594770                     31463052           $127,848.88     1703088824                      33705351            $168,841.26
 1699594792                     31479207            $90,509.26     1703088828                      33707159            $207,682.55
 1699594812                     35838861           $140,448.62     1703088831                      33707308            $276,091.99
 1699594851                     36089480           $260,740.53     1703088836                      33707803            $263,180.72
 1699594852                     36097764           $234,448.78     1703088841                      33710799            $109,485.90
 1699594867                     36143568            $97,689.30     1703088845                      33712837            $102,764.48
 1699594891                     36207009           $196,336.30     1703088846                      33712993            $248,708.27
 1699594905                     36234995           $106,225.77     1703088847                      33713744             $43,117.39
 1699594955                     31005465            $88,420.57     1703088849                      33714726             $83,018.76
 1699595004                     31281587            $98,512.23     1703088851                      33714957            $270,075.49
 1699595026                     31354285            $80,682.23     1703088861                      33717950            $285,045.19
 1699595031                     31359540           $122,713.85     1703088869                      33723172            $284,377.51
 1699595055                     31399140           $195,186.83     1703088884                      33728270            $210,028.53
 1699595084                     31439565           $171,780.48     1703088885                      33728361            $286,411.98
 1699595106                     31068232           $219,996.34     1703088888                      33728692            $165,742.85
 1699595115                     31128127            $92,931.20     1703088895                      33733007            $264,821.57
 1699595136                     31207442           $201,192.67     1703088901                      33736315            $151,323.29
 1699595154                     31265036           $208,632.92     1703088906                      33737354            $253,615.91
 1699595166                     31278211           $183,197.45     1703088909                      33737396             $97,682.18



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1699595178                     31284193           $195,543.07     1703088910                      33737404            $326,371.00
 1699595215                     31330301           $172,811.88     1703088911                      33737420             $90,050.99
 1699595220                     31331002           $159,798.05     1703088915                      33737461            $220,649.11
 1699595226                     31332570            $97,409.05     1703088930                      33745647            $135,045.10
 1699595228                     31333263           $197,621.19     1703088933                      33745761             $35,500.85
 1699595254                     31373244           $131,011.73     1703088936                      33746165            $267,070.24
 1699595281                     31404833           $107,458.13     1703088939                      33746223            $258,892.36
 1699595286                     31411614            $63,935.25     1703088940                      33746249            $211,278.37
 1699595294                     31427586           $300,698.06     1703088946                      33749847            $271,690.94
 1699595354                     36043669            $99,574.46     1703088951                      33753070            $393,093.65
 1699595374                     36153989           $129,814.97     1703088955                      33753138            $115,812.79
 1699595416                     36259992           $108,784.80     1703088956                      33753187            $276,843.52
 1699595429                     36326908           $129,597.15     1703088960                      33755729            $314,619.98
 1699595454                     31144934           $221,583.00     1703088968                      33758681            $338,927.73
 1699595467                     31193097            $93,426.06     1703088969                      33758715            $336,300.95
 1699595504                     31287717           $101,744.79     1703088970                      33759119            $376,899.81
 1699595507                     31291172           $191,332.51     1703088980                      33760356            $255,772.90
 1699595519                     31343387            $84,477.25     1703088983                      33760851            $275,340.66
 1699595531                     31369127           $119,202.96     1703088991                      33765850            $155,065.55
 1699595551                     31401953           $144,743.25     1703088992                      33765934            $143,926.44
 1699595560                     31410467           $165,275.96     1703088997                      33769035            $223,900.54
 1699595562                     31417603           $144,428.51     1703089003                      33773110            $116,129.50
 1699595579                     35881838            $61,300.23     1703089006                      33773995            $451,209.35
 1699595580                     35896745           $221,405.37     1703089011                      33774753            $407,224.19
 1699595582                     35966696            $85,480.54     1703089020                      33780206            $173,637.79
 1699595612                     36294437           $194,981.01     1703089046                      33800566            $135,660.35
 1699595623                     30975882           $122,234.10     1703089050                      33803388            $179,370.26
 1699595629                     31234545           $153,885.83     1703089051                      33806209            $116,865.57
 1699595792                     31240435            $36,605.10     1703089058                      39321724            $333,604.25
 1699595793                     31240443            $64,187.70     1703089069                      39592613            $160,359.49
 1699595805                     31249626           $139,416.92     1703089071                      39646518            $268,882.62
 1699596030                     31410392           $197,067.54     1703089098                      39871934            $301,097.55
 1699596162                     31073372            $44,620.30     1703089102                      39875695            $260,834.12
 1699596180                     31232887            $47,251.58     1703089105                      39883855            $168,678.70
 1699596181                     31235179           $100,379.27     1703089117                      39934922            $270,751.14



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1699596189                     31266141           $121,017.19     1703089122                      39946892             $99,232.61
 1699596207                     31301088            $79,715.32     1703089125                      39950910            $182,514.07
 1699596255                     31456585           $175,123.54     1703089126                      39952940            $324,173.69
 1699596258                     36004349           $134,517.77     1703089134                      39963822            $137,688.87
 1699596378                     31371743            $43,319.37     1703089142                      39974704            $179,565.35
 1699596406                     35909100           $236,709.81     1703089161                      40013393            $179,300.82
 1699596477                     36295087           $190,474.21     1703089167                      45006806            $177,609.07
 1699596491                     30939383            $93,222.62     1703089177                      45025285            $184,423.86
 1699596498                     31120645            $78,678.00     1703089179                      45029576            $309,205.24
 1699596502                     31179757            $34,729.14     1703089182                      45031580            $211,416.67
 1699596503                     31179898            $35,452.83     1703089183                      45031820            $171,978.09
 1699596504                     31180060            $34,344.70     1703089185                      45033420            $134,613.23
 1699596505                     31180136            $31,034.09     1703089188                      45035920             $86,182.51
 1699596506                     31180250            $34,799.93     1703089195                      45040698            $191,903.08
 1699596507                     31180375            $38,157.90     1703089196                      45044047             $84,250.82
 1699596508                     31180474            $34,614.06     1703089225                      45080041            $199,247.14
 1699596509                     31180508            $34,620.46     1703089227                      45083649            $140,873.09
 1699596547                     31409105           $121,985.94     1703089237                      45103249            $279,905.84
 1699596550                     31409410            $38,263.65     1703089241                      45105368            $258,650.61
 1699596568                     36032308           $137,953.79     1703089247                      45113560            $157,983.55
 1699596569                     36032431           $119,076.42     1703089248                      45115052            $319,501.18
 1699596615                     36373728           $220,362.63     1703089252                      45118387            $182,166.92
 1699596629                     30951230           $100,962.95     1703089261                      45128386            $206,000.45
 1699596666                     31153646           $201,915.60     1703089264                      45130374            $211,406.60
 1699596671                     31168263           $190,304.08     1703089267                      45131547            $199,760.78
 1699596697                     31210420           $110,300.66     1703089277                      45142965             $79,649.32
 1699596752                     31259443           $269,822.62     1703089295                      45157146            $302,375.28
 1699596788                     31279649           $110,168.55     1703089303                      45163730            $229,611.08
 1699596813                     31293962           $119,027.51     1703089314                      45174802            $162,025.80
 1699596822                     31300569           $129,105.98     1703089317                      45178530            $219,752.79
 1699596840                     31308703           $245,351.03     1703089319                      45181963            $273,828.95
 1699596857                     31317548           $152,722.30     1703089331                      45201183            $239,764.27
 1699596919                     31332141           $179,632.81     1703089333                      45202397            $258,024.58
 1699596946                     31341118           $206,976.89     1703089335                      45204765            $126,972.62
 1699596959                     31347370           $203,344.35     1703089337                      45206596             $63,894.69



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1699596964                     31349954           $190,878.90     1703089345                      45219045            $270,003.35
 1699597036                     31378284           $206,440.34     1703089351                      45224607            $263,135.05
 1699597039                     31378730            $74,019.04     1703089370                      45262193            $250,677.08
 1699597093                     31402985            $96,413.14     1703089385                      45299625            $103,745.54
 1699597097                     31404304           $110,131.43     1703089391                      45309036            $133,931.11
 1699597116                     31413321           $198,828.26     1703089392                      45320504            $233,326.90
 1699597123                     31418130           $130,213.84     1703089398                      45374527            $295,226.34
 1699597124                     31418361            $84,310.79     1703089403                    123391567             $195,127.84
 1699597150                     31433980           $151,551.59     1703089404                    123391781             $444,028.37
 1699597166                     31449010            $76,851.43     1703089405                    123446411             $265,308.53
 1699597217                     31496052           $105,433.02     1703089408                    123504458             $168,567.63
 1699597284                     36120350           $120,191.27     1703089426                      33608712             $80,436.33
 1699597288                     36123958            $44,666.06     1703089428                      33636820            $196,846.32
 1699597301                     36144723            $67,770.12     1703089433                      33668310             $91,479.89
 1699597322                     36179968            $47,256.90     1703089434                      33670001            $295,161.51
 1699597323                     36180313            $65,563.77     1703089435                      33674714            $178,828.62
 1699597333                     36202810           $104,500.83     1703089443                      33685249            $144,555.63
 1699597374                     36248524           $150,763.24     1703089460                      33713819            $277,640.69
 1699597381                     36257533           $296,974.19     1703089461                      33713900            $228,483.69
 1699597386                     36262855           $232,871.44     1703089463                      33717372            $212,501.73
 1699597390                     36267383           $166,569.38     1703089466                      33719899            $158,858.07
 1699597396                     36278406            $78,934.29     1703089479                      33736729            $274,706.18
 1699597415                     36321594           $216,164.08     1703089480                      33740697            $195,576.81
 1699597427                     36351930           $160,304.55     1703089481                      33740754             $47,604.41
 1699597465                     31102973            $74,821.99     1703089497                      33753104            $204,440.28
 1699597475                     31153083            $77,260.47     1703089511                      33774001            $205,444.17
 1699597476                     31154974           $108,994.98     1703089524                      39455746            $199,160.40
 1699597579                     31303498           $189,794.00     1703089529                      39849716            $150,273.44
 1699597637                     31333693           $172,108.78     1703089530                      39852603            $110,889.73
 1699597667                     31364219           $154,445.97     1703089538                      39982871            $218,476.95
 1699597712                     31394000           $143,100.76     1703089542                      40008252            $106,003.09
 1699597746                     31429467            $79,995.88     1703089553                      45039930            $145,902.34
 1699597775                     31466808           $207,291.25     1703089554                      45040045            $176,824.17
 1699597786                     31489370            $77,240.27     1703089555                      45047198            $336,654.36
 1699597805                     35933092           $171,114.43     1703089559                      45063328            $307,759.67



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1699597844                     36134468           $206,959.48     1703089560                      45068376            $183,646.37
 1699597849                     36143329           $102,296.24     1703089563                      45075421            $278,782.62
 1699597881                     36210144           $157,027.78     1703089570                      45107059            $119,336.33
 1699597988                     31053267           $188,104.07     1703089581                      45123650            $123,293.20
 1699598032                     31151947           $216,799.77     1703089602                      45221504            $328,839.98
 1699598058                     31197759           $215,658.88     1703089610                      45261427            $105,452.13
 1699598082                     31231749           $102,678.38     1703089611                      45275245            $214,610.09
 1699598132                     31267701           $208,144.37     1703089617                      45323607            $218,283.01
 1699598157                     31278203            $19,288.34     1703089621                    123504615             $224,009.87
 1699598171                     31282346           $105,296.43     1703098470                      33726944            $138,986.60
 1699598205                     31303399           $123,750.16     1703098517                      33497330            $145,324.09
 1699598223                     31308224            $37,247.80     1703098635                      33477894            $105,105.20
 1699598233                     31314230           $253,577.18     1703098708                      33663220            $229,783.54
 1699598236                     31315930           $168,589.79     1703098854                      33770546            $205,913.00
 1699598265                     31327539           $144,297.96     1703098863                      33786898             $96,716.36
 1699598290                     31330616           $189,061.99     1703098887                      39500749            $149,994.21
 1699598305                     31333131            $97,778.13     1703098906                      39960596            $182,320.70
 1699598342                     31363666           $162,934.39     1703098953                      45203908            $119,372.43
 1699598438                     31404049           $126,458.39     1703099100                      33287319            $158,431.91
 1699598461                     31417512           $125,988.32     1703099113                      33318254            $219,175.93
 1699598502                     31439763           $178,382.24     1703099116                      33341223            $272,660.48
 1699598515                     31451107           $194,275.65     1703099145                      33471442            $171,106.25
 1699598528                     31461536           $173,391.26     1703099161                      33513904            $199,155.48
 1699598563                     35795012           $116,056.65     1703099186                      33607052             $60,409.15
 1699598607                     36154086           $201,116.67     1703099197                      33633967            $422,456.72
 1699598633                     36222156           $329,031.60     1703099242                      33687625             $74,611.47
 1699598801                     31276603           $237,341.76     1703099249                      33693060            $130,232.14
 1699598857                     31314503            $33,961.81     1703099252                      33695461             $36,363.63
 1699598914                     31352990           $140,617.06     1703099289                      33711540            $160,529.21
 1699598928                     31362726           $116,114.68     1703099300                      33721655            $105,168.70
 1699598937                     31369580           $283,438.97     1703099329                      33738287            $187,601.09
 1699598940                     31372345           $210,994.15     1703099372                      38913018            $126,962.87
 1699598956                     31378169           $101,149.45     1703099419                      39932801             $84,476.45
 1699599010                     31430739           $179,000.06     1703099430                      45019742            $145,969.57
 1699599060                     31496094           $258,872.71     1703099444                      45086444            $428,075.08



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1699599111                     36272409            $95,029.97     1703099452                      45109766            $122,187.51
 1700474290                   117907311            $209,647.77     1703099456                      45134863            $130,224.35
 1700474333                   117907899            $402,098.75     1703099502                    123195687             $118,230.24
 1700474401                   117908665             $70,456.75     1703099519                    123197550             $200,247.45
 1700474412                   117908780            $144,889.61     1703099525                    123197972             $164,764.32
 1700474426                   118610625             $12,736.90     1703099533                    123455610             $174,900.14
 1700474449                     31367733           $155,271.21     1703099536                    123455867              $65,253.41
 1700474559                     31981681           $196,047.88     1703099551                      33496548            $111,689.20
 1700474683                     32064347           $169,026.73     1703099552                      33530171             $77,310.20
 1700474775                     37066545           $132,267.57     1703099604                      39294806             $67,274.11
 1700474791                     37234598           $205,916.58     1703099652                      33355066             $90,590.82
 1700474799                     31477110           $114,801.18     1703099686                      33585761            $170,826.56
 1700474810                     31751050            $67,141.21     1703099689                      33591512             $41,979.33
 1700474811                     31751746           $141,052.05     1703099788                      45013794             $91,753.52
 1700474813                     31767106           $170,329.59     1703099804                      45173879            $100,809.55
 1700474828                     31906688             $5,880.36     1703099809                    123195083             $135,698.63
 1700474874                     31983026            $41,252.92     1703099853                      33587346             $47,896.03
 1700474899                     32004384           $140,772.17     1703099938                      33636127             $76,682.48
 1700474936                     32031593           $397,146.59     1703099956                      33711193            $231,739.73
 1700474947                     32040305           $176,471.72     1703099957                      33711573            $184,565.46
 1700474950                     32045742           $168,802.77     1703099959                      33718198             $90,485.41
 1700475096                     36947422           $161,731.61     1703099963                      33726829             $88,941.91
 1700475102                     36964476            $75,593.31     1703099988                      39916788            $237,441.71
 1700475127                     37016466            $40,040.64     1703100015                    123197899              $82,612.49
 1700475129                     37017902           $107,978.46     1703100033                      33591132             $81,481.40
 1700475143                     37055456            $85,652.74     1703100060                      33752809             $94,340.05
 1700475145                     37057148            $87,652.03     1703100068                      39748314             $25,563.85
 1700475220                   117802058            $151,077.16     1703100085                    123195877              $20,050.34
 1700475250                     31953540            $80,410.14     1703100113                      33542051            $120,414.79
 1700475254                     31984487           $172,490.96     1703100130                      33690157            $121,649.30
 1700475255                     32004483           $186,409.25     1703100133                      33695438             $41,832.86
 1700475287                     31950645           $213,882.84     1703100136                      33702150            $124,392.11
 1700475297                     32068538           $257,742.86     1703100172                      39602560            $113,826.37
 1700475543                   117913194            $170,937.06     1703100181                      39922240            $174,813.02
 1700475596                   117915710            $212,968.79     1703100193                      45177680             $86,805.41



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700475600                   117915819            $204,551.55     1703100203                    123195315             $160,877.32
 1700475605                   117916130            $228,325.96     1703100209                    123196651              $75,442.93
 1700475608                   117916239            $155,086.10     1703100210                    123197071             $100,305.02
 1700475732                   117919084             $29,553.55     1703100222                    123455735             $100,270.70
 1700475748                   117919407            $183,338.12     1703100227                      33497843            $106,624.18
 1700475789                   117920371            $221,981.10     1703100235                      33560228             $86,653.06
 1700475867                   117922179            $147,881.14     1703100236                      33572918            $258,757.03
 1700475913                   117923037            $112,665.50     1703100253                      33676206            $142,982.52
 1700475981                   117924647            $100,599.70     1703100254                      33681891            $152,825.82
 1700475993                   117924928            $153,985.21     1703100261                      33697616            $148,608.16
 1700476016                   117925446            $214,115.08     1703100264                      33699026            $185,089.76
 1700476066                   117926493            $201,072.28     1703100296                      33772674            $284,366.32
 1700476076                   117926683            $212,962.92     1703100302                      39287206            $253,539.61
 1700476093                   117927079            $312,508.86     1703100316                      45045465             $62,568.77
 1700476103                   117927301             $86,220.42     1703100323                      45189479            $110,381.35
 1700476131                   117927871            $165,244.44     1703100342                    123195992              $95,710.80
 1700476138                   117928010            $170,663.78     1703100343                    123196594             $101,953.77
 1700476155                   117928432            $176,935.14     1703100344                    123196875             $108,702.47
 1700476167                   117928705            $129,608.11     1703100351                    123455594              $69,359.99
 1700476204                   117929653            $256,572.56     1703100352                    123455602              $70,197.66
 1700476213                   117929851             $74,400.75     1703100381                      33695867            $130,944.27
 1700476224                   117930313             $99,970.78     1703100383                      33704354            $223,851.47
 1700476294                   118611631            $170,181.58     1703100398                      33776139            $136,791.64
 1700476326                   117921460            $114,696.02     1703100409                      33619693            $204,886.44
 1700476338                   117925867             $64,204.68     1703100428                      39416136             $98,965.42
 1700476339                   117926048            $134,779.48     1703100468                      45012226            $209,989.98
 1700476410                   118241926            $207,125.52     1703100492                      45146438            $190,207.54
 1700476456                   118611599            $187,311.09     1703100547                      33693011            $154,764.42
 1700476459                   118611680            $121,484.94     1703100552                      33705666            $123,868.18
 1700476516                     31586183           $314,932.09     1703100558                      33725318            $225,072.57
 1700476524                     31646060           $255,512.15     1703100571                      33751173            $249,973.92
 1700476567                     31803208           $110,160.59     1703100574                      33757386            $257,992.82
 1700476571                     31817513           $270,145.04     1703100579                      33780438            $150,184.62
 1700476576                     31836166           $137,755.65     1703100598                    123196297              $77,069.15
 1700476605                     31900145           $279,605.83     1703100602                    123197410             $258,600.21



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700476626                     31941164           $200,886.02     1703100614                      33541392             $78,400.57
 1700476717                     32003600           $173,674.49     1703100621                      33628934            $299,576.55
 1700476765                     32033276           $207,436.46     1703100623                      33667361            $171,937.25
 1700476829                     32064800           $277,018.51     1703100643                      39498290             $68,042.93
 1700476936                     36776920           $212,636.35     1703100648                      39649785            $113,597.91
 1700476960                     36887792           $149,843.27     1703100663                      39883715            $172,386.34
 1700477098                     31724354           $169,334.04     1703100679                      45000700            $120,920.81
 1700477109                     31751456           $195,300.46     1703100689                      45087558            $181,158.54
 1700477110                     31751795           $143,911.87     1703100757                      33478876             $62,037.35
 1700477122                     31790231           $144,219.65     1703100758                      33501123            $188,464.11
 1700477134                     31802556           $168,055.95     1703100812                      33705039            $143,048.26
 1700477140                     31817315           $105,906.70     1703100824                      33719972            $423,968.29
 1700477169                     31865611           $215,140.29     1703100826                      33720053            $214,562.72
 1700477179                     31878127            $57,158.81     1703100834                      33733940            $305,236.21
 1700477360                     31992522           $123,331.46     1703100838                      33745019             $69,975.87
 1700477364                     31993736           $249,991.38     1703100850                      33776477            $238,259.97
 1700477383                     31999204           $264,786.25     1703100859                    123194664             $196,322.81
 1700477404                     32004731           $190,255.12     1703100866                    123195869              $94,326.36
 1700477439                     32013310           $145,533.23     1703100891                      33777137            $114,604.09
 1700477444                     32014128            $91,044.71     1703100900                      39828215            $134,926.66
 1700477474                     32022196           $354,368.46     1703100906                      39931522             $96,674.49
 1700477492                     32027179           $175,162.47     1703100913                      45067014            $349,306.91
 1700477496                     32027468           $146,083.88     1703100926                      45189560            $463,550.08
 1700477513                     32035156           $163,937.49     1703100933                      33215799            $195,719.18
 1700477523                     32037285           $237,034.20     1703100945                      33676594            $364,094.78
 1700477536                     32040628           $174,286.69     1703100947                      33685132            $137,658.17
 1700477573                     32047755           $256,145.98     1703100951                      33702242            $470,523.17
 1700477586                     32049017           $231,565.86     1703100963                      33729005            $162,322.94
 1700477615                     32051799            $40,503.08     1703100966                      33735127             $86,759.78
 1700477685                     32069973           $157,759.66     1703100967                      33735143            $125,247.70
 1700477688                     32071623            $69,229.72     1703100975                      39208756             $35,234.17
 1700477691                     32072456           $160,593.60     1703100989                      33493941             $64,273.36
 1700477732                     32080921           $126,207.15     1703100994                      33761594            $253,518.41
 1700477749                     32087181            $84,466.78     1703100995                      39529979             $64,840.01
 1700477765                     32090540           $219,344.36     1703101003                      45024098            $284,134.19



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700477782                     32097008            $42,865.65     1703101005                      45034667            $597,357.64
 1700477784                     32098246           $184,539.90     1703101007                      45038825            $185,935.61
 1700477829                     32116857           $139,805.69     1703101013                      45124617            $213,337.58
 1700477846                     32129314           $262,904.03     1703101022                      45222478            $236,926.87
 1700477877                     32152993           $222,057.43     1703101025                      33419433            $110,431.25
 1700477889                     36556868           $234,716.37     1703101036                      33687724             $85,279.40
 1700478035                     36998565           $271,523.01     1703101047                      33738352             $98,621.78
 1700478107                     37069457           $256,926.82     1703101048                      33752866            $234,899.12
 1700478113                     37080025           $258,663.27     1703293837                      40115545             $78,774.78
 1700478119                     37087277           $282,661.18     1703294140                      39968219            $104,673.57
 1700478190                     37199577           $203,728.55     1703294220                      40053464             $83,797.46
 1700478193                     37212131           $140,677.05     1703294234                      45209012            $255,777.43
 1700478201                     31926025           $255,577.22     1703294295                      40084709            $133,543.16
 1700478234                     31381494           $200,514.03     1703294316                      45429743            $153,119.37
 1700478248                     31484769            $76,947.11     1703294318                      33754383            $128,260.41
 1700478303                     31741754           $185,893.93     1703294340                      40002917             $35,761.88
 1700478320                     31769508           $117,621.36     1703294388                      40012635             $63,090.11
 1700478352                     31819550           $116,211.52     1703294406                      45286358            $131,430.99
 1700478442                     31903297           $136,325.65     1703294456                      45177011             $94,144.68
 1700478509                     31945926           $173,644.48     1703294461                      45457074            $108,392.62
 1700478519                     31950850           $105,732.92     1703294472                      33788829             $56,785.70
 1700478527                     31958044           $138,482.66     1703294477                      40009797             $62,032.34
 1700478530                     31960313           $159,784.39     1703294523                      40069544            $157,446.96
 1700478531                     31960925           $141,848.48     1703294541                      40088536            $334,526.52
 1700478590                     31979610           $101,112.20     1703294553                      45314572            $112,984.32
 1700478592                     31980493           $206,242.08     1703294555                      45464765            $108,530.11
 1700478786                     32017311            $92,365.52     1703294562                      45250701            $117,312.94
 1700478794                     32019424           $227,420.23     1703294588                      45323441             $92,231.15
 1700478811                     32023418           $176,738.19     1703294589                      33724113            $111,321.24
 1700478952                     32049280           $105,201.01     1703294641                      45278835            $263,589.64
 1700478972                     32050437           $267,601.85     1703294680                      40002685            $236,480.58
 1700479004                     32058703           $176,778.82     1703294717                      33755182            $209,472.00
 1700479023                     32066011           $216,561.90     1703294732                      40065963            $185,330.59
 1700479065                     32072670           $155,926.31     1703294733                      40089286            $241,544.18
 1700479121                     32091878           $281,292.11     1703294745                      33804212            $252,938.52



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700479153                     32102394           $148,426.09     1703294751                      40050437             $48,130.24
 1700479154                     32102428           $180,888.20     1703294753                      40051773            $129,981.54
 1700479347                     37005410           $397,780.06     1703294763                      33769597            $178,746.48
 1700479353                     37015773            $80,711.76     1703294803                      40053357            $397,701.26
 1700479371                     37044377           $142,826.23     1703294820                      40044562            $233,753.66
 1700479381                     37058203           $133,757.43     1703294839                      33745365             $74,305.22
 1700479383                     37063187           $218,281.84     1703294847                      33775560             $88,077.20
 1700479403                     37092012           $240,018.66     1703316118                      40030884            $124,920.98
 1700479440                     37176955            $59,356.26     1703316122                      40050288            $191,637.34
 1700479637                   118075910            $159,856.38     1703316134                      40093718            $212,159.28
 1700479672                     36998326            $72,251.06     1703316160                      33721416            $188,313.10
 1700651314                   118534346            $196,553.69     1703316175                      33790957            $178,041.05
 1700651408                     31986227           $189,748.79     1703316178                      33801309            $386,536.78
 1700651495                     32146607            $51,191.01     1703316198                      40045148            $253,184.45
 1700651501                     32151672            $70,424.54     1703316205                      40056616            $174,211.37
 1700651571                     32199226            $29,089.91     1703316210                      40069338             $59,772.33
 1700651617                     32227563           $199,137.10     1703316227                      33752882            $306,702.27
 1700651666                     32260200           $208,761.05     1703316228                      33752916            $336,784.04
 1700651695                     32279143           $160,153.76     1703316240                      33795865            $244,299.52
 1700651807                     37252590           $187,722.02     1703316255                      40014961            $186,485.16
 1700651818                     37281029            $15,164.75     1703316259                      40021305            $175,345.88
 1700651841                     37363140           $217,679.76     1703316260                      40021313            $177,250.63
 1700651961                     31843162           $136,239.42     1703316271                      40039620            $240,653.08
 1700652264                   118625110            $167,895.90     1703316272                      40044117             $50,736.88
 1700652439                     31582844           $153,569.89     1703316277                      40059263            $383,968.37
 1700652530                     32059511            $13,283.76     1703316278                      40059818            $443,139.16
 1700652601                     32145666           $153,397.08     1703316285                      40073231            $247,934.00
 1700652603                     32147738           $148,837.49     1703316288                      40086704            $125,055.68
 1700652607                     32149932           $146,326.93     1703316307                      40038879            $199,799.15
 1700652679                     32189284           $284,440.91     1703316320                      45545167             $64,916.62
 1700652697                     32196214            $83,915.41     1703319182                      33781410            $180,922.41
 1700652818                     32254450            $49,856.03     1703331858                      33784844             $91,058.90
 1700652840                     32267726            $33,824.39     1703331885                      33800582             $24,695.82
 1700652859                     32278616           $191,001.35     1703331907                      40000952             $62,765.43
 1700652863                     32279341           $180,740.88     1703331944                      40019994            $191,304.98



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700653023                     37245420           $168,222.05     1703331945                      40020018            $245,468.22
 1700653052                     37345329           $168,730.98     1703331980                      40044802            $144,412.34
 1700653095                     37468220           $199,835.28     1703332030                      40064511             $54,885.91
 1700653123                   118585116            $142,654.08     1703332056                      40100273             $91,301.08
 1700653137                   118621192            $342,996.04     1703332353                      39783089            $188,912.16
 1700653170                   118624543            $120,755.18     1703332364                      40010563            $322,254.83
 1700653331                     32200735            $35,090.97     1703332407                      40100083            $182,201.91
 1700653492                     37169422           $137,287.01     1703332499                      33777608             $90,600.67
 1700653564                   118534288             $86,774.44     1703332520                      40050098            $100,564.84
 1700653585                   118622141            $125,453.17     1703332592                      40009441            $180,117.34
 1700653593                   118624063              $8,008.77     1703332597                      40012478            $156,530.25
 1700653755                   118620137             $89,354.02     1703332609                      40031486            $146,018.16
 1700653836                     32160541           $116,863.09     1703332612                      40032252            $260,782.67
 1700653841                     32177016           $109,404.87     1703332617                      40040909            $276,613.04
 1700653980                   118621853            $108,128.82     1703332618                      40040917            $214,932.80
 1700654060                     32226771            $88,379.03     1703332626                      40063497            $208,044.57
 1700654087                     37261724           $184,509.27     1703332633                      40072217             $86,175.23
 1700654095                     37461357           $204,772.18     1703332644                      40086589            $282,775.69
 1700654099                   118496579            $148,550.42     1703332654                      40110223            $137,727.57
 1700654105                   118620830            $149,725.61     1703332656                      40131997            $297,843.45
 1700654161                     32218976             $4,295.56     1703332682                      45315926            $255,628.84
 1700654162                     32231987            $20,077.67     1703332683                      45316544            $201,487.82
 1700654311                     32281016            $44,287.37     1703332687                      45345691            $299,800.76
 1700654370                     32350704            $25,607.49     1703332693                      45391141             $19,216.10
 1700785024                   117805572            $145,606.64     1703332704                      45486479            $173,022.42
 1700838477                     31850183            $35,939.40     1703332715                      33673427            $129,432.50
 1700838485                     32002339            $44,722.27     1703332766                      40072068            $154,370.14
 1700838512                     32191058           $157,355.88     1703332768                      40085391            $139,068.61
 1700838519                     32205940            $30,177.22     1703332814                      33760430            $112,149.21
 1700838521                     32211484            $67,952.42     1703332835                      33786492            $112,630.64
 1700838530                     32251258           $177,221.60     1703332847                      33795758             $87,236.87
 1700838532                     32255341            $70,960.88     1703332863                      33808528            $149,372.17
 1700838535                     32266017            $49,371.97     1703332874                      40009466            $123,837.14
 1700838552                     32313983           $196,107.29     1703332901                      40061780             $87,702.84
 1700838563                     32325722            $94,013.92     1703332923                      45328077             $61,862.29



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700838578                     32352874            $54,930.62     1703332933                      33740176            $184,720.31
 1700838593                     32360869           $158,029.80     1703332972                      45271301            $224,310.63
 1700838606                     32370512           $246,044.49     1703333005                      45420494            $256,296.59
 1700838613                     32372591           $174,815.65     1703333012                      45442423            $242,584.68
 1700838630                     32387276           $228,529.44     1703333019                      45470739            $126,009.29
 1700838651                     32406266           $188,111.17     1703333020                      45474434             $51,931.13
 1700838654                     32408056           $142,816.28     1703333025                      45594579            $220,590.55
 1700838662                     32417115           $119,440.60     1703333044                      40077976            $155,003.25
 1700838664                     32419103            $39,421.70     1703333051                      45090719            $281,803.09
 1700838667                     32420952           $125,985.63     1703333059                      45246329            $105,173.90
 1700838675                     32427536            $65,056.05     1703333068                      45286010            $222,560.32
 1700838692                     32442618           $104,014.67     1703333080                      45332202            $213,854.60
 1700838750                     37247046           $225,638.47     1703333083                      45357498            $245,350.15
 1700838756                     37351459           $203,337.92     1703333090                      45473782            $150,901.89
 1700838760                     37404845            $77,976.11     1703333105                      33696949            $341,130.88
 1700838794                     37584943            $13,288.61     1703333107                      33750662            $261,394.89
 1700838832                     32163198            $78,766.45     1703333111                      40010134            $185,707.71
 1700838845                     32226540            $57,423.88     1703333119                      45139342            $122,917.60
 1700838849                     32238529           $218,970.09     1703333122                      45202637            $115,861.24
 1700838851                     32253429            $79,460.17     1703333123                      45223500            $195,785.96
 1700838857                     32271892           $146,870.29     1703333125                      45238078            $492,419.67
 1700838858                     32274011            $60,710.86     1703333131                      45269966            $185,010.10
 1700838864                     32294365           $179,504.03     1703333132                      45279957            $208,843.63
 1700838874                     32313587            $53,907.02     1703333139                      45339462            $125,872.18
 1700838881                     32322380           $109,849.48     1703333140                      45371325            $235,404.24
 1700838894                     32340333           $150,173.88     1703333144                      45399755            $202,928.26
 1700838905                     32353534           $137,984.80     1703333149                      45440237            $374,619.66
 1700838911                     32354698           $228,502.98     1703333160                      45540572            $280,193.85
 1700838927                     32364796            $34,252.17     1703333167                      40131427            $261,313.60
 1700838937                     32374613           $173,196.27     1703516201                      40242281            $161,760.21
 1700838941                     32377061           $132,181.31     1703516373                      40072167             $80,428.87
 1700838946                     32378465            $95,365.82     1703516429                      45223559            $225,508.71
 1700838957                     32386237           $129,189.13     1703516441                      45608601            $132,142.09
 1700838973                     32401135           $216,463.89     1703516456                      40004178             $71,071.66
 1700838979                     32404956           $266,506.39     1703516473                      40139552            $124,682.79



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700838993                     32416752            $54,936.66     1703516479                      40168288             $68,708.84
 1700838995                     32417339           $145,777.65     1703516549                      33790171            $175,669.13
 1700839001                     32421497           $124,784.50     1703516551                      33795741            $282,578.59
 1700839013                     32440786            $65,918.61     1703516569                      40262396            $121,284.83
 1700839066                     32479305           $233,505.66     1703516602                      40225815            $155,348.85
 1700839067                     32481624            $28,190.58     1703516634                      40090326            $115,611.48
 1700839076                     32501371           $284,950.39     1703516636                      40106783            $191,778.25
 1700839086                     37167681            $69,337.35     1703516646                      40158859            $191,188.45
 1700839094                     37294337           $105,214.67     1703516659                      40202921            $331,222.88
 1700839109                     37402088           $184,385.30     1703516676                      40246902            $180,771.54
 1700839117                     37420437           $181,288.22     1703516677                      40249294             $69,828.49
 1700839138                     37495314           $188,004.36     1703516689                      45434834            $155,692.78
 1700839148                     37506714           $170,852.99     1703516771                      39960281            $222,721.63
 1700839168                     37541844           $224,028.70     1703516816                      45438439            $126,650.66
 1700839172                     37545233           $104,111.10     1703516871                      45683810            $143,213.01
 1700839206                     37618675           $147,289.94     1703516881                      45299732             $80,812.96
 1700839210                     37627486           $152,713.77     1703516891                      45690047            $125,527.02
 1700839211                     37630050           $165,599.86     1703516892                      45742343            $251,120.86
 1700839212                     37633658            $31,700.76     1703516901                      45864071             $95,142.33
 1700839219                     37650835           $180,805.74     1703516918                      45840675            $239,577.96
 1700839237                     37707932           $135,731.11     1703516925                      45012200            $143,213.88
 1700839247                     37750429           $115,141.75     1703516957                      45851433            $110,852.08
 1700839308                     32369431            $99,772.30     1703516985                      45567765            $115,507.30
 1700839320                     32388324           $170,693.19     1703516995                      40091803            $155,362.92
 1700839339                     32428716           $254,551.04     1703517002                      40264608            $258,898.54
 1700839351                     32447724           $221,359.38     1703517021                      45857174            $290,265.45
 1700839363                     32485864           $170,341.78     1703517051                      45313194            $231,892.19
 1700839369                     37063286           $115,387.71     1703517066                      45077005            $143,087.41
 1700839451                     32392193           $260,997.92     1703517124                      33661950             $92,526.74
 1700839506                     37467826           $176,565.31     1703517176                      33691874             $67,136.36
 1700839519                     31898752           $112,911.39     1703517214                      45198017            $170,123.26
 1700839525                     32334542           $217,882.52     1703517220                      45307253            $215,526.32
 1700839528                     32379711           $169,201.68     1703517297                      45052776            $115,516.23
 1700839533                     32455420           $139,582.66     1703517309                      45395373            $242,421.64
 1700839542                     32360463           $281,141.84     1703517328                      33589557            $149,828.34



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700839572                     31924772           $135,372.61     1703517343                      33808155            $108,548.90
 1700839574                     31965957           $159,696.22     1703517399                      40018004            $158,920.30
 1700839602                     32137135           $204,952.66     1703517413                      45000478            $183,396.17
 1700839616                     32182594           $231,815.13     1703517442                      40108821            $158,832.32
 1700839619                     32191405            $90,413.29     1703517445                      40132938            $178,043.14
 1700839626                     32201733           $251,467.89     1703517448                      40154676            $173,130.18
 1700839640                     32220212           $210,537.44     1703517452                      40189979            $203,378.42
 1700839644                     32227035           $120,867.49     1703517462                      45090115             $83,100.94
 1700839645                     32229973           $161,453.50     1703517481                      45649290            $248,748.03
 1700839654                     32246019            $80,004.88     1703517487                      33662081             $68,428.09
 1700839661                     32261737           $231,126.40     1703517507                      40134157             $64,384.24
 1700839667                     32267759            $87,351.23     1703517508                      40138836             $18,499.70
 1700839675                     32277105           $151,976.12     1703517509                      40147308             $54,977.37
 1700839694                     32295768           $250,530.18     1703517528                      45390440            $229,935.52
 1700839708                     32305351           $199,539.29     1703517547                      40037079             $62,283.03
 1700839712                     32307845           $279,030.19     1703517571                      45391000             $25,596.45
 1700839714                     32308033           $162,476.33     1703517579                      45571106             $24,237.24
 1700839715                     32308215           $244,122.59     1703517589                      45880697            $172,946.08
 1700839721                     32310922           $186,493.19     1703517590                      33580267            $161,626.18
 1700839727                     32314106            $74,730.29     1703517595                      33809278             $69,556.47
 1700839739                     32316531           $151,481.10     1703517636                      45543527             $66,603.85
 1700839743                     32320400           $326,507.66     1703517640                      45652104            $176,058.98
 1700839744                     32321051           $184,536.15     1703517663                      39842265             $59,870.82
 1700839762                     32328247           $226,660.43     1703517668                      40038960             $60,299.45
 1700839768                     32330243           $215,088.36     1703517674                      40076648             $95,072.68
 1700839782                     32335366           $294,770.09     1703517680                      40093866             $43,590.34
 1700839784                     32335663           $113,569.66     1703517718                      40210072            $258,734.63
 1700839795                     32346082           $207,448.39     1703517720                      40218687            $294,174.75
 1700839813                     32354599           $137,761.90     1703517731                      40249823             $56,370.42
 1700839816                     32354631           $217,947.83     1703517740                      40317760            $234,799.78
 1700839818                     32354706           $166,829.36     1703517748                      45201126            $280,974.44
 1700839823                     32355604           $238,919.82     1703517750                      45279338             $62,697.71
 1700839825                     32355851           $188,475.44     1703517752                      45302106            $238,249.80
 1700839831                     32356909           $140,502.28     1703517762                      45438736             $34,190.13
 1700839838                     32358111           $219,762.67     1703517773                      45509254            $180,071.28



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700839841                     32358640           $407,546.31     1703517774                      45520871             $57,493.61
 1700839867                     32365298           $220,839.13     1703517777                      45523701             $90,416.09
 1700839882                     32368755           $286,751.77     1703517785                      45591807            $141,547.41
 1700839887                     32369100           $239,638.94     1703517801                      33779794             $85,805.65
 1700839893                     32369324           $203,546.48     1703517806                      45238193            $164,655.15
 1700839894                     32369555           $231,804.87     1703517809                      45403375            $118,162.87
 1700839896                     32369761           $243,803.21     1703517818                      45401163            $202,900.58
 1700839906                     32371940           $285,319.57     1703517865                      45412434            $317,173.72
 1700839922                     32376709           $176,058.22     1703517921                      45814159            $280,977.40
 1700839925                     32377640           $151,548.53     1703517947                      40202673            $207,047.68
 1700839936                     32380313            $39,582.39     1703517953                      45324068            $178,377.28
 1700839940                     32381667            $99,235.09     1703517954                      45383981            $190,069.92
 1700839946                     32385734           $238,749.39     1703517986                      33754193            $170,366.54
 1700839953                     32387904           $266,861.53     1703517991                      45108289            $177,441.85
 1700839955                     32387946           $192,678.46     1703517996                      45503489            $215,137.80
 1700839956                     32388035           $113,025.93     1703518006                      33706599            $531,021.20
 1700839964                     32391906           $242,183.58     1703518007                      33805219            $304,777.85
 1700839969                     32393381            $77,719.23     1703518012                      40210494            $248,924.36
 1700839971                     32393621           $224,905.31     1703518037                      40206377            $129,893.28
 1700839979                     32394926           $210,977.31     1703518042                      45429339            $241,815.39
 1700840052                     32419335            $52,155.44     1703518044                      45557998            $259,899.07
 1700840059                     32421299           $338,995.77     1703518050                      45741857            $108,910.88
 1700840063                     32422644           $161,917.37     1703518062                      40047284            $116,919.85
 1700840085                     32429300           $123,870.76     1703518065                      45199346            $142,677.27
 1700840096                     32435455           $221,212.84     1703518068                      45615317            $188,800.28
 1700840108                     32436271           $262,512.78     1703518082                      40188674            $295,574.50
 1700840109                     32436305           $259,730.99     1703518090                      45110889            $129,871.63
 1700840132                     32442667           $190,929.75     1703518122                      45307204             $19,863.34
 1700840138                     32446130           $274,376.25     1703518124                      45319563             $99,191.80
 1700840141                     32446577           $108,781.82     1703518131                      45260114            $222,042.08
 1700840150                     32448128            $63,987.90     1703518144                      45302858            $194,059.84
 1700840162                     32452781           $198,919.11     1703518172                      45505963            $201,218.95
 1700840167                     32453797           $163,286.87     1703518190                      45407640            $319,278.77
 1700840188                     32463770           $305,525.47     1703518203                      45882230             $87,537.97
 1700840190                     32464398           $178,310.69     1703518223                      45751534            $178,200.41



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700840213                     32470643           $203,034.06     1703518228                      45506425            $283,563.68
 1700840227                     32472771           $189,149.86     1703518243                      40125791            $227,918.10
 1700840250                     32477853           $175,441.34     1703518251                      45733292            $139,096.57
 1700840265                     32485401           $116,374.29     1703518254                      40113003            $104,410.85
 1700840299                     32511107            $37,192.99     1703518269                      45653789            $165,033.17
 1700840346                     37436201           $132,664.05     1703518285                      39981535            $249,964.21
 1700840356                     37451978           $292,781.27     1703518288                      45109816            $203,067.12
 1700840357                     37452596           $127,233.38     1703518292                      45216546            $132,534.64
 1700840368                     37479128           $170,166.54     1703518313                      45136140            $207,277.19
 1700840373                     37489119           $181,633.92     1703518318                      45346392            $109,641.75
 1700840388                     37516358           $155,702.43     1703518335                      45389822            $258,726.23
 1700840409                     37567518            $26,802.25     1703518345                      45309309            $263,945.42
 1700840414                     37571924            $96,418.61     1703518356                      45558970            $131,116.19
 1700840423                     37588415           $129,167.20     1703518374                      33805714            $146,508.19
 1700840439                     37611944            $36,757.77     1703518389                      45312311            $349,058.44
 1700840449                     37626371           $255,717.24     1703518403                      45322963             $87,015.86
 1700840462                     37653474           $159,101.05     1703518407                      45388659            $224,630.86
 1700840467                     37665940            $50,297.38     1703518418                      33763798            $104,045.97
 1700840475                     37711215           $218,080.40     1703518419                      39919196            $235,251.22
 1700840494                     32131138           $180,445.32     1703518423                      45332004            $198,243.20
 1700840504                     32216038           $169,155.72     1703518430                      45111457             $58,293.00
 1700840515                     32270886           $293,928.16     1703518432                      45379211            $312,044.89
 1700840517                     32274631           $294,343.09     1703518435                      45817186            $152,294.40
 1700840531                     32317943           $264,108.88     1703518440                      40253353             $95,610.13
 1700840550                     32353047           $204,860.53     1703518445                      45357191            $335,052.46
 1700840554                     32354573            $54,983.73     1703518451                      45495538            $146,157.00
 1700840560                     32356917           $278,478.56     1703518454                      45527215            $247,420.94
 1700840578                     32369837           $266,546.47     1703518461                      45923687            $192,535.96
 1700840591                     32380214           $332,767.82     1703518465                      45533171            $280,594.43
 1700840595                     32382004           $156,209.48     1703518499                      40265050            $185,389.82
 1700840611                     32401416           $156,143.69     1703518504                      33787870            $238,426.62
 1700840618                     32407215           $133,937.79     1703518522                      40246019            $305,836.22
 1700840621                     32407629           $187,618.64     1703518543                      40129157            $174,394.05
 1700840631                     32425829            $99,187.06     1703518552                      40151276            $258,859.07
 1700840637                     32430571           $124,631.18     1703518558                      40170789            $152,050.62



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700840644                     32441545           $149,599.19     1703518603                      40167454             $60,330.32
 1700840649                     32447336           $234,806.73     1703518608                      40190001            $295,622.78
 1700840669                     32466997            $72,330.81     1703518627                      40290249            $162,697.30
 1700840674                     32472318           $164,833.25     1703518629                      40027286            $269,777.31
 1700840676                     32472508           $193,237.34     1703518630                      40066599             $48,869.69
 1700840695                     37197845           $154,262.91     1703518654                      40290850            $165,071.30
 1700840702                     37355708           $192,907.37     1703518682                      40296287            $181,526.76
 1700840705                     37444536           $187,177.82     1703518689                      40171456            $230,266.35
 1700840710                     37464807           $161,226.57     1703518691                      40190803            $140,567.39
 1700840730                     37682119            $83,877.72     1703518696                      40151847            $144,857.07
 1700840735                     37725348           $208,268.08     1703518698                      40205916            $236,745.75
 1700840767                     32136384            $51,493.87     1703518733                      33678111            $132,660.55
 1700840785                     32214660            $59,031.41     1703518754                      40040743            $238,317.58
 1700840789                     32221046           $278,359.38     1703518760                      40144032            $160,588.20
 1700840790                     32222739           $281,693.74     1703518761                      40100703            $258,100.29
 1700840793                     32233009           $102,604.30     1703518804                      33697376            $229,748.02
 1700840799                     32252447           $175,790.63     1703518815                      40076945            $141,025.79
 1700840823                     32292468           $140,942.86     1703518835                      40241267            $208,432.32
 1700840836                     32301970           $221,687.51     1703518852                      40100992            $152,901.08
 1700840849                     32310625           $177,191.39     1703518871                      33737156            $159,588.38
 1700840865                     32321143           $103,788.89     1703518891                      40248221            $190,177.21
 1700840871                     32324394           $126,666.29     1703518907                      40139867            $238,087.84
 1700840875                     32325490           $181,222.69     1703518929                    123196560              $94,732.25
 1700840876                     32325649           $207,219.91     1703518968                    123197626             $176,993.93
 1700840881                     32328569           $179,083.81     1703518976                    123196628              $91,511.77
 1700840884                     32329724           $137,432.84     1703518983                    123827388              $37,496.33
 1700840900                     32332835           $220,683.41     1703518987                    123827032              $77,199.78
 1700840905                     32341158             $5,538.09     1703519005                    123196602             $114,142.23
 1700840908                     32344764           $304,258.60     1703519011                    123196222             $225,195.87
 1700840911                     32346660           $147,485.11     1703519014                    123197048             $198,791.39
 1700840917                     32352882           $183,989.80     1703519015                    123827347             $163,278.32
 1700840922                     32354011           $213,676.93     1703523606                   1009192491              $57,435.38
 1700840923                     32354045           $130,790.02     1703523810                   3002641847              $72,230.27
 1700840929                     32356735           $134,862.43     1703538878                      40234973            $158,060.14
 1700840935                     32358434           $149,441.90     1703538918                      33604901            $344,890.99



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700840968                     32364739           $120,655.01     1703538920                      33759382            $303,604.40
 1700840990                     32368870           $234,395.66     1703538934                      40152233            $289,201.32
 1700840997                     32369217            $17,947.17     1703538935                      40167462            $272,786.68
 1700841006                     32369654            $58,716.64     1703538950                      40214371            $255,647.96
 1700841007                     32369704           $109,171.22     1703539027                      40035099             $80,415.21
 1700841009                     32369795           $325,093.14     1703539112                      40166720             $47,997.12
 1700841014                     32371346           $204,177.94     1703539122                      40218471            $117,665.67
 1700841019                     32372492           $279,043.68     1703539125                      40247025            $195,368.22
 1700841022                     32373557           $139,436.62     1703539133                      45167368             $90,878.72
 1700841034                     32376899           $138,529.24     1703539134                      45167947             $65,876.89
 1700841039                     32378424            $88,957.82     1703539178                      40026650            $443,548.87
 1700841045                     32379810           $185,328.54     1703539179                      40051740             $67,476.78
 1700841047                     32380016           $288,573.46     1703539188                      40102071            $269,289.34
 1700841055                     32381501           $193,790.84     1703539189                      40110926            $262,621.94
 1700841063                     32386278           $108,928.54     1703539199                      40135626            $178,103.27
 1700841068                     32389488           $135,031.96     1703539210                      40154403            $170,112.73
 1700841080                     32395022           $130,053.78     1703539220                      40188435            $162,506.63
 1700841099                     32401713           $159,607.72     1703539222                      40192767            $228,201.21
 1700841102                     32402083           $194,246.89     1703539232                      40209660            $292,403.85
 1700841126                     32413346           $216,507.11     1703539241                      40240202             $86,192.54
 1700841135                     32416778           $139,293.42     1703539242                      40240210            $148,479.52
 1700841146                     32422651           $179,241.62     1703539249                      40261034            $243,544.84
 1700841163                     32429334           $180,497.76     1703539250                      40261042            $239,400.14
 1700841180                     32435679           $151,553.51     1703539252                      40269995            $244,107.84
 1700841188                     32436495            $47,604.09     1703552354                      33801382            $203,605.23
 1700841195                     32439705           $124,215.51     1703552383                      40077265            $164,161.35
 1700841202                     32441016            $57,810.98     1703552518                      40203523            $217,265.91
 1700841215                     32444325            $39,802.72     1703552607                      45451606             $35,928.17
 1700841223                     32447567           $249,611.60     1703552610                      45464708             $50,544.14
 1700841229                     32451809           $152,930.02     1703552676                      45856242            $137,126.62
 1700841232                     32452948            $83,239.32     1703552707                      33721408            $163,903.03
 1700841237                     32457947           $182,694.91     1703552729                      40034977            $165,091.34
 1700841246                     32464372           $269,783.47     1703552731                      40040263             $73,570.86
 1700841267                     32470791           $297,576.73     1703552740                      40087173             $66,202.43
 1700841270                     32472359           $250,556.40     1703552752                      40124109            $169,967.24



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700841272                     32472524           $236,177.65     1703552754                      40125924            $125,343.49
 1700841276                     32472748           $421,051.79     1703552781                      40230872            $177,080.56
 1700841284                     32473332           $287,956.61     1703552875                    124012121             $247,543.07
 1700841291                     32478190           $164,253.49     1703552878                      33514324            $307,813.54
 1700841297                     32480725           $244,489.36     1703552891                      33803610            $153,545.85
 1700841298                     32481533           $199,337.14     1703552915                      40084238            $114,983.36
 1700841306                     32483893            $93,940.60     1703552922                      40093627            $172,958.02
 1700841308                     32484073            $64,822.51     1703552925                      40097628             $65,866.44
 1700841315                     32488298           $177,491.82     1703552934                      40110165            $267,378.35
 1700841335                     32502551           $259,740.19     1703552962                      40141186            $119,415.64
 1700841337                     32502676            $68,174.03     1703552990                      40171357            $230,298.44
 1700841338                     32502734           $242,705.47     1703552994                      40174310            $195,375.72
 1700841349                     37042686           $163,579.33     1703553016                      40197584            $197,293.07
 1700841354                     37113370           $301,370.77     1703553038                      40219271            $160,651.92
 1700841357                     37172731           $193,733.25     1703553042                      40226458             $44,085.46
 1700841364                     37250313           $235,908.10     1703553044                      40226565            $152,181.62
 1700841371                     37290541           $286,788.99     1703553047                      40227951            $273,799.00
 1700841382                     37354701           $270,951.22     1703553053                      40233918             $90,158.05
 1700841399                     37391950            $65,220.95     1703553063                      40246985            $346,235.45
 1700841404                     37399680           $205,632.98     1703553096                      40294100            $227,451.43
 1700841411                     37413739           $243,288.77     1703553102                      45172657            $189,991.73
 1700841452                     37476967           $105,961.36     1703553141                      45669025            $128,609.90
 1700841475                     37500212           $118,380.20     1703553146                      45763000            $197,801.83
 1700841528                     37552197           $167,055.95     1703553232                      40182008            $129,430.29
 1700841536                     37562089            $85,334.38     1703553242                      40194300            $103,962.05
 1700841539                     37563947           $233,251.69     1703553285                      45690237             $71,810.62
 1700841543                     37568987           $167,115.69     1703553316                      40093700             $97,592.68
 1700841553                     37575826           $173,659.57     1703553340                      40159899             $94,790.08
 1700841554                     37575917           $149,912.30     1703553349                      40171829             $69,174.39
 1700841563                     37590148           $178,235.21     1703553350                      40171852             $86,590.46
 1700841576                     37610821           $184,189.38     1703553463                      40212573             $92,738.77
 1700841586                     37621786           $136,716.36     1703553465                      40219172             $39,066.56
 1700841588                     37626389           $288,700.02     1703553475                      40246944            $134,337.00
 1700841616                     37659562           $266,094.32     1703553481                      40265639             $71,857.81
 1700841621                     37670635           $230,440.79     1703553520                      40205494            $261,363.30



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700841641                     37710274           $148,934.43     1703553531                      45534468            $263,203.91
 1700841643                     37713062           $105,593.40     1703553552                      45297801            $188,592.40
 1700841644                     37721826           $177,889.81     1703553558                      45536406            $136,772.31
 1700841657                     31230428           $240,359.96     1703553564                      33776782            $274,863.17
 1700841660                     31833205           $242,851.32     1703553569                      40098295            $172,167.32
 1700841678                     32183212            $44,607.35     1703553599                      45617008            $290,860.83
 1700841696                     32251795           $286,791.63     1703553608                      45733623             $70,563.54
 1700841718                     32303141           $228,325.88     1703553609                      45780459             $80,009.95
 1700841723                     32313991           $262,149.95     1703553615                      40054710            $142,675.38
 1700841731                     32321473           $214,601.44     1703553616                      40055212             $50,000.37
 1700841737                     32325888            $84,587.96     1703553617                      40062184            $120,919.90
 1700841742                     32330896           $237,175.31     1703553622                      40090813            $172,372.89
 1700841751                     32334633           $381,811.84     1703553627                      40119141             $31,104.70
 1700841767                     32354854           $216,522.18     1703553655                      45297728            $386,525.43
 1700841774                     32357923           $175,905.55     1703553659                      45375854            $254,138.48
 1700841777                     32359523           $143,239.29     1703553667                      45461985             $73,610.55
 1700841787                     32364663           $101,171.12     1703553679                      45547189            $236,816.33
 1700841798                     32369233            $14,647.48     1703553685                      45597085            $251,122.63
 1700841803                     32371502            $42,146.98     1703553699                      45710944            $194,704.44
 1700841822                     32380446           $261,203.84     1703553703                      45762648             $71,001.26
 1700841837                     32393720           $185,703.68     1703553706                      45883600            $123,947.48
 1700841855                     32402653           $229,974.71     1703553724                      40330821            $136,675.35
 1700841864                     32404725           $233,332.78     1703553730                      45857216            $166,000.33
 1700841867                     32405920           $313,507.93     1703553734                    124012725             $147,060.94
 1700841869                     32406001           $166,928.86     1703553740                      40012213            $104,232.82
 1700841879                     32410417            $96,571.29     1703553747                      40068355            $112,927.51
 1700841893                     32416059           $262,048.89     1703553760                      40162695             $81,250.41
 1700841897                     32419947           $208,162.36     1703553761                      40174468            $104,736.49
 1700841903                     32423097           $339,987.04     1703553763                      40178873             $89,885.55
 1700841905                     32423311           $120,884.28     1703553789                      40216426             $71,871.75
 1700841912                     32428237            $19,543.12     1703553796                      40232753            $195,877.19
 1700841925                     32434821           $218,227.93     1703553798                      40239501            $302,193.58
 1700841931                     32437154           $161,207.33     1703553799                      40240418            $364,547.87
 1700841937                     32440331           $226,758.83     1703553810                      40263204            $168,849.90
 1700841938                     32440612           $163,521.30     1703553819                      40283913             $37,972.79



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700841942                     32441222           $227,886.66     1703553826                      40302648            $146,145.05
 1700841943                     32441255           $169,044.87     1703553839                      40342719            $316,309.85
 1700841955                     32446304           $129,922.60     1703553844                      45560547             $75,250.58
 1700841957                     32446601           $342,029.29     1703553853                      45730645            $383,052.41
 1700841958                     32446809           $178,070.58     1703553887                      40172959            $190,693.03
 1700841970                     32452377           $205,656.77     1703553895                      40183048            $270,806.77
 1700841995                     32470858           $241,463.92     1703553905                      40200685            $106,227.23
 1700842002                     32472938           $173,073.72     1703553909                      40208019            $260,538.57
 1700842007                     32474017            $82,108.94     1703553932                      40241838             $12,268.78
 1700842009                     32474538            $56,426.41     1703553940                      40250441            $266,584.94
 1700842022                     32486250           $140,398.95     1703553962                      40303166            $120,411.77
 1700842061                     37379450           $304,880.28     1703553967                      40309775            $172,440.65
 1700842077                     37460011           $212,201.19     1703553977                      45210754            $289,199.65
 1700842079                     37471513           $203,333.85     1703554001                      45770005            $118,659.30
 1700842082                     37514742           $117,900.34     1703554012                      45875325            $211,066.33
 1700842098                     37566635           $207,636.83     1703554023                      33618117             $64,431.41
 1700842112                     37608767           $273,401.46     1703554047                      33722992            $121,942.56
 1700842118                     37628427            $32,772.37     1703554075                      40120909            $115,859.46
 1700842119                     37638566           $233,604.90     1703554087                      40152308            $186,499.92
 1700842121                     37642030            $98,598.53     1703554088                      40154551            $223,227.13
 1700842122                     37642907            $69,394.83     1703554103                      40169468            $123,372.31
 1700842144                     32121006            $31,916.51     1703554109                      40174633            $280,494.15
 1700842148                     32201568           $194,598.56     1703554116                      40179012            $136,168.18
 1700842156                     32247728           $189,999.76     1703554122                      40185951            $218,750.21
 1700842162                     32268831           $140,915.81     1703554124                      40187049            $130,171.11
 1700842177                     32315723           $121,081.64     1703554147                      40197907            $140,088.21
 1700842178                     32317729           $201,260.71     1703554161                      40209124            $282,556.34
 1700842195                     32335705           $137,684.04     1703554166                      40209991            $261,935.14
 1700842199                     32351595           $168,653.80     1703554169                      40211005            $207,550.80
 1700842202                     32352833           $186,145.14     1703554175                      40216384            $130,327.83
 1700842205                     32353203            $87,261.74     1703554178                      40219503             $92,865.78
 1700842221                     32382707           $222,490.42     1703554199                      40226045            $178,722.42
 1700842227                     32391864           $172,853.21     1703554240                      40248163            $116,233.73
 1700842229                     32394140           $199,270.00     1703554250                      40254922            $297,491.23
 1700842241                     32402844           $191,303.66     1703554279                      40276701            $416,978.61



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700842242                     32404311           $300,028.66     1703554287                      40282741            $224,421.84
 1700842253                     32417172           $169,590.32     1703554293                      40291940            $171,786.41
 1700842255                     32419038           $259,599.31     1703554306                      40299711            $224,357.74
 1700842260                     32423360           $204,559.97     1703554313                      40302135            $255,653.37
 1700842284                     32461188           $170,500.93     1703554317                      40304628            $207,851.81
 1700842289                     32467854           $172,011.69     1703554321                      40308959            $257,453.12
 1700842290                     32467979           $144,107.06     1703554326                      40314619            $112,769.73
 1700842294                     32473316            $69,124.65     1703554327                      40315160            $217,052.16
 1700842295                     32474959           $421,416.45     1703554333                      40322562            $305,047.85
 1700842333                     37442712           $152,689.99     1703554334                      40322604            $305,521.71
 1700842339                     37503208           $241,277.46     1703554360                      45574373            $241,505.46
 1700842344                     37535242           $241,708.49     1703554367                      45644762             $68,231.81
 1700842358                     37597671           $122,790.20     1703554370                      45650876            $161,489.11
 1700842374                     37720570            $84,869.24     1703554372                      45653045             $99,937.47
 1700842384                     32285728            $65,551.99     1703554378                      45703725            $236,282.16
 1700842409                     32491284           $247,426.00     1703554380                      45708351            $294,770.63
 1700855051                     32011496            $79,384.22     1703554413                      45936259            $105,842.49
 1700855060                     32065799           $218,135.84     1703554415                      45944907             $88,479.59
 1700855070                     32093536           $207,630.39     1703554418                      46059473            $230,796.75
 1700855212                     32334005           $106,899.17     1703554419                    124012402             $167,912.97
 1700855243                     32359770           $199,543.31     1703554459                      40147092            $149,565.33
 1700855453                     32447906           $127,180.64     1703554473                      40159162            $386,703.26
 1700855547                     32510083           $311,499.84     1703554486                      40174583            $134,952.94
 1700855627                     37549896            $71,488.21     1703554489                      40174641            $263,672.00
 1700855713                     31802986            $97,389.14     1703554490                      40178337            $303,822.12
 1700856310                     32271090           $169,699.74     1703554491                      40178378            $167,872.91
 1700856357                     32379802            $96,816.13     1703554493                      40180424            $166,117.25
 1700856359                     32381220            $88,743.62     1703554497                      40183360            $248,236.18
 1700856386                     32410128           $124,012.99     1703554498                      40183873            $280,044.29
 1700856688                     32495640            $48,917.42     1703554500                      40183972            $127,265.56
 1700856728                     37599693           $100,289.34     1703554517                      40201659            $103,046.84
 1700856746                     37748902            $51,749.04     1703554525                      40209322            $176,245.21
 1700856764                     32397481           $199,170.65     1703554526                      40209348            $257,858.86
 1700856765                     32402034           $121,937.38     1703554537                      40216095             $79,363.62
 1700856808                     37641610            $90,451.83     1703554540                      40218851            $199,666.70



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1700856893                     37604816           $106,253.96     1703554557                      40226052            $189,367.13
 1700856902                     37777463            $76,562.41     1703554569                      40231474            $205,603.44
 1700856999                     37317468            $37,480.04     1703554570                      40231938            $169,843.72
 1700857071                     32364069           $103,673.38     1703554581                      40235079            $125,213.69
 1700857103                     37549656            $40,009.42     1703554587                      40241093             $98,026.02
 1700857140                     32433237            $64,060.96     1703554593                      40246134            $149,844.44
 1700857142                     32435125            $68,961.66     1703554594                      40247405            $139,375.16
 1700857159                   118630169            $103,108.17     1703554621                      40258733            $266,007.90
 1700857264                     32250250           $177,774.77     1703554626                      40260572            $168,162.08
 1700857311                     32296220           $297,457.85     1703554636                      40263311             $62,865.93
 1700857450                     32384091           $194,523.10     1703554640                      40268765            $116,288.82
 1700857453                     32387391            $96,941.57     1703554648                      40274359            $107,634.86
 1700857586                     32441354           $194,046.85     1703554660                      40280455             $63,545.00
 1700857643                     32465700           $280,778.92     1703554663                      40282691            $198,737.09
 1700857648                     32466591           $195,620.11     1703554664                      40283947            $269,371.54
 1700857669                     32480410           $207,904.92     1703554666                      40283988             $39,321.34
 1700857844                   118628874            $125,862.88     1703554681                      40293573            $113,371.02
 1700857861                   118718725             $68,566.35     1703554694                      40301608            $402,501.36
 1700857884                     32297400            $81,233.93     1703554700                      40305096             $81,303.92
 1700857890                     32331662           $155,514.98     1703554701                      40305153            $200,341.18
 1700857897                     32356271            $35,272.33     1703554705                      40309528            $232,272.97
 1700857907                     32379513            $47,240.03     1703554709                      40317802            $297,645.18
 1700857932                     32436289            $57,264.31     1703554711                      40318438            $277,058.35
 1700857941                     32479198            $74,469.64     1703554722                      40342289            $388,174.63
 1700857943                     32489080           $196,312.67     1703554731                      45542990            $416,347.75
 1700857946                     32490849            $69,567.39     1703554742                      45645082             $34,364.94
 1700857987                   118628056            $156,884.94     1703554745                      45664349            $363,057.33
 1701017829                     32453060           $187,243.12     1703554747                      45671294            $300,058.22
 1701017842                     32507733           $170,269.13     1703554750                      45692373            $116,220.62
 1701017855                     32087553            $85,893.93     1703554752                      45709821            $153,062.07
 1701018019                     32182388           $183,374.31     1703554759                      45729589             $93,056.87
 1701018021                     32186702           $113,579.94     1703554770                      45775608            $255,573.63
 1701018050                     32294050           $137,180.41     1703554771                      45777976            $169,519.71
 1701018056                     32305401           $166,993.42     1703554774                      45793239            $162,893.37
 1701018076                     32357915           $144,314.20     1703554780                      45843794            $241,742.53



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701018081                     32362261           $199,789.62     1703554814                      40050049            $151,347.88
 1701018101                     32392615           $109,162.21     1703554815                      40054652            $164,554.73
 1701018128                     32417289           $139,462.72     1703554822                      40082950            $300,177.71
 1701018153                     32440430           $171,362.55     1703554825                      40091993             $64,339.21
 1701018220                     32481988           $279,636.47     1703554848                      40146656            $325,439.74
 1701018236                     32487316           $129,721.94     1703554855                      40156077            $298,732.54
 1701018271                     32500464           $124,271.86     1703554861                      40160707             $47,249.95
 1701018279                     32502072           $272,990.81     1703554864                      40168205            $150,915.20
 1701018302                     32508293            $43,028.01     1703554865                      40168775             $56,894.19
 1701018319                     32513863           $164,314.71     1703554900                      40196438            $160,222.94
 1701018388                     32529232           $292,579.27     1703554916                      40208209            $108,823.38
 1701018391                     32529927           $117,901.00     1703554927                      40214611            $262,766.82
 1701018456                     32538993           $307,181.49     1703554948                      40226383             $43,951.28
 1701018488                     32542789            $42,507.05     1703554954                      40231045            $321,627.86
 1701018505                     32546731           $237,754.80     1703554955                      40231623            $346,255.31
 1701018544                     32552226           $248,797.38     1703554965                      40239360            $225,705.47
 1701018563                     32558538           $256,173.03     1703554983                      40249575            $230,956.93
 1701018577                     32561847           $132,770.43     1703554998                      40263451            $119,478.79
 1701018579                     32561953           $115,796.28     1703555003                      40270449            $234,630.80
 1701018603                     32564510           $189,032.17     1703555031                      40301376            $244,700.11
 1701018609                     32564965           $117,555.93     1703555041                      40305062            $218,260.89
 1701018614                     32566093           $203,244.99     1703555054                      40317703            $103,322.58
 1701018615                     32566101            $83,963.28     1703555067                      40331662            $371,079.47
 1701018653                     32571580           $251,341.15     1703555073                      40341612            $398,209.62
 1701018667                     32574311            $93,222.42     1703555114                      45623006            $128,980.60
 1701018727                     32583148           $140,257.62     1703555116                      45641503             $76,531.92
 1701018729                     32583163            $39,974.81     1703555118                      45649126            $118,012.78
 1701018730                     32583171           $260,376.65     1703555139                      45745627            $279,720.67
 1701018738                     32584245           $118,247.34     1703555140                      45746070            $225,197.30
 1701018753                     32585978           $124,788.03     1703555161                      45801057            $221,472.33
 1701018755                     32586265           $399,483.74     1703555178                      45838091            $119,436.08
 1701018799                     32595472           $173,214.10     1703555189                      45871308             $31,652.05
 1701018831                     32601684           $106,337.82     1703555195                      45889854            $346,353.79
 1701018836                     32603375           $141,223.16     1703555204                      45926615            $218,805.71
 1701018846                     32604530           $146,287.70     1703555217                    124012253              $90,813.25



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701018855                     32606717           $117,946.56     1703555221                      33607912            $227,877.91
 1701018888                     32616260           $135,025.18     1703555255                      40156721            $250,284.66
 1701018889                     32616419           $235,979.49     1703555259                      40165177             $80,371.40
 1701018954                     32628471            $53,398.25     1703555261                      40165359            $164,649.23
 1701018955                     32628554           $266,749.49     1703555262                      40166506            $127,213.98
 1701018968                     32633026           $115,447.39     1703555272                      40174054            $272,178.68
 1701019012                     32639759           $233,559.49     1703555280                      40183451            $409,267.38
 1701019070                     32656225           $242,324.95     1703555287                      40191462            $217,884.32
 1701019087                     32660706           $177,717.87     1703555341                      40226284            $128,897.22
 1701019155                     37680261           $354,827.80     1703555343                      40227001            $260,047.32
 1701019174                     37739117           $218,864.31     1703555352                      40237430            $203,160.05
 1701019193                     37762358           $170,863.37     1703555359                      40239386            $225,497.23
 1701019222                     37809530            $43,393.07     1703555364                      40239683            $160,463.53
 1701019236                     37841590           $105,405.41     1703555373                      40245086            $195,417.44
 1701019256                     37861234           $180,717.03     1703555374                      40245771            $154,736.18
 1701019259                     37865458           $220,329.31     1703555378                      40246548            $193,523.70
 1701019297                     37906930           $185,054.84     1703555380                      40247488            $169,795.11
 1701019300                     37909124           $250,694.21     1703555390                      40253486            $310,530.56
 1701019310                     37921665            $60,851.11     1703555395                      40255986            $152,581.53
 1701019311                     37923315            $63,075.04     1703555407                      40266611            $351,739.56
 1701019326                     37937224           $144,943.53     1703555412                      40269235            $286,595.63
 1701019328                     37937810           $143,037.51     1703555421                      40276479            $252,105.72
 1701019353                     37968575           $168,894.43     1703555424                      40280059            $265,381.97
 1701019381                     32128944           $197,618.21     1703555426                      40282584            $151,550.61
 1701019425                     32440364           $254,485.40     1703555429                      40286809            $193,267.70
 1701019483                     32516767           $421,569.63     1703555444                      40298275            $278,700.26
 1701019522                     32541138           $176,298.86     1703555448                      40301723            $125,503.67
 1701019561                     32565731           $281,319.33     1703555457                      40304818            $397,881.02
 1701019573                     32569782           $185,418.49     1703555465                      40307993            $416,917.73
 1701019617                     32594129           $215,393.26     1703555527                      45614286            $224,246.14
 1701019646                     32616427           $253,139.80     1703555537                      45646809            $217,985.87
 1701019655                     32618878           $227,370.37     1703555540                      45651692            $254,204.98
 1701019660                     32620429           $152,371.57     1703555543                      45668043            $175,606.13
 1701019673                     32635336           $139,807.82     1703555549                      45675592            $299,750.53
 1701019682                     32643504           $233,288.40     1703555561                      45715547            $276,030.28



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701019692                     32655698           $203,614.95     1703555564                      45722881            $228,969.24
 1701019700                     32660730           $273,752.25     1703555565                      45723509            $225,935.10
 1701019740                     37763877            $36,625.12     1703555579                      45756681            $213,532.86
 1701019821                     32370074           $386,635.97     1703555589                      45785110            $210,960.25
 1701019840                     32453698           $128,873.67     1703555592                      45799038            $146,514.41
 1701019851                     32483299            $78,537.32     1703555608                      45880986            $177,443.70
 1701019862                     32500498           $244,320.10     1703555623                      45920030            $180,681.76
 1701019877                     32521544           $118,770.89     1703555636                    124012220             $178,642.62
 1701019885                     32531238           $216,667.31     1703555647                      33610213             $88,390.92
 1701019896                     32546319           $181,543.65     1703555650                      33705633            $364,846.60
 1701019900                     32548067           $127,584.60     1703555651                      33710658             $88,785.49
 1701019980                     36195105           $244,345.47     1703555653                      33776113            $178,417.52
 1701019985                     37563020            $93,708.54     1703555678                      40150260            $510,509.80
 1701019988                     37714557            $83,179.24     1703555684                      40159741            $146,575.30
 1701019995                     37792595           $249,573.28     1703555687                      40160350            $303,183.94
 1701019996                     37793627            $55,145.40     1703555691                      40166498            $238,913.28
 1701020057                     32354896           $178,239.72     1703555695                      40173171            $244,107.16
 1701020063                     32380149           $141,380.59     1703555703                      40174096            $106,534.94
 1701020079                     32422024           $244,394.57     1703555722                      40191553            $204,989.85
 1701020104                     32454191           $342,416.35     1703555723                      40191637            $248,223.41
 1701020122                     32475238           $189,310.40     1703555729                      40195471            $178,075.62
 1701020125                     32476202           $241,922.64     1703555734                      40197923            $260,683.16
 1701020135                     32484222           $132,643.67     1703555744                      40201634            $192,175.51
 1701020165                     32502130           $153,758.53     1703555752                      40208522            $228,766.83
 1701020218                     32522492           $162,267.24     1703555759                      40212490            $233,504.29
 1701020223                     32523763           $199,648.59     1703555767                      40218422            $187,616.98
 1701020230                     32526394           $171,251.58     1703555774                      40223562            $187,857.72
 1701020249                     32532731           $128,786.32     1703555799                      40239618            $264,297.30
 1701020259                     32537672           $246,240.83     1703555803                      40241416            $163,864.24
 1701020321                     32560401           $220,750.90     1703555810                      40246555            $281,527.56
 1701020331                     32562878           $165,431.72     1703555836                      40263824            $247,384.06
 1701020348                     32568552           $167,511.84     1703555837                      40265969            $184,360.27
 1701020371                     32575474           $209,140.84     1703555864                      40287567            $138,569.81
 1701020405                     32583528           $243,378.73     1703555865                      40287575            $315,686.83
 1701020418                     32584765           $185,671.41     1703555868                      40288177            $229,803.64



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701020457                     32599151           $174,451.53     1703555871                      40288938            $291,854.57
 1701020479                     32616070           $144,819.69     1703555875                      40294423             $59,112.03
 1701020525                     32637308           $233,958.72     1703555897                      40308413            $157,205.72
 1701020546                     32652026           $196,124.77     1703555899                      40309031            $189,658.82
 1701020561                     36033413           $164,449.26     1703555908                      40330854            $164,158.59
 1701020569                     37264207           $136,324.32     1703555910                      40331613            $187,946.58
 1701020578                     37505278           $111,906.04     1703555928                      45571759            $206,406.88
 1701020582                     37522323           $169,195.08     1703555934                      45600822            $213,660.27
 1701020609                     37641875           $150,310.00     1703555964                      45689429            $183,299.31
 1701020625                     37661642           $119,644.18     1703555974                      45710415            $103,336.71
 1701020629                     37673894           $144,799.17     1703555982                      45737798            $283,571.96
 1701020638                     37689320           $140,763.03     1703555983                      45737970            $301,853.93
 1701020651                     37709284           $153,568.78     1703555987                      45749595            $157,671.66
 1701020662                     37733136           $159,842.30     1703555996                      45772324            $189,043.96
 1701020728                     37820248            $81,501.30     1703556013                      45832144            $264,422.24
 1701020743                     37843695           $269,312.04     1703556017                      45852340            $266,119.87
 1701020777                     37880283           $196,664.93     1703556020                      45865003            $395,257.43
 1701020844                     37976396           $206,206.32     1703556028                      45894672            $166,011.08
 1701020851                     38007795           $126,578.81     1703556080                      45699154             $84,600.80
 1701020877                     32317059           $140,505.98     1703556088                      45921863            $192,584.80
 1701020895                     32377053            $63,238.58     1703556089                      45977428            $126,576.14
 1701020906                     32411035           $181,091.00     1703707363                    123663460             $120,546.71
 1701020994                     32501405           $154,847.12     1703707726                    123693392             $164,086.20
 1701020995                     32501470           $184,351.55     1703707747                    123695025              $48,415.93
 1701021006                     32506891           $124,947.68     1703708840                    123692857              $87,132.97
 1701021012                     32507899           $225,378.10     1703708867                    123696486             $204,998.75
 1701021038                     32512725           $217,919.28     1703708923                    123726432              $77,736.06
 1701021054                     32516379           $220,654.34     1703708932                    123735243              $96,852.00
 1701021109                     32528432            $88,009.09     1703709432                    123694754             $103,793.10
 1701021124                     32532459           $205,600.21     1703709500                    123736613              $79,537.54
 1701021150                     32541161            $97,877.14     1703709750                    123695058              $91,393.39
 1701021152                     32541435            $89,735.08     1703710932                    123705030              $52,538.48
 1701021186                     32551103           $169,534.22     1703773278                      40308512            $187,956.20
 1701021251                     32575854           $220,346.12     1703773282                      46204954             $84,940.57
 1701021264                     32577066            $83,073.66     1703773283                      40472367            $131,371.53



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701021271                     32581886           $150,049.22     1703773284                      40442469            $226,758.53
 1701021274                     32583262           $200,064.75     1703773363                      40212508            $341,428.91
 1701021299                     32587610           $363,826.00     1703773365                      40298648            $196,008.29
 1701021321                     32596751           $112,448.78     1703773366                      45681087            $112,790.30
 1701021357                     32608457           $232,278.92     1703773624                      40317000             $69,706.69
 1701021371                     32616898            $89,386.36     1703773626                      40329674            $248,018.86
 1701021380                     32618498           $227,423.69     1703773630                      40362501            $219,514.81
 1701021391                     32626780           $213,707.40     1703773633                      40370694            $140,034.25
 1701021414                     32633349           $174,142.09     1703773636                      40390288            $244,054.66
 1701021437                     32639981           $270,380.62     1703773639                      40412025            $401,295.68
 1701021440                     32640039           $200,859.69     1703773640                      40422750            $162,969.34
 1701021448                     32641839           $221,281.87     1703773642                      40455289            $323,412.85
 1701021466                     32651945           $211,003.33     1703773998                      45804564             $31,334.14
 1701021493                     36985620           $151,498.62     1703774432                      45650371            $147,819.66
 1701021504                     37398153            $20,137.62     1703774477                      45839594            $206,568.65
 1701021523                     37554250            $80,020.91     1703774490                      45823002            $332,618.01
 1701021545                     37655735            $81,866.81     1703774609                      46013611            $160,618.95
 1701021559                     37688132           $252,129.16     1703774627                    124161027             $141,020.42
 1701021570                     37706355           $212,714.04     1703774650                      40359598            $240,164.00
 1701021602                     37763133           $134,985.84     1703774693                      40281198            $227,738.00
 1701021608                     37775921           $106,324.34     1703774774                      40397697            $137,261.82
 1701021656                     37827870            $72,860.55     1703774782                      40403339            $164,181.88
 1701021666                     37841335           $214,167.93     1703774788                      40447088            $120,767.29
 1701021673                     37846045           $144,878.70     1703774803                    123214991             $109,403.78
 1701021678                     37850211           $162,519.89     1703774807                    124108572             $155,713.62
 1701021715                     37898855           $312,029.69     1703774826                    124108994             $217,476.01
 1701021787                     32313199           $102,576.73     1703774831                    124109299             $112,966.43
 1701021794                     32346009            $56,901.72     1703774834                    124108275              $97,115.45
 1701021804                     32384836           $199,280.76     1703774851                    123815730             $164,711.53
 1701021806                     32387508           $263,522.40     1703774861                    123816365             $214,893.90
 1701021808                     32400079            $36,103.87     1703774866                    124108762             $202,258.85
 1701021823                     32452906           $237,176.31     1703775144                   3002106056             $201,142.24
 1701021832                     32474744            $85,725.41     1703775329                    150943108             $266,177.48
 1701021842                     32487928           $165,132.34     1703775392                    156646051             $148,182.33
 1701021863                     32506776            $98,997.17     1703775403                    157603085             $253,932.54



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701021878                     32516247           $141,552.45     1703781401                      45812773             $77,000.31
 1701021897                     32526154           $365,478.27     1703781406                      40317869            $152,493.70
 1701021925                     32541690           $261,550.85     1703781425                      33632837            $121,177.21
 1701021928                     32542284           $140,938.68     1703781458                      40258949             $76,486.67
 1701021929                     32542888           $257,194.26     1703781459                      40277204            $157,794.63
 1701021968                     32571127           $146,047.23     1703781461                      40300535            $262,565.78
 1701022016                     32598187           $258,765.88     1703781494                      40209538            $126,078.19
 1701022021                     32602047           $270,072.57     1703781533                      40395998            $208,936.43
 1701022027                     32605800            $80,596.04     1703781536                      40409328            $182,264.76
 1701022030                     32607228           $253,973.54     1703781547                      45997384            $156,406.80
 1701022031                     32607541           $148,466.49     1703781599                      40175184             $25,459.72
 1701022046                     32617441           $196,533.32     1703781652                      40339723             $74,234.24
 1701022051                     32618803           $226,130.01     1703781670                      45894433            $397,470.11
 1701022079                     32652133           $214,317.10     1703781715                      40217556             $80,818.14
 1701022099                     37604188            $91,522.71     1703781732                      40331951            $229,252.12
 1701022122                     37688058           $109,113.79     1703781788                      40265126             $53,979.49
 1701022132                     37719838           $189,532.45     1703781790                      40291445             $24,596.41
 1701022216                     37918331           $249,794.02     1703781804                      40395816            $236,712.12
 1701022247                     32330094           $224,365.24     1703781817                      40155491            $221,841.03
 1701022251                     32355299           $190,667.34     1703781849                      45747730            $102,950.25
 1701022253                     32363707           $113,796.06     1703781853                      40172595            $231,058.62
 1701022277                     32502684            $53,127.21     1703781918                      40305575             $80,064.44
 1701022281                     32507238           $262,254.94     1703781935                      40353518            $153,829.47
 1701022282                     32507931           $151,412.77     1703781940                      40362089            $117,820.94
 1701022302                     32532343           $223,899.89     1703781969                      40431637            $442,578.91
 1701022314                     32541880           $153,491.35     1703781972                      40438053            $299,464.96
 1701022321                     32559627           $106,651.61     1703781976                      40448276            $235,068.99
 1701022354                     32592842           $287,567.58     1703781986                      45887338            $197,788.97
 1701022363                     32605495           $370,014.57     1703781991                      46075438            $366,854.93
 1701022380                     32638694            $81,394.45     1703782010                      45580016            $205,113.21
 1701022416                     37738739            $39,598.31     1703782011                      45750379            $310,862.06
 1701022421                     37772498           $104,955.80     1703782015                      40175150             $32,695.81
 1701022430                     37809118           $132,027.28     1703782035                      46036380            $368,730.95
 1701022431                     37811585           $165,455.07     1703782044                      45945888            $161,707.23
 1701022439                     37827029            $76,427.73     1703782057                      45765955            $191,708.06



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701022442                     37835840            $96,053.69     1703782061                      46075479            $115,286.47
 1701022454                     37883071            $87,829.61     1703782074                      40217135            $223,063.89
 1701022459                     37892858           $181,492.38     1703782085                      40435968            $123,021.86
 1701022461                     37918034           $223,758.58     1703782090                      40238479            $131,784.00
 1701022485                     32183634           $259,145.06     1703782096                      40277519            $132,416.69
 1701022533                     32431561           $116,979.62     1703782105                      40234635            $197,336.29
 1701022559                     32506669           $108,674.32     1703782109                      40307266            $118,149.86
 1701022591                     32528358           $257,840.35     1703782111                      45481371            $278,644.76
 1701022731                     32639692           $130,189.09     1703782116                      45839610             $88,095.94
 1701022800                     37800893           $161,257.06     1703782118                      45938081            $425,496.66
 1701022821                     37848264           $127,727.04     1703782119                      45939253            $190,433.46
 1701022845                     37914363           $284,864.45     1703782151                      40361123             $85,655.33
 1701022847                     37916277           $267,042.80     1703782162                      40274177            $188,540.72
 1701022883                     32291064            $93,834.81     1703782190                      40338758            $214,260.42
 1701022887                     32332421           $152,204.22     1703782210                      40326761             $28,796.25
 1701022922                     32487357           $153,698.49     1703782214                      40336257            $202,358.96
 1701022970                     32527442           $172,076.15     1703782217                      40362030            $287,928.83
 1701022980                     32532442           $150,680.62     1703782245                      40317059            $228,111.72
 1701023007                     32548687            $57,439.57     1703782249                      40356131            $102,120.72
 1701023032                     32575409           $157,825.68     1703782253                      40401606             $32,387.76
 1701023053                     32584468           $159,944.05     1703782260                      40192775            $229,074.78
 1701023065                     32600322           $178,472.61     1703782264                      40330409            $107,644.53
 1701023101                     32633281           $179,481.56     1703782265                      40355562            $286,758.58
 1701023104                     32634404           $218,815.16     1703782271                      40415432            $211,490.47
 1701023151                     37671419           $125,987.19     1703782284                      40394256            $187,151.65
 1701023182                     37776028           $105,089.94     1703782297                      40277220             $83,488.71
 1701023199                     37805348            $94,665.96     1703782302                      40389447            $159,463.03
 1701023220                     37868627           $104,274.46     1703782327                      40367542            $135,508.87
 1701023235                     37902160           $361,163.31     1703782330                      45999695             $73,889.83
 1701023244                     37939063           $236,397.81     1703782397                      45576535            $115,697.84
 1701041294                     32565699           $179,598.39     1703782403                      40370439            $292,159.03
 1701041302                     32568511            $59,012.54     1703782405                      40401739            $250,859.25
 1701041449                     36642411           $168,660.67     1703782407                      40441651            $256,987.32
 1701041458                     37473659           $177,203.47     1703782409                      40447591            $101,651.55
 1701041499                     37805918           $178,277.11     1703782415                      46209441             $68,246.47



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701041963                     32480535           $311,044.47     1703782422                      45843604             $68,498.08
 1701041985                     32500233           $277,081.25     1703782423                      45844842            $128,701.99
 1701041992                     32503815           $315,322.87     1703782428                      45739869            $112,165.00
 1701041994                     32504383            $53,540.86     1703782505                      45852738             $99,110.99
 1701042050                     32527798            $73,437.20     1703782519                      46186086            $197,107.30
 1701042053                     32528069           $212,754.45     1703782548                      40310765            $179,692.44
 1701042189                     32588113           $138,520.50     1703782562                      40314718            $183,770.84
 1701042243                     32630931           $105,135.32     1703782577                      46103073            $232,933.82
 1701042255                     32637407           $244,043.14     1703782594                      40248932             $85,883.66
 1701042276                     32648727           $138,357.57     1703782608                      45905924             $60,852.80
 1701042288                     32655953           $205,823.89     1703782613                      40340044             $68,808.41
 1701042294                     32661860            $51,967.75     1703782614                      40357709            $254,209.89
 1701042329                     37661162           $130,176.38     1703782620                      45952462             $88,908.87
 1701042482                     32434755            $74,669.07     1703782621                      45957156            $173,904.40
 1701042595                     32578924            $60,030.24     1703782623                      46031563            $112,451.95
 1701042773                     32376956            $39,969.29     1703782625                      46058061            $189,471.73
 1701042998                     32569261            $50,623.27     1703782651                      40018400            $137,852.08
 1701043065                     37688207           $123,005.82     1703782725                      40296717             $91,359.60
 1701043111                     32380230           $174,580.58     1703782732                      40389413             $38,575.91
 1701043114                     32414930           $359,889.71     1703782818                      40345951            $178,124.60
 1701043165                     32654527           $306,157.46     1703782830                      40447906             $65,528.56
 1701043204                     32537086            $91,958.72     1703782836                      33616079            $103,101.59
 1701043221                     32619025            $81,293.74     1703782840                      40224404            $185,626.29
 1701043315                     32566358            $54,173.08     1703782859                      46197943             $62,103.65
 1701043333                     37342086            $98,021.83     1703782869                      40394801            $261,677.58
 1701043364                     32084105           $300,260.91     1703782880                      40237083             $54,980.75
 1701043428                     32394108            $84,003.04     1703782885                      40340754             $90,681.95
 1701043430                     32400921           $154,159.36     1703782887                      40371759            $199,420.21
 1701043461                     32447641           $162,925.28     1703782892                      40441693             $82,008.51
 1701043520                     32510299           $182,502.57     1703782893                      40447526            $214,516.68
 1701043626                     32551723           $175,588.63     1703782899                      46002028            $156,098.40
 1701043945                     32504268           $225,809.25     1703782910                      40426579            $113,557.79
 1701043983                     32528366           $111,306.28     1703782920                      40369357            $103,722.19
 1701044022                     32549750           $331,466.68     1703782926                      40308678            $116,587.65
 1701044091                     32599623            $57,680.73     1703782944                      40388944             $68,031.36



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701044095                     32603169            $90,295.14     1703782977                      46090403            $161,360.44
 1701044200                     37710779           $279,395.49     1703782978                      40312365            $103,932.54
 1701214293                     32390320           $211,174.01     1703782985                      45671591            $184,989.75
 1701214452                     32637027           $249,547.80     1703783001                      45907383            $160,317.46
 1701215349                     32688384           $222,816.49     1703783014                      40315012            $141,831.71
 1701215389                     32699431           $169,828.90     1703783022                      45995164            $124,576.07
 1701215397                     32700445            $62,609.36     1703783025                      45230828            $160,255.88
 1701215658                     38114153            $97,352.09     1703783037                      45960861            $125,183.09
 1701215809                     32741928            $63,631.43     1703783046                      46085635            $301,991.36
 1701216581                     32695553           $162,227.28     1703783062                      45922457            $294,722.21
 1701216638                     37994134           $145,007.74     1703783063                      40344202            $236,032.17
 1701216814                     32697682            $27,986.98     1703783064                      40250375            $231,868.73
 1701216818                     32702698            $80,727.84     1703783067                      40339632             $78,135.20
 1701216849                     32766644            $48,244.00     1703783092                      40184020            $108,425.21
 1701216880                     32658080           $137,242.92     1703783099                      40355034            $255,941.49
 1701216951                     32525388           $131,095.16     1703783104                      40451882            $179,820.32
 1701217047                     32680282            $88,934.13     1703783106                      40331233            $205,072.47
 1701217080                     32694978            $99,358.85     1703783108                      40423923            $295,704.32
 1701217280                     38062014           $222,740.62     1703783109                      33228727            $138,557.03
 1701217303                     32622987           $159,176.91     1703783110                      40355026             $64,111.10
 1701217332                     32586778           $134,302.36     1703783111                      40362014            $114,080.00
 1701217448                     32728222           $351,389.48     1703797251                      40323057            $220,289.80
 1701217455                     32731994            $61,829.79     1703813071                      33696360             $94,069.03
 1701217566                     32492035            $27,492.29     1703813075                      33804014             $80,210.23
 1701217602                     32703134           $140,827.00     1703813161                      40401788             $37,220.86
 1701217611                     32721771           $133,787.43     1703813210                      45920444            $367,867.40
 1701217616                     32728727           $188,698.32     1703813213                      45933793            $191,153.50
 1701225478                     32322059            $47,148.29     1703813225                      46074654            $189,375.13
 1701225502                     32516783           $135,116.41     1703813232                      46151684            $245,918.29
 1701225525                     32633216           $150,770.28     1703813388                      40282782            $203,987.64
 1701225529                     32642050            $64,649.47     1703813389                      40290652            $250,262.61
 1701225545                     32663346            $49,818.48     1703813418                      40394496            $304,158.92
 1701225550                     32666141           $103,171.61     1703813425                      40406910            $229,199.71
 1701225551                     32666471           $128,062.69     1703813428                      40420127            $218,296.67
 1701225593                     32684953            $94,017.39     1703813438                      40454142             $64,442.82



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701225608                     32690901            $63,665.09     1703813493                    123815995             $252,218.73
 1701225610                     32691164            $75,754.23     1703813496                    124174863             $129,554.58
 1701225613                     32691271           $144,810.74     1703813559                      40394439             $66,907.44
 1701225641                     32705220            $48,706.36     1703813569                      40426637             $84,582.58
 1701225650                     32708828            $47,697.45     1703813609                      40222143             $75,329.14
 1701225681                     32721896           $149,403.32     1703813615                      40342545            $125,705.95
 1701225699                     32728511           $138,704.37     1703813618                      40391096            $175,229.64
 1701225700                     32728768            $46,413.52     1703813710                      40366841            $197,269.56
 1701225711                     32737579            $88,875.25     1703813722                      46053583            $278,988.16
 1701225713                     32737645           $164,932.17     1703813745                    123815276             $156,437.75
 1701225717                     32739518            $84,216.39     1703813748                    123815946             $271,142.77
 1701225721                     32741522            $71,372.40     1703813759                      45418373            $108,141.06
 1701225744                     32751083           $137,414.90     1703813777                      40328189            $349,118.80
 1701225754                     32754145           $145,979.36     1703813793                      40441917             $71,880.47
 1701225763                     32758500            $82,440.67     1703813795                      40454779            $433,973.32
 1701225769                     32760514           $113,111.55     1703813807                    123815367              $81,287.40
 1701225781                     32765539           $118,953.08     1704030575                      40197709            $118,899.89
 1701225782                     32765786           $114,198.06     1704030587                      45390655            $117,181.62
 1701225796                     32774044           $117,594.95     1704030610                      40527475             $94,735.85
 1701225813                     37492931            $28,545.63     1704030616                      40526642             $80,248.95
 1701225820                     37777059           $140,126.70     1704030654                      40171613             $76,651.42
 1701225827                     37888468            $40,342.33     1704030671                      40463200             $54,270.86
 1701225830                     37909496           $172,452.27     1704030672                      40463762            $108,949.92
 1701225838                     37971298           $160,642.13     1704030702                      45873684            $117,386.57
 1701225839                     37980794           $116,991.14     1704030716                      40455248            $161,506.03
 1701225841                     37981107           $113,222.00     1704030736                      46600649            $208,858.24
 1701225842                     37982121           $109,243.91     1704030737                      40202988             $99,425.72
 1701225850                     38020590            $88,851.25     1704030746                      40576613            $526,873.84
 1701225862                     38063103            $77,622.35     1704030748                      40582504            $312,400.99
 1701225872                     38105607           $158,339.84     1704030754                      40448219            $233,060.09
 1701225876                     38164109            $85,438.50     1704030762                      40609380            $339,014.23
 1701225890                     32261489           $167,724.26     1704030767                      40455735            $286,085.70
 1701225899                     32506255           $271,482.08     1704030780                      40594228             $71,766.84
 1701225908                     32620577           $146,189.54     1704030825                      46020707            $359,705.67
 1701225937                     32680928           $165,950.73     1704030902                      46424784            $106,088.57



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701225944                     32686685           $160,596.89     1704030926                      46218517             $77,867.15
 1701225947                     32690497            $63,849.51     1704030950                      40366395            $424,827.36
 1701225948                     32691016           $225,965.72     1704030962                      40470254            $382,402.06
 1701225991                     32730061           $290,368.26     1704030974                      45863719            $102,372.64
 1701226004                     32740607           $185,807.17     1704030998                      45991403            $293,468.43
 1701226007                     32741324           $142,724.08     1704031098                      33764721            $160,339.04
 1701226021                     32760522           $218,127.59     1704031099                      40043481             $74,582.12
 1701226031                     32770380           $296,794.27     1704031112                      40470205             $71,577.21
 1701226034                     32774630           $267,948.32     1704031157                      46263026            $161,068.62
 1701226041                     37907441           $242,379.54     1704031164                      46373395             $77,584.07
 1701226051                     38043006           $184,441.75     1704031336                      45685146            $272,079.50
 1701226055                     38066460           $157,078.95     1704031342                      45300621            $352,977.17
 1701226077                     32361289           $138,076.00     1704031359                      45783842            $143,849.88
 1701226084                     32408023           $192,437.86     1704031362                      45463940             $70,417.14
 1701226090                     32463630           $182,088.45     1704031364                      45684016            $348,659.58
 1701226117                     32580524           $374,356.18     1704031365                      45742137            $243,631.77
 1701226118                     32581217            $78,346.46     1704031375                      46102646            $129,506.31
 1701226120                     32585465           $122,412.92     1704031389                      45697562             $75,976.64
 1701226125                     32601379           $149,074.82     1704031397                      40353062            $109,914.96
 1701226128                     32610750           $211,984.26     1704031419                      40562449            $308,727.35
 1701226130                     32625618            $91,657.79     1704031420                      45570165             $94,272.54
 1701226135                     32639940           $122,857.18     1704031421                      45698792            $143,236.31
 1701226140                     32648420           $121,932.47     1704031436                      45866027            $167,557.04
 1701226146                     32659708           $165,439.99     1704031451                      40255903            $286,420.09
 1701226153                     32666083           $203,688.96     1704031452                      40290777            $209,654.24
 1701226157                     32666489           $203,511.24     1704031456                      40070070            $147,952.56
 1701226164                     32671372           $169,468.61     1704031461                      40217390            $283,763.21
 1701226170                     32672610           $149,349.06     1704031463                      40469207            $125,756.80
 1701226182                     32678476           $163,368.66     1704031464                      40472334            $235,370.70
 1701226186                     32680571           $187,025.73     1704031465                      40483679            $226,740.47
 1701226187                     32680589           $106,132.92     1704031473                      40438764            $270,052.05
 1701226188                     32680597           $241,698.26     1704031476                      40175655            $162,212.84
 1701226197                     32683401           $143,039.36     1704031489                      40474090            $141,391.15
 1701226207                     32690711           $148,543.30     1704031532                      40441909             $37,503.73
 1701226214                     32694069           $112,273.92     1704031548                      40524795             $50,762.55



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701226215                     32695546           $191,317.97     1704031551                      40542243            $179,651.41
 1701226216                     32695611            $26,177.94     1704031556                      40600439            $281,897.89
 1701226223                     32699209           $301,239.33     1704031565                      40609422            $137,175.12
 1701226228                     32699688           $195,656.62     1704031650                      45727195            $162,185.44
 1701226239                     32705691           $217,166.34     1704031651                      45771847            $133,720.21
 1701226242                     32707135           $187,894.73     1704031656                      46202347            $105,559.47
 1701226244                     32707192           $211,465.66     1704031669                      46234225             $70,410.13
 1701226245                     32708117            $62,418.64     1704031670                      45489309            $134,810.70
 1701226258                     32711715           $188,776.06     1704031671                      45738671            $271,685.44
 1701226259                     32712127           $237,148.42     1704031677                      45798535            $162,545.69
 1701226272                     32719312           $226,992.15     1704031695                      40265647            $210,522.45
 1701226289                     32730079           $272,545.96     1704031696                      40481509            $238,725.08
 1701226296                     32734501           $103,771.88     1704031706                      46080362            $380,265.21
 1701226300                     32735557            $85,844.16     1704031707                      46305207            $195,220.21
 1701226307                     32736449           $205,016.30     1704031711                      46166906            $363,601.60
 1701226311                     32737942           $215,956.22     1704031714                      45726338            $298,598.25
 1701226316                     32740664           $166,362.73     1704031721                      45534880            $270,971.62
 1701226321                     32742900           $193,136.83     1704031726                      40242588            $158,231.38
 1701226333                     32750135           $143,935.12     1704031727                      45323706            $138,659.56
 1701226350                     32758971           $133,381.85     1704031744                      46192621            $289,800.52
 1701226351                     32759326           $199,441.32     1704031755                      40312605            $308,764.10
 1701226352                     32759383           $115,048.37     1704031766                      40512139            $183,060.58
 1701226357                     32762767           $286,518.67     1704031785                      33802729             $38,667.26
 1701226362                     32766032           $199,649.64     1704031787                      40090110            $208,978.16
 1701226363                     32767584            $72,885.64     1704031789                      40189292            $323,669.44
 1701226369                     32771735           $233,564.54     1704031793                      40086365            $298,046.95
 1701226371                     32772808           $133,384.20     1704031796                      33790643            $131,121.85
 1701226373                     32774853           $305,315.30     1704031804                      40139446            $285,901.56
 1701226381                     32781874           $230,447.77     1704031808                      40488082             $53,222.60
 1701226389                     37833514           $123,223.23     1704031813                      40448409            $112,605.30
 1701226392                     37882271           $141,273.46     1704031814                      40476715             $62,726.98
 1701226394                     37903929           $107,716.17     1704032722                      40171258            $123,627.29
 1701226395                     37922168           $109,626.93     1704032732                      40397887            $116,691.50
 1701226416                     38029161           $340,915.19     1704032733                      40440190            $211,069.11
 1701226425                     38078747           $173,483.84     1704033194                      40264327            $265,408.77



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701226465                     32544785           $209,657.93     1704033195                      40405011            $129,790.04
 1701226470                     32584658            $62,751.66     1704033197                      40422727            $192,061.24
 1701226478                     32589533           $341,280.54     1704033199                      40455263            $251,555.63
 1701226479                     32589590            $64,436.34     1704033203                      40477085            $300,507.61
 1701226498                     32648867           $145,165.58     1704040776                      40142648             $67,738.26
 1701226501                     32650699           $111,475.34     1704040789                      40230484             $81,350.72
 1701226514                     32660235           $113,798.19     1704040796                      40285074            $226,238.00
 1701226516                     32662819           $147,313.26     1704040803                      40343865            $108,854.24
 1701226517                     32663635           $465,194.18     1704040810                      40424954             $87,756.52
 1701226518                     32664039           $291,446.46     1704040843                    123455685              $95,153.60
 1701226521                     32665986           $189,875.79     1704040844                      33625138            $125,661.27
 1701226538                     32678823            $68,346.70     1704040853                      40136806             $96,569.13
 1701226545                     32681470           $168,192.39     1704040860                      40191082            $205,901.59
 1701226546                     32681561           $197,355.00     1704040886                      40346934            $101,153.94
 1701226557                     32683476           $211,272.48     1704040893                      40400319             $59,487.36
 1701226560                     32684920           $204,803.78     1704040906                      40475774            $185,571.94
 1701226571                     32690489           $174,980.53     1704040912                      40483638            $154,338.08
 1701226577                     32691578           $167,779.87     1704040924                      45369907            $270,830.63
 1701226580                     32692618           $240,186.81     1704040927                      45386521            $293,150.21
 1701226581                     32692840           $264,653.94     1704040931                      45459047            $182,383.44
 1701226584                     32693806           $188,774.20     1704040935                      45553682            $166,789.38
 1701226585                     32696551           $151,834.67     1704040942                      45688157            $252,099.51
 1701226597                     32702433           $112,510.05     1704040949                      45800612             $85,172.51
 1701226604                     32703688           $222,047.64     1704040953                      45867322            $299,234.47
 1701226605                     32703811           $353,487.54     1704040960                      46091153            $133,256.14
 1701226607                     32704314           $195,762.68     1704040967                      46385670            $113,739.96
 1701226611                     32705733           $291,347.52     1704040993                      40138299            $121,548.92
 1701226636                     32717100           $287,835.38     1704040998                      40230831            $110,502.09
 1701226638                     32718553           $166,105.04     1704041002                      40320616            $163,386.43
 1701226641                     32721060           $348,208.03     1704041005                      40335457            $135,230.77
 1701226651                     32730103           $213,628.52     1704041013                      40390064            $337,473.08
 1701226654                     32733453           $164,426.73     1704041031                      40455644            $280,202.60
 1701226659                     32737405            $98,199.73     1704041066                      40529000            $101,031.02
 1701226666                     32738460           $213,214.10     1704041070                      40532962             $37,791.46
 1701226686                     32745739           $163,856.76     1704041087                      40594186            $144,851.86



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701226691                     32749616           $160,274.53     1704041097                      45344538             $89,097.41
 1701226698                     32752032           $146,999.57     1704041098                      45551801             $75,246.34
 1701226700                     32752743           $191,020.65     1704041100                      45730447             $77,377.74
 1701226710                     32760167           $243,396.27     1704041108                      46246005            $130,820.15
 1701226714                     32763187           $265,622.77     1704041115                      46459251            $159,995.00
 1701226730                     32770620           $302,904.24     1704041117                      46517652            $235,741.80
 1701226736                     36597193           $231,505.74     1704041153                    124398843              $81,419.86
 1701226742                     37650777           $297,246.20     1704041158                      40182503             $91,249.29
 1701226747                     37804424            $95,026.87     1704041188                      40470080             $96,158.72
 1701226748                     37810926           $152,700.79     1704041190                      40470148            $173,784.72
 1701226751                     37846805           $217,741.36     1704041191                      40470197            $159,198.74
 1701226754                     37876067           $176,142.60     1704041251                      40182602            $138,155.62
 1701226769                     38001038           $248,427.03     1704041262                      45628336            $143,879.28
 1701226771                     38012845            $80,986.15     1704041266                      45673209            $208,756.01
 1701226779                     38027835           $232,395.39     1704041270                      45872199            $134,387.86
 1701226816                     32425613           $210,660.07     1704041275                      46129847            $210,174.61
 1701226821                     32487555           $166,988.65     1704041276                      46159893            $270,081.57
 1701226841                     32596298           $181,099.47     1704041280                      39101084             $66,993.82
 1701226854                     32615866            $86,608.73     1704041286                      45486511            $167,671.91
 1701226859                     32641219           $222,847.75     1704041289                      45588977             $84,011.06
 1701226884                     32666588           $172,572.64     1704041292                      45775822            $246,870.90
 1701226903                     32674921           $268,762.28     1704041296                      46251278            $327,950.68
 1701226910                     32676546           $169,205.81     1704276483                      46120762            $135,748.26
 1701226917                     32679219            $55,508.85     1704276504                      46593380            $206,164.60
 1701226920                     32680605            $56,684.87     1704276517                      46506044            $158,370.68
 1701226921                     32681306           $158,869.16     1704276519                      46518411             $98,569.64
 1701226923                     32681447           $296,832.38     1704276542                      45993359             $49,605.40
 1701226926                     32683518           $275,101.24     1704276547                      46437778             $94,952.90
 1701226927                     32683625           $148,299.93     1704276558                      46441945            $190,268.99
 1701226929                     32684011           $238,373.20     1704276559                      46468328             $69,964.72
 1701226940                     32692360           $183,492.32     1704276564                      46655924             $93,634.11
 1701226946                     32694200           $235,196.16     1704276568                      46529517            $264,547.50
 1701226955                     32698003           $111,656.17     1704276572                      40030579             $74,765.43
 1701226958                     32699464           $277,057.32     1704276573                      40647174            $181,666.03
 1701226963                     32701484           $241,725.52     1704276576                      46590063            $110,985.20



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701226972                     32706285           $147,061.95     1704276577                      46685749            $324,780.50
 1701226975                     32706715           $336,874.87     1704276583                      46671277            $100,547.46
 1701226979                     32708687           $168,540.95     1704276587                      46927208            $194,940.47
 1701226982                     32710931           $366,807.47     1704276606                      46758934             $84,975.38
 1701226984                     32712044           $215,427.34     1704276623                      46644688             $99,128.22
 1701226986                     32712440           $239,668.86     1704276625                      40525784            $337,565.63
 1701226987                     32712796            $49,099.77     1704276646                      40552895            $103,989.27
 1701226994                     32714560           $157,375.34     1704276665                      46617460            $125,096.72
 1701226995                     32715401           $339,203.25     1704276669                      46745071             $51,372.75
 1701227028                     32732554           $151,650.01     1704276682                      46265922             $84,407.99
 1701227035                     32735409           $323,171.43     1704276686                      46625083            $143,963.32
 1701227071                     32750671           $151,751.69     1704276697                      46728341            $332,172.80
 1701227098                     32765083            $58,547.68     1704276702                      46840443             $39,661.28
 1701227103                     32766438           $164,297.82     1704276721                      40360570             $99,805.56
 1701227105                     32770364           $174,938.26     1704276728                      40676751             $58,404.36
 1701227120                     37424108           $174,256.41     1704276734                      40494288            $358,530.62
 1701227121                     37593514            $54,169.58     1704276750                      40452336            $131,853.77
 1701227147                     38000204           $312,702.90     1704276760                      40504664             $64,383.57
 1701227150                     38008801           $101,609.79     1704276762                      40446056            $107,539.67
 1701227152                     38029922            $62,605.83     1704276791                      40596637            $146,484.94
 1701227158                     38061784           $218,685.95     1704276826                      40447914            $133,669.11
 1701227163                     38079125            $39,831.18     1704276831                      40538571            $119,549.54
 1701227183                     32460123            $67,120.30     1704276837                      46229001            $168,300.40
 1701227201                     32626574           $385,338.85     1704276848                      46595831             $98,442.39
 1701227208                     32648230           $202,467.56     1704276861                      40630444             $37,915.41
 1701227213                     32653156           $122,318.82     1704276870                      46695664            $140,226.31
 1701227216                     32661498           $200,566.68     1704276878                      40556656             $85,150.77
 1701227229                     32671836           $265,665.74     1704276883                      46717674            $151,420.04
 1701227230                     32673311           $132,906.05     1704276890                      46855474             $77,155.47
 1701227233                     32675282           $205,325.92     1704276898                      40643041            $206,325.10
 1701227236                     32677205           $201,007.11     1704276902                      40382301             $76,299.36
 1701227257                     32695942           $109,394.10     1704276906                      40563207            $227,896.12
 1701227271                     32710493           $295,142.87     1704276917                      46084901             $79,948.06
 1701227276                     32714222           $128,545.76     1704276935                      46508602            $136,289.59
 1701227281                     32718827           $168,270.31     1704276941                      40488744            $277,985.37



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701227291                     32727463           $146,017.33     1704276955                      46359345            $164,532.77
 1701227292                     32727562           $103,973.55     1704276963                      40513236            $288,985.14
 1701227321                     32752198            $12,951.14     1704277000                      40667156             $89,225.34
 1701227327                     32755860           $101,705.68     1704277018                      46247276            $141,687.49
 1701227333                     32758583            $41,732.33     1704277029                      40683203             $89,364.06
 1701227337                     32761298            $80,408.38     1704277040                      46661757            $152,158.21
 1701227343                     32770448           $211,960.55     1704277051                      46927158             $86,541.53
 1701227347                     37243300           $138,332.22     1704277063                      40513210            $217,683.40
 1701227358                     37760311            $66,726.99     1704277082                      40585358            $298,872.73
 1701227360                     37779253            $61,077.79     1704277098                      40650251            $265,742.54
 1701227366                     37927811           $139,795.79     1704277100                      40670507            $170,028.25
 1701227368                     37942596           $244,913.31     1704277101                      40636821            $118,058.64
 1701227376                     37970712           $249,119.46     1704277109                      40236481            $133,307.55
 1701227380                     37975380            $72,895.52     1704277117                      40207466            $181,702.52
 1701227391                     38044962           $119,917.53     1704277131                      46693909            $225,513.35
 1701227399                     38063509           $137,468.62     1704277134                      46307237            $102,316.04
 1701227406                     38077780           $173,284.22     1704277138                      40413924            $193,460.12
 1701227408                     38081188            $80,534.80     1704277140                      40489726            $149,690.83
 1701227411                     38119426           $160,403.45     1704277154                      46735684            $240,451.80
 1701227412                     38126058           $277,884.93     1704277157                      40470965             $70,812.30
 1701227413                     38132247            $99,560.89     1704277166                      46720678            $259,407.33
 1701227436                     32434508           $185,278.83     1704277174                      45749942            $273,467.82
 1701227448                     32590929           $237,277.75     1704277175                      46252862            $399,675.30
 1701227455                     32635252           $164,419.94     1704277191                      46741906            $181,328.50
 1701227469                     32655771           $145,211.86     1704277194                      40465593            $223,520.00
 1701227486                     32666737           $226,566.50     1704277208                      46375564            $200,481.59
 1701227488                     32667701           $194,117.49     1704277220                      40522476            $262,765.53
 1701227489                     32671646           $227,356.06     1704277222                      46410718             $65,748.72
 1701227494                     32677353           $180,605.00     1704277223                      46431722             $54,145.36
 1701227501                     32682056           $262,575.86     1704277225                      46252755            $159,773.22
 1701227502                     32682619           $123,427.90     1704277228                      40464604            $301,719.20
 1701227504                     32683807           $263,226.23     1704277241                      40623043            $359,668.34
 1701227510                     32697096           $187,128.90     1704277244                      40175218            $186,165.22
 1701227517                     32702490           $255,499.92     1704277245                      40362626            $239,927.62
 1701227522                     32705774           $182,388.45     1704277247                      46576849            $168,801.13



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701227523                     32705899           $126,710.58     1704277248                      46628566            $448,369.63
 1701227528                     32710733           $100,415.70     1704277252                      40623753            $151,107.29
 1701227533                     32714040           $145,932.30     1704277255                      40544181            $222,600.85
 1701227537                     32719759           $160,758.09     1704277258                      40681892            $341,790.69
 1701227546                     32728123            $16,303.02     1704277267                      46752325            $275,401.82
 1701227547                     32728180            $66,406.92     1704277275                      46699716            $199,398.93
 1701227566                     32742157           $173,022.90     1704277277                      46818662            $520,557.04
 1701227568                     32746943           $189,848.22     1704277282                      40332447            $183,126.08
 1701227571                     32748618           $100,159.53     1704277285                      46727236            $209,679.30
 1701227603                     37862943            $38,708.81     1704277287                      46754255            $456,216.88
 1701227608                     37941663           $220,075.58     1704277288                      46755419            $247,520.54
 1701227615                     37956364           $206,309.10     1704277291                      46919080             $84,425.08
 1701227621                     37991759           $171,544.18     1704277312                      45997491            $121,816.98
 1701227627                     38010450           $117,481.23     1704277319                      40567232            $160,026.02
 1701227636                     38041919           $291,760.27     1704277322                      46694444            $308,422.11
 1701227639                     38052999            $34,315.74     1704277333                      46379574             $77,680.19
 1701227661                     38141081           $129,932.55     1704277352                      46543237            $302,786.94
 1701227672                     32181935             $7,766.75     1704277377                      46185344             $80,075.19
 1701227673                     32276628           $232,284.17     1704277381                      40592024            $155,096.00
 1701227686                     32472839           $218,434.53     1704277389                      46568705            $462,873.81
 1701227700                     32549636            $70,624.63     1704277391                      40367500            $251,269.29
 1701227703                     32575847           $183,648.70     1704277394                      46281184            $136,191.35
 1701227722                     32626632           $239,782.28     1704277398                      40659401            $155,052.66
 1701227745                     32665424            $41,456.93     1704277399                      46740429            $343,028.75
 1701227747                     32665630           $227,816.75     1704277404                      40686479            $367,145.14
 1701227749                     32666067           $320,009.24     1704277405                      46694329            $180,122.53
 1701227755                     32667198           $206,067.09     1704277413                      40556078            $268,012.50
 1701227771                     32678203            $64,281.56     1704277415                      40671133            $286,265.56
 1701227798                     32693988           $176,932.15     1704277417                      40499725            $124,298.02
 1701227810                     32702755           $180,984.51     1704277418                      40507923            $238,400.36
 1701227811                     32702995           $138,824.96     1704277420                      40582017             $87,128.73
 1701227821                     32709974           $199,813.65     1704277421                      40609117            $252,997.62
 1701227822                     32710246            $97,502.24     1704277422                      40614638            $153,056.33
 1701227843                     32723579           $173,307.23     1704277424                      40632374            $252,948.09
 1701227847                     32726374           $128,425.45     1704277430                      40492522            $296,883.90



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701227852                     32727323           $286,076.15     1704277438                      40587883            $187,618.48
 1701227854                     32728420           $112,863.02     1704277440                      40596918            $224,728.37
 1701227855                     32730376           $166,546.97     1704277441                      40639304            $137,523.76
 1701227863                     32735953           $154,878.45     1704277442                      40639312             $72,082.37
 1701227871                     32737199            $81,858.87     1704277447                      40671380             $45,058.84
 1701227873                     32737454           $302,969.38     1704277448                      40688202             $56,382.10
 1701227874                     32737462           $187,922.08     1704277450                    124398769             $372,165.12
 1701227878                     32742850           $256,460.00     1704277452                      40507931            $329,522.64
 1701227879                     32746323           $181,842.59     1704277453                      40536294            $272,357.30
 1701227900                     32759557           $154,541.57     1704277456                      40587909            $282,266.93
 1701227906                     32767634            $46,688.54     1704277461                      40509051             $45,113.88
 1701227908                     32770570           $209,984.32     1704277471                      40501660            $116,613.85
 1701227911                     32771040           $126,347.71     1704277474                      40624801            $176,410.63
 1701227916                     32775439           $118,476.02     1704277475                      40659807            $267,651.60
 1701227917                     32776817           $256,680.83     1704277478                      40593311            $150,362.03
 1701227936                     37836129            $59,325.61     1704277479                      40604480            $454,962.18
 1701227973                     38000824            $90,164.01     1704277480                      40614661             $35,094.20
 1701227974                     38004065           $172,297.23     1704277481                      40639296            $150,293.18
 1701227978                     38014049           $116,483.22     1704277482                      40640310            $379,722.25
 1701227985                     38025912           $216,203.91     1704277484                      40654352            $154,543.46
 1701228001                     38083820            $85,555.55     1704277487                      40504946            $190,311.45
 1701228019                     38161402           $139,055.30     1704277493                      40652976            $118,546.97
 1701228028                     32440968           $126,476.53     1704277499                      40577249            $205,769.63
 1701228040                     32522658            $97,394.83     1704277500                      40608903            $165,741.60
 1701228045                     32547911           $137,516.75     1704277505                      40460776            $238,833.13
 1701228058                     32581035           $184,042.38     1704277509                      40556821            $146,157.53
 1701228062                     32596934           $242,797.16     1704277510                      40562316            $193,738.48
 1701228066                     32605099            $35,286.84     1704277513                      40671398            $185,022.21
 1701228067                     32605347           $351,729.85     1704277516                      40511826            $155,811.50
 1701228075                     32632770           $412,723.37     1704277517                      40556748            $253,384.71
 1701228078                     32642373           $162,831.01     1704277519                      40604472            $177,334.52
 1701228084                     32648313           $241,191.12     1704277520                      40630485            $111,928.51
 1701228087                     32650400           $124,258.37     1704277521                      40420093             $79,591.36
 1701228107                     32666695           $112,919.62     1704277527                      40501637            $297,129.07
 1701228113                     32671489           $234,614.90     1704277531                      40367260            $165,247.06



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701228125                     32677155            $74,290.50     1704277535                      40334773             $90,993.27
 1701228127                     32677510           $113,090.33     1704277536                      40452559            $300,113.59
 1701228134                     32678435           $179,372.19     1704277547                      40546517            $139,317.85
 1701228140                     32679698           $228,705.10     1704277550                      40368029            $329,551.77
 1701228142                     32680738           $194,569.63     1704277551                      40605362            $285,623.08
 1701228153                     32684938            $49,220.90     1704277559                      40679706            $231,040.64
 1701228157                     32686636           $219,977.87     1704277560                      40077703            $383,596.42
 1701228161                     32690752            $64,370.12     1704277562                      40687931            $173,377.79
 1701228162                     32691099           $293,065.70     1704277563                      40615528             $97,384.07
 1701228163                     32692337           $132,263.00     1704277565                      40577009            $107,251.29
 1701228164                     32692345           $121,016.12     1704277566                      40500860            $173,950.75
 1701228170                     32696098           $152,491.60     1704277577                      40652984            $156,911.24
 1701228171                     32696338            $72,716.24     1704277578                      40491532            $133,000.86
 1701228181                     32702110           $396,434.80     1704277592                      40503674            $282,162.85
 1701228183                     32702631           $296,101.41     1704277600                      40468571            $267,062.18
 1701228193                     32706939           $180,532.05     1704277601                      40627630            $148,890.06
 1701228194                     32707473           $280,189.63     1704277604                      40505786            $231,937.04
 1701228203                     32709321           $204,828.16     1704277628                    124461617             $462,426.60
 1701228204                     32709693           $158,230.40     1704277645                    124461609             $211,318.88
 1701228205                     32709743           $283,230.44     1704277653                      40494528            $154,072.66
 1701228206                     32710220           $213,182.21     1704277654                      40637241             $48,531.37
 1701228207                     32710659           $184,113.81     1704277656                    124643560              $79,341.46
 1701228230                     32717209           $182,183.79     1704277660                      40564379            $151,766.45
 1701228231                     32718611           $101,484.43     1704277663                      40624835            $204,346.79
 1701228233                     32719254           $131,106.41     1704277666                      40614679             $55,873.14
 1701228240                     32723413           $208,345.66     1704277668                      40684367            $313,836.21
 1701228242                     32725376           $135,781.91     1704277676                      40594962            $261,961.65
 1701228244                     32725731            $54,601.22     1704277687                      40620403            $201,329.29
 1701228245                     32725889           $119,932.51     1704277689                      40497125            $153,044.75
 1701228248                     32727158           $119,197.75     1704277693                      40520876             $45,324.73
 1701228255                     32728099           $216,605.93     1704277694                      40546947             $39,768.02
 1701228262                     32730277           $321,890.39     1704277697                      40494411            $113,960.99
 1701228267                     32730483            $20,571.47     1704277698                      40546954             $54,315.16
 1701228270                     32733560           $215,705.49     1704277699                      40672180            $184,114.16
 1701228271                     32734055           $234,227.24     1704277702                      40546939             $64,026.00



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701228274                     32735334           $223,836.05     1704277703                      40595142            $340,105.05
 1701228276                     32736779           $193,633.56     1704277705                      40568768            $214,579.23
 1701228279                     32737553           $126,793.23     1704277710                      40306532             $83,839.09
 1701228285                     32738171           $238,852.56     1704277711                      40683021            $175,849.21
 1701228287                     32740599           $106,666.58     1704277712                      40650319             $80,920.80
 1701228299                     32749665            $21,689.92     1704277713                      40679730            $263,074.64
 1701228305                     32752461           $143,113.57     1704309234                      33794033            $105,020.22
 1701228316                     32758021           $290,875.86     1704309236                      40136004             $66,284.46
 1701228324                     32761413            $98,564.90     1704309256                      40536609            $244,549.47
 1701228340                     32770414           $217,425.29     1704309269                      40593824            $112,126.59
 1701228342                     32770588           $305,136.55     1704309278                      40633448            $213,299.65
 1701228345                     32772816           $199,662.91     1704309314                    123514358              $72,821.83
 1701228365                     37872579           $379,485.09     1704309490                      40554578            $107,747.37
 1701228375                     37925443            $59,368.66     1704309495                      40616070            $180,810.09
 1701228379                     37947926           $137,283.71     1704309638                      40412827            $258,951.70
 1701228386                     37961224           $110,944.69     1704309644                      40504243            $109,981.28
 1701228411                     38020087            $84,021.35     1704309646                      40507915            $359,412.75
 1701228414                     38024295           $144,654.21     1704309657                      40565772            $257,575.25
 1701228416                     38028627           $235,286.16     1704309660                      40575276            $125,116.99
 1701228422                     38036216           $145,490.38     1704309662                      40577405            $289,324.04
 1701228423                     38036885           $137,876.56     1704309665                      40612681            $285,840.51
 1701228432                     38046835           $157,760.16     1704309667                      40624736            $285,763.01
 1701228434                     38051413           $266,207.39     1704309704                    123513988             $110,524.02
 1701228437                     38057220            $69,483.69     1704322239                      40549446            $283,652.77
 1701228449                     38099040           $119,666.95     1704322263                      40614554            $190,356.90
 1701228463                     38141347           $251,179.97     1704322295                      46306023            $195,446.88
 1701228474                     38202917            $48,997.30     1704322300                      46412664            $252,092.92
 1701228475                     38225835           $126,698.81     1704322308                      46582219            $296,809.17
 1701228480                     31823172           $125,277.83     1704322322                      46784427            $141,874.31
 1701228488                     32354144           $146,063.15     1704322344                      40496705             $83,766.10
 1701228500                     32448995            $72,912.12     1704322349                      40520710            $139,478.38
 1701228504                     32467367            $71,125.85     1704322355                      40564114            $110,685.46
 1701228509                     32506529           $238,150.85     1704322390                      46704060            $144,847.45
 1701228529                     32575946           $271,396.80     1704322406                    124474594             $186,687.58
 1701228548                     32617540           $108,128.32     1704322411                      40443632            $128,834.41



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701228553                     32627044           $112,099.13     1704322412                      40455230            $209,368.86
 1701228564                     32643546           $206,327.81     1704322416                      40483570            $209,624.16
 1701228574                     32653107           $129,570.46     1704322423                      40520785             $27,713.89
 1701228575                     32654782           $308,313.95     1704322427                      40528465            $176,764.73
 1701228583                     32662561           $226,061.76     1704322429                      40537375            $136,360.70
 1701228585                     32662884           $180,622.29     1704322437                      40549420            $210,490.97
 1701228594                     32665549            $97,691.47     1704322440                      40556342            $189,936.29
 1701228601                     32666406           $150,082.68     1704322441                      40556474             $44,528.37
 1701228603                     32666836           $142,550.44     1704322443                      40556573            $146,363.25
 1701228607                     32667628           $108,929.10     1704322448                      40570368            $219,915.59
 1701228608                     32668535           $289,899.46     1704322449                      40573271             $83,230.70
 1701228609                     32668634            $65,720.98     1704322450                      40576068            $186,471.69
 1701228610                     32668774           $128,763.34     1704322456                      40604183            $240,202.35
 1701228612                     32670879           $101,327.06     1704322458                      40614430            $113,527.44
 1701228615                     32671315           $130,787.51     1704322463                      40620296            $233,258.18
 1701228620                     32671927           $101,412.03     1704322475                      40664799             $78,563.01
 1701228621                     32672040           $142,159.70     1704322482                      40688095            $177,037.25
 1701228626                     32673063           $177,215.06     1704322485                      45600145             $59,422.10
 1701228627                     32673519           $237,910.87     1704322491                      46307971            $306,997.59
 1701228628                     32674236           $137,340.27     1704322495                      46423646            $322,006.19
 1701228631                     32675043            $91,343.96     1704322507                      46681060            $168,473.02
 1701228642                     32675316           $240,929.56     1704322531                      40501587             $82,230.06
 1701228644                     32677080           $236,619.92     1704322532                      40503153            $138,890.44
 1701228646                     32678047           $298,843.43     1704322539                      40561268            $109,156.09
 1701228649                     32678633           $194,694.88     1704322561                      40667081            $165,162.98
 1701228650                     32678831           $225,031.38     1704322570                      46697819            $102,057.36
 1701228665                     32683542           $123,337.02     1704322591                      40161853               $514.19
 1701228678                     32690141            $79,803.34     1704322595                      40207664            $132,629.47
 1701228680                     32690976           $169,877.78     1704322606                      40313033            $196,158.18
 1701228685                     32691602           $195,177.51     1704322609                      40323073             $76,420.60
 1701228688                     32693798           $237,556.68     1704322610                      40326480            $237,311.42
 1701228690                     32694440           $184,396.99     1704322614                      40352643             $57,645.58
 1701228699                     32696569           $276,026.86     1704322646                      40454621            $303,581.63
 1701228700                     32696627           $181,920.63     1704322653                      40462715            $243,872.65
 1701228703                     32699019            $41,698.92     1704322655                      40464307             $81,739.48



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701228708                     32699860           $208,152.79     1704322676                      40491482            $600,217.68
 1701228709                     32700023           $208,567.23     1704322678                      40491888            $351,740.07
 1701228710                     32702375           $241,565.72     1704322681                      40495806            $159,975.32
 1701228713                     32703845           $155,236.38     1704322690                      40500746            $204,511.85
 1701228715                     32704413           $175,290.57     1704322696                      40507857            $234,157.65
 1701228718                     32705824           $280,976.11     1704322704                      40513160            $233,262.09
 1701228729                     32709917           $173,713.51     1704322707                      40513681            $121,907.63
 1701228750                     32720971           $206,345.81     1704322709                      40519902            $121,318.59
 1701228751                     32721656            $30,538.12     1704322719                      40527038             $84,645.16
 1701228759                     32727281           $186,690.90     1704322720                      40528366             $95,450.87
 1701228766                     32728735           $130,131.92     1704322721                      40528721            $272,939.25
 1701228770                     32729519           $174,358.80     1704322724                      40531162             $44,489.60
 1701228771                     32730210           $184,654.31     1704322738                      40546376            $214,704.50
 1701228780                     32730459           $163,484.03     1704322745                      40548422            $189,880.62
 1701228785                     32730517           $237,162.54     1704322750                      40550865            $238,214.05
 1701228792                     32735748           $267,355.95     1704322753                      40551665            $276,266.15
 1701228795                     32737066           $346,189.72     1704322756                      40556367            $227,533.80
 1701228797                     32737124            $94,844.55     1704322759                      40556599            $137,787.95
 1701228800                     32737744           $173,372.37     1704322763                      40561045            $251,944.66
 1701228806                     32739310           $226,831.56     1704322764                      40561623             $65,365.09
 1701228808                     32740193           $366,019.13     1704322766                      40562423            $144,317.15
 1701228812                     32741910           $232,564.71     1704322767                      40562738            $346,939.03
 1701228815                     32742405            $52,207.25     1704322776                      40569410            $129,889.39
 1701228824                     32745994           $211,448.57     1704322782                      40573982            $135,771.53
 1701228827                     32746653           $212,382.72     1704322797                      40586497            $124,682.00
 1701228834                     32750051            $62,648.85     1704322801                      40588709            $204,248.96
 1701228849                     32756389           $122,825.96     1704322814                      40605941            $200,945.08
 1701228856                     32758468            $89,843.07     1704322815                      40608614            $114,942.56
 1701228860                     32761231           $110,262.95     1704322819                      40609802            $179,095.43
 1701228863                     32762080           $306,151.83     1704322821                      40610065            $298,340.23
 1701228865                     32762908           $142,486.35     1704322823                      40610081            $108,753.71
 1701228874                     32763708           $126,015.60     1704322826                      40612863            $134,647.71
 1701228876                     32763914           $152,011.61     1704322829                      40614489            $257,546.42
 1701228877                     32765695           $456,672.58     1704322833                      40615437            $336,606.51
 1701228878                     32766875            $48,029.20     1704322837                      40617441            $182,691.15



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701228879                     32767642           $147,643.09     1704322838                      40618225             $68,462.55
 1701228886                     32770760           $161,101.42     1704322841                      40620346            $122,415.56
 1701228889                     32771008           $120,808.70     1704322845                      40624561            $126,020.57
 1701228894                     32777989            $99,099.32     1704322847                      40624603             $89,790.68
 1701228913                     37499605           $187,214.64     1704322849                      40624660            $247,320.26
 1701228916                     37557816            $71,441.58     1704322857                      40634644            $171,146.07
 1701228918                     37622883           $141,954.37     1704322859                      40634941            $230,569.34
 1701228927                     37726312            $88,199.18     1704322863                      40640237            $545,190.55
 1701228938                     37872595           $249,542.74     1704322864                      40640245            $254,170.61
 1701228944                     37918703           $110,589.82     1704322865                      40641508            $146,247.36
 1701228945                     37923703           $219,140.66     1704322866                      40641698             $94,625.42
 1701228955                     37948478           $163,067.36     1704322869                      40644791             $91,483.03
 1701228972                     37977311           $297,447.20     1704322883                      40650228             $87,817.07
 1701228979                     37994258           $256,471.29     1704322906                      40666513            $173,808.07
 1701228998                     38025748           $176,628.81     1704322907                      40666539            $269,487.04
 1701229006                     38041836           $206,422.88     1704322914                      40667024            $331,757.95
 1701229009                     38042685           $135,900.76     1704322922                      40672057            $179,147.42
 1701229013                     38054060           $224,932.35     1704322923                      40672115            $303,764.93
 1701229016                     38059291           $138,644.91     1704322931                      40679607            $299,612.47
 1701229020                     38063301           $294,484.90     1704322934                      40683906            $325,234.95
 1701229021                     38063525           $133,000.12     1704322946                      46052288            $199,021.66
 1701229025                     38069753           $213,385.48     1704322955                      46253357            $295,615.49
 1701229054                     38167243           $275,566.04     1704322958                      46269684            $338,481.99
 1701229059                     38177978           $189,840.28     1704322959                      46269973            $187,686.06
 1701229060                     38178646           $220,207.48     1704322961                      46286373            $157,998.68
 1701229076                     32621856           $294,297.96     1704322963                      46317590            $168,887.87
 1701229082                     32621989           $168,103.46     1704322965                      46357679            $318,073.74
 1701229095                     32678955            $72,062.02     1704322972                      46424578            $221,975.64
 1701229102                     32757288           $125,342.61     1704322984                      46584686            $182,356.15
 1701229140                     32184707            $29,363.85     1704322995                      46674990            $349,121.66
 1701229154                     32500381            $19,907.96     1704323003                      46731378            $223,833.69
 1701229170                     32572687           $132,810.26     1704323007                      46747820            $180,399.99
 1701229180                     32596546           $166,491.06     1704323013                      46806063            $462,710.57
 1701229190                     32640419           $151,554.88     1704323014                      46813200            $108,625.74
 1701229194                     32646838            $29,472.80     1704323032                      40213647            $168,819.64



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701229202                     32653990            $66,861.18     1704323036                      40341760            $198,554.50
 1701229205                     32660516           $125,852.08     1704323051                      40461543            $165,382.87
 1701229222                     32672289            $81,747.49     1704323080                      40554909            $146,855.62
 1701229234                     32678971           $211,108.70     1704323098                      40574014             $88,895.64
 1701229241                     32686883            $56,812.84     1704323099                      40574592            $102,405.43
 1701229266                     32703720           $157,701.95     1704323119                      40602302             $75,320.15
 1701229274                     32708083            $70,276.89     1704323125                      40614497             $94,822.45
 1701229279                     32710311            $85,428.30     1704323137                      40633646            $163,975.90
 1701229325                     32736936           $225,258.83     1704323179                      46141651            $148,404.91
 1701229349                     32750838           $198,957.29     1704323181                      46252979            $136,423.65
 1701229365                     32759995           $207,808.23     1704323216                      40526592             $43,218.36
 1701229368                     32762494            $79,805.65     1704323222                      40556490             $49,679.24
 1701229371                     32765216            $74,109.66     1704323223                      40556615             $62,234.99
 1701229376                     32766511           $233,858.67     1704323233                      40593733             $94,348.15
 1701229403                     37776887            $69,824.08     1704323240                      40620502             $56,730.96
 1701229407                     37841376           $105,233.26     1704323268                      40671570             $98,123.19
 1701229478                     32535346           $307,878.14     1704323289                      46581112             $85,440.04
 1701229491                     32605487            $11,366.99     1704323297                      46700902             $82,499.47
 1701229512                     32653685           $172,115.80     1704323317                      40214579             $62,557.28
 1701229527                     32672008           $214,745.04     1704323320                      40314742            $155,926.97
 1701229534                     32676835           $125,340.25     1704323332                      40546814             $95,317.91
 1701229538                     32678989            $60,462.44     1704323334                      40556433             $13,589.18
 1701229542                     32683609            $70,705.55     1704323346                      40601411             $50,818.05
 1701229547                     32690802            $34,483.34     1704323358                      40634164            $131,110.85
 1701229569                     32702441           $217,026.87     1704323369                      40659740             $82,543.11
 1701229587                     32719528            $67,785.83     1704323372                      40671240            $125,317.38
 1701229596                     32730525           $176,159.55     1704323386                      46257218            $103,600.56
 1701229608                     32737264            $46,706.26     1704323389                      46375242            $113,282.45
 1701229614                     32741613           $169,400.21     1704323418                      40397481             $47,400.68
 1701229616                     32741639            $71,615.75     1704323421                      40444333             $78,829.28
 1701229622                     32746794           $156,921.11     1704323424                      45411782            $350,482.62
 1701229623                     32747826            $44,718.90     1704323425                      45990017            $114,259.49
 1701229645                     32772691            $67,116.45     1704323431                      46225561             $96,536.64
 1701229675                     37823325           $106,577.87     1704323441                      40298291            $220,398.72
 1701229679                     37898103           $221,024.80     1704323453                      40409302            $192,341.37



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701229708                     38012134           $121,035.86     1704323455                      40431363             $67,514.62
 1701229726                     38078358            $74,107.95     1704323460                      40491946             $71,997.42
 1701229731                     38090908           $209,613.27     1704323476                      46108924            $128,914.09
 1701406420                     37763315           $112,073.80     1704323477                      46139713            $422,611.28
 1701406421                     38175832           $196,946.20     1704323479                      46194619            $260,440.49
 1701406452                   120017637            $284,670.28     1704323482                      46280764             $92,496.00
 1701406474                   120017967            $349,994.06     1704323483                      46287322            $318,452.75
 1701406475                   120017983            $157,378.39     1704323488                      33509043             $88,519.46
 1701406491                   120018205            $404,654.30     1704323489                      33671561             $85,304.53
 1701406495                   120018262            $100,716.54     1704323490                      33689720            $178,860.23
 1701406502                   120018346             $67,925.82     1704323500                      40020604            $162,643.52
 1701406505                   120018379            $179,858.75     1704323503                      40044968             $82,665.31
 1701406511                   120018445            $138,905.19     1704323504                      40161465             $55,167.94
 1701406583                   120019872            $193,113.45     1704323511                      40292997            $302,632.56
 1701406599                   120020169            $215,755.97     1704323512                      40301657             $92,149.21
 1701406608                   120020334            $299,230.28     1704323517                      40317992            $199,301.70
 1701406620                   120020581             $65,491.66     1704323526                      40346454            $222,641.48
 1701406654                   120021092            $159,068.75     1704323527                      40349219            $220,146.21
 1701406659                   120021142            $204,085.98     1704323531                      40369506            $238,496.12
 1701406688                   120021464            $121,680.97     1704323536                      40392177            $220,424.66
 1701406726                   120021936            $107,049.42     1704323537                      40395386            $254,768.23
 1701406734                   120022017            $221,563.07     1704323544                      40421265            $210,069.98
 1701406739                   120022082            $139,545.29     1704323548                      40435380            $197,966.77
 1701406744                   120022173            $252,756.10     1704323552                      40448862            $180,304.58
 1701406770                     32445389           $132,219.83     1704323561                      45136124            $100,072.68
 1701406788                     32661688           $122,204.94     1704323562                      45137478            $200,432.73
 1701406803                     32716235           $111,319.97     1704323563                      45219847            $354,114.26
 1701406810                     32731341           $154,395.25     1704323564                      45240090            $226,888.78
 1701406827                     32754665           $185,211.44     1704323566                      45282696            $223,992.74
 1701406834                     32761181            $63,425.60     1704323570                      45671310            $156,533.62
 1701406835                     32761330           $221,404.35     1704323575                      45856135            $183,785.53
 1701406837                     32762825           $203,230.35     1704323578                      45902814            $187,301.84
 1701406839                     32769085           $149,010.00     1704323581                      45990496            $244,866.84
 1701406864                     32780561           $179,414.92     1704323586                      46056396            $116,962.08
 1701406865                     32780660           $110,106.60     1704323587                      46078622            $118,550.16



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701406867                     32780959           $134,448.13     1704323590                      46105631            $257,417.25
 1701406888                     32788663            $30,788.28     1704323591                      46108635            $374,938.70
 1701406900                     32795296           $119,133.36     1704323592                      46141362            $275,872.87
 1701406999                     32823072           $123,952.13     1704323593                      46188421            $119,682.16
 1701407012                     32828352            $75,811.23     1704323595                      46238473            $145,725.58
 1701407014                     32828642            $21,224.81     1704323602                      46352423            $346,276.48
 1701407026                     32834798            $49,751.25     1704323607                      33446410            $321,392.28
 1701407056                     32845943            $75,270.38     1704323610                      33684903             $55,549.76
 1701407064                     32849309           $109,555.10     1704323612                      33767849            $324,338.56
 1701407067                     32850646           $108,683.59     1704323614                      33787490            $285,056.50
 1701407096                     32860041            $74,993.08     1704323615                      33787508            $191,863.11
 1701407103                     32863524           $167,599.24     1704323627                      40263121            $380,257.37
 1701407121                     37798410           $115,800.89     1704323633                      40347759            $231,330.00
 1701407145                     38106563            $45,253.28     1704323639                      40397564            $290,827.37
 1701407181                     38179784            $40,925.39     1704323643                      40416877            $230,332.99
 1701407185                     38183927           $195,725.17     1704323644                      40420762            $168,185.68
 1701407235                     38281754            $90,354.96     1704323648                      40448771             $97,435.77
 1701407236                     38282323           $125,198.58     1704323650                      40457129            $184,592.27
 1701407244                     38290664            $96,248.73     1704323652                      40462459            $273,402.04
 1701407249                     38295432            $58,039.06     1704323653                      40464364            $304,040.64
 1701407252                     38304754            $99,765.01     1704323656                      45163474            $212,896.43
 1701407264                     38325148           $227,319.80     1704323658                      45307220            $259,965.18
 1701407272                     38338109           $105,523.51     1704323663                      45567872            $181,523.18
 1701407350                     32774895            $18,621.36     1704323667                      45936994            $333,691.04
 1701407357                     32779332           $273,021.05     1704323669                      45968294            $250,669.99
 1701407414                     32806184           $240,689.55     1704323670                      46006557            $121,989.47
 1701407422                     32809402           $172,272.61     1704323672                      46139903            $212,894.04
 1701407435                     32817132           $103,151.63     1704323673                      46170015             $60,581.42
 1701407459                     32831034           $159,551.40     1704323674                      46178844             $88,611.47
 1701407475                     32834871           $159,519.29     1704323681                      46332011            $165,208.47
 1701407486                     32839680            $81,532.14     1704323690                    124160599             $199,124.90
 1701407494                     32842205           $333,727.22     1704323693                    124366915             $115,620.76
 1701407507                     32846594           $181,077.65     1704323694                    124398637              $31,853.11
 1701407526                     32856791           $178,594.93     1704323698                      33795717            $160,884.17
 1701407531                     32858391           $274,313.26     1704323700                      33800285            $162,241.06



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701407548                     32867475           $404,189.41     1704323704                      39491626            $259,495.12
 1701407549                     32868200           $200,774.61     1704323705                      39523758            $156,962.96
 1701407551                     32873358           $203,230.66     1704323709                      39969712            $361,026.97
 1701407570                     38148680           $112,936.88     1704323710                      40004038            $160,010.76
 1701407572                     38161519           $222,193.60     1704323711                      40004053            $169,796.99
 1701407580                     38175451           $419,542.26     1704323715                      40022980             $82,883.13
 1701407592                     38210126           $127,130.94     1704323716                      40026270            $120,018.24
 1701407595                     38219259           $181,639.39     1704323718                      40032260            $247,197.29
 1701407609                     38259545           $189,314.04     1704323719                      40034084            $218,996.65
 1701407628                     38323515           $176,203.87     1704323727                      40232233            $291,536.65
 1701407642                     38383774           $139,660.68     1704323730                      40273104            $286,052.44
 1701407649                     38429627           $111,512.90     1704323736                      40317562            $272,772.06
 1701407662                     32660862           $323,462.37     1704323740                      40329559            $188,179.63
 1701407664                     32671091           $249,846.27     1704323741                      40329807            $109,696.61
 1701407666                     32682858           $177,142.55     1704323742                      40330185             $51,305.25
 1701407667                     32708174           $164,549.42     1704323744                      40341554            $255,669.19
 1701407689                     32785768           $270,250.64     1704323745                      40343774            $290,855.96
 1701407700                     32794224           $201,697.07     1704323753                      40356065            $121,372.24
 1701407709                     32800971           $135,973.97     1704323757                      40361818            $134,720.14
 1701407742                     32836587           $113,854.65     1704323761                      40368946            $196,164.50
 1701407752                     32844193           $177,351.97     1704323767                      40377590             $74,800.66
 1701407753                     32845265            $51,911.91     1704323770                      40387607            $206,090.82
 1701407760                     32858854           $167,741.01     1704323772                      40388555             $91,783.75
 1701407787                     38162970           $241,828.80     1704323773                      40388597            $155,611.13
 1701407789                     38183281           $133,191.55     1704323774                      40388605            $219,127.86
 1701407803                     38249256           $295,950.99     1704323775                      40388613            $241,085.44
 1701407841                     32748733           $277,926.94     1704323779                      40397598            $224,092.10
 1701407852                     32781312           $196,017.80     1704323780                      40397630            $151,549.17
 1701407855                     32789208            $87,436.54     1704323781                      40401812             $56,231.17
 1701407859                     32794216           $228,357.16     1704323783                      40403347            $195,937.57
 1701407861                     32794448           $339,303.46     1704323784                      40404139            $137,688.85
 1701407874                     32803645           $174,392.95     1704323786                      40408247             $93,277.89
 1701407880                     32809568           $120,545.63     1704323787                      40410482            $207,807.61
 1701407882                     32810715            $86,154.76     1704323789                      40418253            $211,858.88
 1701407885                     32813503            $43,212.15     1704323792                      40421364            $226,035.36



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701407908                     32837809           $246,918.87     1704323793                      40421422            $196,253.03
 1701407913                     32845406           $116,597.19     1704323796                      40431074            $120,473.78
 1701407924                     32855322           $273,410.54     1704323797                      40434136            $316,345.90
 1701407931                     32862641           $183,153.58     1704323799                      40434169            $147,587.86
 1701407947                     38077590            $63,299.06     1704323800                      40435414            $219,880.86
 1701407977                     38254389           $290,131.32     1704323802                      40437238             $79,819.48
 1701407990                     38316493            $55,812.06     1704323807                      40440802             $57,010.61
 1701408025                     32778896           $356,985.03     1704323808                      40442378            $203,876.18
 1701408054                     32803579           $310,338.31     1704323814                      40452930            $162,162.03
 1701408058                     32808149           $281,549.32     1704323815                      40454019            $170,236.07
 1701408069                     32815425           $148,942.82     1704323818                      40462566             $28,676.65
 1701408106                     32849499            $64,301.99     1704323819                      40462582             $89,557.51
 1701408111                     32852626           $104,586.88     1704323821                      40462608            $270,621.62
 1701408120                     32859878           $207,023.47     1704323823                      40469876            $183,577.69
 1701408126                     32879819           $228,945.07     1704323825                      40469934            $207,450.77
 1701408161                     38252482           $142,744.11     1704323832                      45095650            $174,936.51
 1701408168                     38319083           $171,215.07     1704323833                      45099934            $123,097.55
 1701408190                     32717043           $244,197.01     1704323835                      45100823            $161,880.26
 1701408201                     32751976           $200,769.34     1704323837                      45105418            $145,978.15
 1701408220                     32786485           $181,270.94     1704323838                      45148558             $95,366.66
 1701408223                     32788283           $229,716.19     1704323840                      45151529            $151,815.39
 1701408228                     32792590            $52,973.05     1704323841                      45178290            $159,246.67
 1701408230                     32792624           $248,292.57     1704323844                      45231636            $201,530.10
 1701408239                     32798787           $237,184.72     1704323847                      45257144            $131,428.31
 1701408252                     32813297           $200,124.14     1704323848                      45257458            $111,219.45
 1701408258                     32817603           $237,393.61     1704323849                      45267135             $50,485.86
 1701408274                     32832487           $295,328.91     1704323850                      45270550            $289,430.31
 1701408279                     32839557            $19,578.43     1704323853                      45332624            $426,126.75
 1701408286                     32845828           $390,899.34     1704323854                      45338993            $216,912.41
 1701408292                     32859795           $141,739.28     1704323857                      45380466            $283,458.48
 1701408312                     37903614           $152,113.37     1704323858                      45422912            $149,754.72
 1701408319                     38008611           $220,267.38     1704323866                      45736592             $92,199.10
 1701408322                     38031118           $194,199.07     1704323867                      45737376             $97,096.56
 1701408340                     38118329           $172,842.55     1704323868                      45744489            $245,663.00
 1701408361                     38207361           $260,754.70     1704323874                      45870623            $445,879.14



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701408366                     38212783           $193,867.05     1704323877                      45883915            $177,540.10
 1701408368                     38225397           $284,762.56     1704323881                      45906864             $89,825.83
 1701408369                     38226601           $153,182.36     1704323882                      45917622            $145,211.48
 1701408378                     38254546           $149,986.06     1704323883                      45917853            $310,382.37
 1701408396                     38297552           $189,257.70     1704323886                      45930443            $304,416.75
 1701408402                     38307492            $59,115.01     1704323888                      45937802            $166,561.52
 1701408409                     38318853           $320,741.18     1704323892                      45968476            $232,394.27
 1701408421                     38362653           $226,431.73     1704323893                      45970688            $108,318.20
 1701408444                     32753790           $197,425.39     1704323897                      46003372            $162,457.42
 1701408446                     32757940           $306,811.42     1704323898                      46007068            $100,162.99
 1701408454                     32780991           $154,389.43     1704323901                      46018164            $188,161.45
 1701408460                     32783334           $222,549.61     1704323905                      46026472            $103,147.74
 1701408485                     32803819           $249,442.67     1704323906                      46026951            $207,599.35
 1701408493                     32811341           $294,698.96     1704323907                      46041695            $272,158.58
 1701408495                     32812711           $160,332.55     1704323909                      46046231            $219,756.94
 1701408499                     32816456           $149,666.59     1704323910                      46046314            $139,396.69
 1701408503                     32817892           $207,897.88     1704323911                      46047890            $102,233.96
 1701408516                     32834749           $185,121.78     1704323923                      46087565            $298,110.41
 1701408531                     32849168           $111,339.75     1704323924                      46087623            $225,310.49
 1701408545                     32876526           $330,800.40     1704323927                      46108650            $174,201.22
 1701408546                     32878704           $288,627.04     1704323929                      46114674             $59,601.86
 1701408562                     38095501           $160,582.28     1704323930                      46115028            $151,290.52
 1701408567                     38114492           $193,425.92     1704323931                      46116729             $24,994.28
 1701408577                     38136602            $65,289.88     1704323944                      46186318            $336,000.32
 1701408582                     38149977           $140,972.24     1704323945                      46189932            $314,637.95
 1701408587                     38159323           $190,847.35     1704323946                      46191474            $201,111.86
 1701408598                     38180659           $138,591.80     1704323948                      46204400            $243,509.98
 1701408602                     38189973           $128,008.93     1704323958                      46317277             $73,681.20
 1701408613                     38219218           $177,332.26     1704323960                      46374716            $290,778.44
 1701408665                     38339404           $176,924.81     1704323963                      46404620             $98,566.35
 1701408677                     38367439           $298,962.83     1704323971                      33716952            $129,395.99
 1701408690                     32663783           $229,022.46     1704323975                      33786385            $263,679.90
 1701408693                     32682353           $217,245.32     1704323976                      33787557            $196,573.03
 1701408703                     32730855           $246,382.38     1704323977                      33793878            $241,373.74
 1701408716                     32759516            $25,831.12     1704323979                      33801218            $223,614.90



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701408725                     32773954           $303,414.58     1704323980                      33803396            $106,671.87
 1701408729                     32779134           $265,659.91     1704323990                      40030611            $167,452.83
 1701408736                     32782278           $125,778.31     1704323991                      40031585            $312,913.40
 1701408782                     32804700           $217,102.41     1704323996                      40172736            $439,106.71
 1701408788                     32806952           $212,021.86     1704323997                      40173486            $327,794.57
 1701408822                     32818734           $324,739.95     1704323998                      40220261            $167,674.52
 1701408838                     32829129            $45,610.27     1704323999                      40238990            $426,631.26
 1701408839                     32830549           $252,859.84     1704324000                      40251829            $116,140.66
 1701408852                     32839722           $170,786.70     1704324006                      40317521            $214,552.00
 1701408853                     32840589           $267,763.49     1704324010                      40329666            $365,362.85
 1701408859                     32843252           $151,592.62     1704324012                      40346025            $250,544.01
 1701408874                     32849788           $150,710.02     1704324015                      40358954            $118,538.85
 1701408880                     32852238            $94,180.51     1704324016                      40359762            $248,674.22
 1701408901                     32869059           $296,089.87     1704324017                      40361966            $226,696.63
 1701408917                     38030573           $165,357.76     1704324022                      40379265            $219,210.00
 1701408929                     38080909           $205,982.70     1704324027                      40395311             $73,335.22
 1701408935                     38093266           $130,147.54     1704324030                      40397606            $209,958.28
 1701408937                     38095576           $178,840.29     1704324033                      40403321            $221,662.22
 1701408945                     38113288           $178,187.08     1704324034                      40403438            $245,042.08
 1701408949                     38120580            $93,842.73     1704324035                      40409518            $271,146.72
 1701408951                     38122560           $183,483.96     1704324036                      40410433            $193,446.61
 1701408959                     38133260           $191,694.13     1704324037                      40414492            $128,229.86
 1701408979                     38155503           $141,242.21     1704324042                      40428757            $176,344.86
 1701408981                     38156998           $167,371.81     1704324046                      40435497            $203,171.01
 1701408995                     38170916            $36,568.84     1704324048                      40441248            $275,781.60
 1701408998                     38174082           $220,446.11     1704324049                      40442428            $237,044.41
 1701409042                     38247250           $206,193.05     1704324052                      40454415            $201,034.64
 1701409084                     38299202           $183,050.93     1704324054                      40456253            $153,851.98
 1701409091                     38307518           $298,596.77     1704324057                      40462483            $247,323.32
 1701409107                     38331153           $239,435.23     1704324058                      40462632            $175,766.41
 1701409143                     38392155            $97,224.34     1704324062                      40470361             $90,746.99
 1701409150                     30674683            $68,239.86     1704324063                      40477556            $257,811.17
 1701409159                     32519258           $213,744.47     1704324066                      40484768            $250,755.65
 1701409180                     32736993           $120,131.60     1704324068                      40500597            $197,640.66
 1701409216                     32795064           $262,226.46     1704324069                      45075124            $272,361.92



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701409224                     32798704           $344,224.59     1704324070                      45203353            $243,552.80
 1701409225                     32799017            $97,961.40     1704324071                      45204021            $215,330.71
 1701409226                     32799041            $53,477.32     1704324079                      45293495            $216,837.10
 1701409256                     32816852           $173,755.04     1704324080                      45321940            $142,867.76
 1701409258                     32818023            $89,448.15     1704324081                      45387982            $368,423.30
 1701409276                     32831133           $277,072.02     1704324085                      45652617            $159,372.05
 1701409287                     32840431           $314,162.93     1704324086                      45660016            $147,326.56
 1701409291                     32843831           $242,941.06     1704324088                      45850898             $61,372.85
 1701409302                     32850810           $442,030.22     1704324090                      45882099            $145,754.58
 1701409330                     37284379           $144,183.08     1704324091                      45884319            $143,621.61
 1701409334                     37872884           $138,929.92     1704324092                      45885282            $190,785.00
 1701409360                     38099487           $200,120.00     1704324093                      45888815            $130,009.65
 1701409388                     38152666           $258,926.55     1704324097                      45917218             $51,763.24
 1701409396                     38161626           $154,350.64     1704324099                      45934601             $81,979.84
 1701409414                     38199469           $255,106.70     1704324100                      45938537             $83,931.76
 1701409435                     38224788            $92,246.96     1704324103                      45959830            $354,335.72
 1701409436                     38225728            $34,643.56     1704324105                      46011250            $435,214.19
 1701409494                     38331179           $204,652.98     1704324106                      46034633            $194,827.37
 1701409507                     38372926           $176,401.05     1704324107                      46036091            $222,442.85
 1701409510                     38396073           $173,623.04     1704324108                      46047239            $146,131.02
 1701409524                     32679714           $308,127.55     1704324109                      46048427            $309,637.33
 1701409535                     32739245           $157,860.50     1704324111                      46062535            $115,887.14
 1701409538                     32753980           $200,505.16     1704324115                      46108957            $231,437.88
 1701409548                     32772824           $225,041.19     1704324116                      46123311            $304,364.96
 1701409566                     32789414           $100,435.94     1704324117                      46126538            $131,605.39
 1701409569                     32792566           $113,578.98     1704324121                      46157418            $158,875.86
 1701409572                     32792699            $67,777.61     1704324122                      46179776            $196,087.01
 1701409599                     32804148           $274,934.06     1704324126                      46201554            $120,821.85
 1701409600                     32807265            $93,582.64     1704324129                      46243804            $209,933.98
 1701409623                     32817819           $254,253.28     1704324133                      46269445            $249,979.04
 1701409635                     32827784           $163,365.56     1704324135                      46300273            $168,254.95
 1701409643                     32836991           $247,275.94     1704324138                      46314555            $164,670.89
 1701409672                     32858722           $156,024.32     1704324140                      46321832            $137,398.80
 1701409678                     32862617           $474,497.33     1704324142                      46332177             $83,503.31
 1701409724                     38136123            $95,053.46     1704324143                      46334082            $118,782.58



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701409729                     38141719           $241,274.26     1704324146                      46344263            $369,894.06
 1701409733                     38146957            $67,677.71     1704324147                      46423398            $170,153.76
 1701409739                     38155792           $134,832.59     1704324148                      46470985            $316,532.59
 1701409752                     38174108           $191,254.28     1704324155                      40370009            $199,174.60
 1701409757                     38178604           $119,768.44     1704324156                      40462384            $142,741.18
 1701409773                     38198081           $187,039.81     1704324161                      33782475            $217,577.61
 1701409782                     38217626           $178,912.66     1704324162                      39340922            $206,345.51
 1701409788                     38233292           $109,369.27     1704324163                      39576764            $209,109.02
 1701409806                     38270757           $163,330.19     1704324164                      40129660            $277,829.35
 1701409818                     38303574           $184,213.67     1704324168                      40386708            $180,825.74
 1701409833                     38333522           $121,542.76     1704324172                      46049078            $172,379.45
 1701409844                     38404828           $211,435.80     1704324174                      46248852            $275,682.80
 1701409933                   120016233            $216,242.36     1704324178                      40022386            $118,507.20
 1701409941                   120016423             $62,166.19     1704324179                      40045528            $239,054.11
 1701409948                   120016548             $83,941.52     1704324182                      40317448            $178,658.46
 1701409951                   120016613            $134,538.30     1704324183                      40330110            $332,079.29
 1701410019                     32778706           $127,515.91     1704324184                      40385643            $284,223.06
 1701410034                     32792194           $137,210.46     1704324186                      40405722            $302,023.01
 1701410042                     32794653            $94,739.23     1704324188                      45488392            $219,696.87
 1701410081                     32813032           $103,245.95     1704324189                      45515855            $162,423.62
 1701410108                     32829400            $56,472.52     1704324192                      45988110            $441,349.82
 1701410128                     32843237           $105,180.03     1704324195                      46066676            $105,179.51
 1701410130                     32844573            $72,533.03     1704324206                      40484149            $311,293.64
 1701410154                     32850620           $124,178.10     1704324212                      40604167            $138,397.41
 1701410182                     32875593           $104,343.31     1704324236                      40691594            $112,974.52
 1701410184                     37573599           $229,215.04     1704324241                      40715310             $44,647.09
 1701410188                     37894797            $29,683.50     1704324251                      46776597            $173,345.34
 1701410205                     38123030            $60,704.18     1704324264                    124477860             $103,436.64
 1701410231                     38211199           $127,357.77     1704324337                      46809463            $348,405.27
 1701410248                     38261632           $172,776.89     1704324352                      46908729            $305,364.13
 1701410276                     38344966           $128,396.70     1704324369                    124398272             $209,026.77
 1701410282                     38368874            $42,195.21     1704324371                    124398371             $287,259.56
 1701410343                     32787806           $107,956.16     1704324374                    124461112             $221,560.10
 1701410345                     32792905           $150,508.69     1704324379                    124461328             $384,512.44
 1701410354                     32795098            $92,733.13     1704324424                      40348013            $247,528.27



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701410368                     32806754            $64,393.94     1704324429                      40399578            $315,326.78
 1701410376                     32808560           $171,137.87     1704324435                      40449183            $126,437.46
 1701410390                     32818049           $106,748.68     1704324436                      40449472            $226,544.96
 1701410396                     32819831           $230,183.13     1704324459                      40510851            $154,934.70
 1701410398                     32821126            $98,824.58     1704324476                      40552648            $199,425.90
 1701410399                     32825762           $130,826.64     1704324480                      40560294            $345,084.01
 1701410400                     32825861           $144,696.35     1704324484                      40568271            $232,014.81
 1701410402                     32830010           $157,131.22     1704324485                      40568529            $180,902.66
 1701410409                     32832966           $213,172.48     1704324489                      40575755            $281,088.22
 1701410448                     32872749            $93,539.37     1704324503                      40586141            $113,552.22
 1701410451                     37438504           $147,085.21     1704324525                      40603870            $211,596.32
 1701410453                     37491362           $172,807.61     1704324527                      40606824            $239,533.85
 1701410501                     38163168           $110,990.94     1704324531                      40607509            $338,132.43
 1701410542                     38246807           $153,559.92     1704324559                      40621245            $253,522.49
 1701410562                     38282463            $83,242.52     1704324560                      40621849            $317,705.10
 1701410605                     38386991           $154,487.42     1704324615                      40642985            $207,011.25
 1701418290                     32777765           $132,356.00     1704324623                      40643736            $187,767.87
 1701418313                     38336202           $157,792.68     1704324630                      40644528            $233,507.81
 1701418403                     32859647            $70,111.82     1704324640                      40648305            $204,928.15
 1701418440                     38144572           $121,347.21     1704324663                      40654576            $216,996.44
 1701418474                     38204095            $44,327.74     1704324669                      40654733            $206,028.62
 1701418480                     38213930           $131,756.24     1704324681                      40657785            $178,013.86
 1701418518                     38256939           $179,076.84     1704324691                      40659070            $178,826.45
 1701418519                     38257457           $111,332.18     1704324709                      40664385            $310,677.92
 1701418520                     38258240           $200,025.09     1704324711                      40664583            $107,790.28
 1701418521                     38258356           $160,810.24     1704324720                      40667545            $285,237.57
 1701613545                     32915472            $49,794.23     1704324721                      40667552            $163,741.49
 1701613646                     38263042           $143,389.57     1704324729                      40667701            $338,328.86
 1701613681                     38558813           $117,907.04     1704324752                      40674418            $241,985.11
 1701613781                   120374632            $147,115.39     1704324774                      40681330             $64,078.07
 1701613829                     32901076            $50,445.33     1704324786                      40683534            $189,693.50
 1701613850                     32932105           $316,709.43     1704324799                      40687238            $227,357.24
 1701613883                     38094512           $136,855.83     1704324800                      40687428            $227,761.01
 1701613884                     38177788           $108,080.98     1704324804                      40687659            $360,703.27
 1701614195                   120372024             $88,574.19     1704324807                      40688707            $204,339.87



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701614249                     32811663            $62,296.30     1704324847                      40701625            $260,278.50
 1701614461                     32879546            $30,990.18     1704324850                      40701864            $245,121.43
 1701614489                     32889966           $234,280.51     1704324854                      40703118            $442,944.91
 1701614570                     32918351           $220,567.47     1704324862                      40706731            $215,385.37
 1701614636                     32953424           $304,072.07     1704324872                      40707705            $214,699.83
 1701614721                     38009130           $166,506.24     1704324917                      46487765            $178,730.84
 1701614749                     38334660           $203,565.97     1704324935                      46590121            $191,190.60
 1701614795                     38447355           $123,428.27     1704324942                      46603213            $479,011.17
 1701614798                     38456414           $240,705.67     1704324943                      46605689            $272,476.78
 1701614816                     38521696           $307,383.28     1704324978                      46715777            $203,490.30
 1701614876                   120360151             $31,735.92     1704324993                      46748000            $224,940.60
 1701614895                   120361423            $175,028.88     1704325009                      46780490            $115,531.73
 1701614929                     32639122           $121,842.07     1704325013                      46785010            $318,086.48
 1701614980                     32882110           $138,429.10     1704325025                      46808366            $285,869.74
 1701615032                     32934663            $54,409.68     1704325047                      46848883            $115,289.14
 1701615336                     32759300           $236,122.51     1704325063                      46866794            $332,133.94
 1701615400                     32871816           $167,428.59     1704325065                      46884631            $307,731.28
 1701615483                     32909822           $126,432.00     1704325075                      46908158             $38,300.18
 1701615531                     32926966           $134,619.08     1704325080                      46916722            $187,342.74
 1701615541                     32930703            $54,199.39     1704325081                      46917696            $119,245.89
 1701615544                     32932444           $368,444.73     1704325086                      46935011            $184,532.07
 1701615666                     32980633           $274,806.68     1704325095                      46971537            $427,566.73
 1701615685                     33001611           $251,283.84     1704325097                      46974770            $183,394.74
 1701615697                     38110474            $84,308.57     1704325122                      40705402            $228,966.13
 1701615720                     38330973           $356,844.63     1704325125                      46660155            $271,912.72
 1701615729                     38339701           $209,931.17     1704325127                      46707311            $218,811.42
 1701615759                     38414496           $103,642.13     1704325145                      46820924             $42,888.17
 1701615762                     38419164           $167,864.24     1704325152                    124478389             $164,906.70
 1701615781                     38464228           $169,360.91     1704325162                      40135550             $50,928.86
 1701615866                   120369434            $209,928.97     1704325164                      40310443            $279,947.47
 1701615871                   120369822            $220,051.33     1704325165                      40356453             $83,802.47
 1701615887                   120371448            $117,400.56     1704325167                      40450272            $229,529.34
 1701615922                   120375860             $96,611.42     1704325168                      40456550            $157,260.89
 1701615928                   120376454            $363,070.45     1704325190                      40562696             $88,691.78
 1701615984                     32887598           $160,988.33     1704325195                      40573370             $55,450.57



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1701616126                     38265427            $53,016.83     1704325237                      40638546            $169,927.46
 1701616168                     38477048            $93,767.44     1704325260                      40653826            $278,844.28
 1701616192                   120297890            $139,647.23     1704325271                      40658064            $117,937.77
 1701616239                   120376124            $149,294.56     1704325273                      40659120            $151,779.62
 1701616276                     32865875            $69,731.52     1704325290                      40667412            $411,551.29
 1701616319                     32910655            $60,276.62     1704325291                      40667420            $314,784.18
 1701616386                     38102307            $60,248.10     1704325293                      40667453            $292,011.42
 1701616410                     38365623            $54,841.04     1704325301                      40671430            $241,646.52
 1701616438                     38489746            $88,954.72     1704325303                      40671711            $134,803.02
 1701616466                   120358171             $93,679.66     1704325317                      40679284            $105,823.34
 1701616475                   120368816             $86,608.45     1704325318                      40680415            $160,833.72
 1701616490                   120371000             $69,918.88     1704325321                      40680506            $364,126.82
 1701616500                   120373030             $95,772.33     1704325334                      40688426             $90,851.35
 1701616507                   120373972             $86,798.80     1704325347                      40698326            $114,777.57
 1701616513                   120374921             $82,094.99     1704325358                      40705162            $277,434.45
 1701616524                     32729469            $33,690.47     1704325360                      40707069            $305,921.85
 1701616538                     32861908           $142,485.48     1704325365                      40710998            $265,526.02
 1701616599                     32936205           $140,998.28     1704325373                      46515896            $451,847.22
 1701616707                   120368790            $129,825.35     1704325422                      46974820            $326,376.23
 1701616714                   120370556            $102,502.07     1704579836                    124582669              $73,007.47
 1701616724                   120373626             $53,292.69     1704579932                    124590969              $76,832.87
 1701616733                   120375449            $117,633.69     1704579933                    124591009             $128,948.04
 1701616738                     32823452           $144,718.46     1704579950                    124607862             $203,286.50
 1702041255                     33219288           $163,857.36     1704579961                    124624818              $15,451.87
 1702041464                     33094442           $208,413.60     1704580016                    124626482             $114,888.19
 1702041487                     33109745           $200,265.35     1704580036                    124601717               $2,819.44
 1702041500                     33113366           $255,077.07     1704580053                      40722050            $268,191.14
 1702041533                     33128612           $149,244.53     1704580088                      40762866            $215,116.93
 1702041742                     38853198           $239,062.82     1704580243                      46989125            $428,806.01
 1702041770                     38926234           $170,259.12     1704580268                      47011259            $112,937.49
 1702041773                     38931382           $135,356.32     1704580280                      47087010             $48,848.63
 1702041775                     38934824            $81,787.87     1704580283                      46840609             $38,246.47
 1702041930                     38728440            $52,434.87     1704580286                      46875092            $103,181.59
 1702041957                     38952040            $21,127.56     1704580295                      47056775            $112,719.73
 1702042063                     38721908           $107,028.30     1704580367                      40686263             $94,654.08



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702042107                     33062936            $33,474.96     1704580438                      40704165            $254,936.18
 1702042116                     33079591            $35,778.09     1704580460                      47104906            $263,929.30
 1702042123                     33096025            $88,550.24     1704580476                      40628091            $177,242.05
 1702042131                     33107384            $89,392.99     1704580481                      45298346             $93,270.58
 1702042137                     33109794           $289,127.97     1704580492                      46108007            $305,501.62
 1702042140                     33111493           $153,386.02     1704580507                      40580383             $91,252.46
 1702042143                     33113333           $101,106.23     1704580522                      46750493            $154,713.08
 1702042163                     33129560           $173,246.44     1704580528                      46850095            $143,492.47
 1702042178                     33148719           $131,778.13     1704580534                      46854113             $21,615.54
 1702042183                     33153602            $54,907.76     1704580546                      40371593            $192,401.45
 1702042191                     33158809           $176,577.09     1704580555                    124367012              $93,477.66
 1702042222                     33190232           $148,874.92     1704580594                      47007109            $300,768.22
 1702042254                     38708244           $254,646.46     1704580617                      40696775            $315,425.21
 1702042302                     38961918           $301,212.93     1704580625                      40698797            $140,568.75
 1702042333                     33054891           $130,158.77     1704580636                    124012113             $343,191.93
 1702042337                     33064650            $94,944.10     1704580647                      46937462             $28,001.96
 1702042345                     33085143            $16,128.14     1704580657                      46961652            $285,791.31
 1702042355                     33103342           $124,053.47     1704580672                      46756847            $451,738.77
 1702042436                     38737979           $135,036.25     1704580700                      40740805            $340,657.24
 1702042452                     38855169            $77,802.44     1704580705                      40328080             $88,246.50
 1702042580                     33068883           $108,484.29     1704580707                      46952859            $461,681.75
 1702042636                     38743308           $117,892.31     1704580708                      40575730            $141,553.70
 1702042656                   120369285             $81,533.67     1704580711                      47186226            $109,216.00
 1702042682                     38553384            $74,699.00     1704580747                      40711129            $338,089.57
 1702042696                     33073479           $147,537.38     1704607045                      40706327            $198,101.25
 1702042714                     38907176           $136,968.89     1704607051                      40715302            $108,542.05
 1702042741                     33204165           $194,335.93     1704607085                      40697385            $250,436.84
 1702042745                     38665063           $205,126.09     1704607086                      40698615            $138,383.34
 1702042775                     38772521           $228,555.97     1704607088                      40717167            $234,118.45
 1702042781                     38785481            $98,084.43     1704612118                    124581505              $61,943.11
 1702042839                     39018197            $75,555.40     1704612163                    123762668              $51,073.08
 1702042869                     38741591           $272,697.46     1704612363                    124565383             $127,834.29
 1702044235                     33120379            $28,606.38     1704612396                    124572744             $121,523.88
 1702044258                     33188608           $161,007.69     1704612415                      40587461            $118,650.65
 1702044301                     32977670            $70,781.61     1704612454                    124499054              $66,616.86



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702044306                     33038522            $33,099.22     1704612755                    124568452              $70,815.21
 1702044312                     33054941           $214,324.78     1704612774                    124570391              $83,383.19
 1702044346                     33104944           $181,344.29     1704612847                    124583063              $37,821.40
 1702044383                     33132648           $227,118.92     1704612993                      46749313             $87,281.00
 1702044433                     33176645            $88,468.09     1704613059                    124500240              $71,729.47
 1702044444                     33190281           $146,219.19     1704613108                    124515131              $70,764.81
 1702044448                     33191990           $328,042.73     1704613235                    124553660              $53,271.26
 1702044522                     33036146           $121,277.17     1704613248                    124556473              $58,452.26
 1702044540                     33100645           $133,494.66     1704613249                    124556515              $82,924.16
 1702044564                     33139056           $168,201.95     1704613324                    124573932              $85,947.11
 1702044582                     33178310           $225,738.35     1704613347                    124577362              $79,197.92
 1702044586                     33187709           $223,589.04     1704613444                      40655268            $186,370.67
 1702044590                     33189341           $102,790.89     1704613457                      40692386             $91,000.95
 1702044603                     38680971            $12,297.29     1704613463                      40715088            $306,915.10
 1702052472                   121181846             $14,755.60     1704613487                      46884656            $128,241.87
 1702052476                     33082710           $158,747.19     1704613509                    124494188              $43,885.98
 1702052477                     33151176           $106,050.60     1704613671                    124531005              $39,299.52
 1702052490                     32903551           $192,091.02     1704613865                    124566167              $65,902.42
 1702052500                     33013848           $266,533.15     1704613898                    124568569              $69,905.66
 1702052519                     33072182           $264,400.13     1704614199                    124593484              $83,302.04
 1702052542                     33099300           $342,063.39     1704614202                    124593583              $74,698.58
 1702052561                     33108465           $165,940.25     1704614319                    124602368              $88,729.22
 1702052564                     33109422           $205,098.88     1704614331                    124604273              $13,476.07
 1702052573                     33110636            $50,258.68     1704614344                    124605288             $172,951.83
 1702052594                     33120833            $98,822.49     1704614346                    124605635             $311,622.68
 1702052596                     33121872            $77,856.04     1704614503                    124623125              $84,828.28
 1702052625                     33135153           $197,822.22     1704614579                    124627035             $113,670.05
 1702052627                     33137407            $82,859.63     1704614622                      40528234            $141,724.97
 1702052643                     33144668           $152,477.57     1704614642                      40598641            $154,779.40
 1702052667                     33157249           $148,957.43     1704614776                      40716573             $41,068.42
 1702052670                     33157991           $132,809.06     1704614860                      46661906             $70,954.29
 1702052671                     33158015           $279,490.54     1704614871                      46811493            $225,943.56
 1702052680                     33163106           $120,276.65     1704614887                      46903019             $37,861.00
 1702052712                     33173733            $61,198.81     1704614913                      46996278             $92,105.15
 1702052721                     33177866           $176,258.82     1704614950                      46693958            $382,662.71



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702052723                     33178344           $149,939.45     1704620120                      40728123            $165,481.89
 1702052736                     33184458           $207,486.93     1704620136                      40766149            $175,487.66
 1702052738                     33185729           $122,266.98     1704620146                      46713368            $151,425.85
 1702052755                     33196064           $257,813.55     1704620155                      47042478            $172,336.82
 1702052775                     33216821            $41,808.59     1704620199                      40715252            $245,087.77
 1702052777                     38100129           $176,322.88     1704620201                      40717860            $204,368.55
 1702052793                     38665907           $218,579.84     1704620217                      40736480            $161,196.90
 1702052812                     38775318           $313,816.28     1704620226                      40760811            $213,986.88
 1702052818                     38795902            $40,662.37     1704620247                      46908760             $65,088.70
 1702052823                     38801981           $228,705.02     1704620274                      47054606            $110,277.42
 1702052830                     38820296            $69,663.21     1704620287                      47149141            $116,497.10
 1702052843                     38841409           $149,650.12     1704620306                    124397076             $263,543.03
 1702052863                     38891206           $428,971.08     1704620311                    124791922             $256,680.70
 1702052869                     38905550           $111,553.63     1704620323                      40466013            $105,927.33
 1702052917                     32943193           $329,348.52     1704620324                      40466088            $137,412.00
 1702052920                     32980666           $154,661.42     1704620331                      40558405            $416,036.51
 1702052933                     33033051           $214,102.39     1704620340                      40627325            $149,190.26
 1702052938                     33041849           $109,670.57     1704620348                      40657421            $377,137.24
 1702052965                     33084344           $117,635.59     1704620357                      40687352            $249,944.20
 1702052967                     33087727           $165,021.16     1704620379                      40717878            $193,437.33
 1702052976                     33096900           $150,017.94     1704620383                      40718736            $193,767.00
 1702052993                     33103805           $110,227.27     1704620385                      40719809            $129,783.03
 1702052998                     33106014           $114,259.59     1704620390                      40722704            $162,561.21
 1702053003                     33110552           $186,759.89     1704620393                      40725236            $268,516.39
 1702053006                     33111576           $221,331.89     1704620394                      40725244            $329,268.21
 1702053016                     33117151            $55,571.25     1704620427                      40736522            $173,914.04
 1702053023                     33118571           $155,387.77     1704620444                      40746521            $278,192.23
 1702053025                     33119843           $299,784.35     1704620451                      40748295            $170,937.05
 1702053033                     33123985           $129,324.07     1704620485                      40768483            $190,708.16
 1702053043                     33128687           $251,523.95     1704620495                      40774101            $144,358.38
 1702053048                     33131194           $182,396.68     1704620508                      40780041            $314,440.20
 1702053050                     33132945           $136,665.43     1704620529                      46759270            $145,524.45
 1702053057                     33135088           $145,987.23     1704620537                      46949491            $137,485.93
 1702053067                     33138801           $122,748.27     1704620543                      46993523            $342,989.72
 1702053071                     33141250           $159,475.11     1704620554                      47041355            $130,955.64



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702053073                     33142407           $220,976.93     1704620557                      47055413            $234,438.07
 1702053076                     33143256           $173,252.47     1704620560                      47111463            $186,831.82
 1702053105                     33154113           $174,175.28     1704620563                      47130927            $246,827.51
 1702053107                     33155060           $170,363.74     1704620583                    124487893             $434,042.56
 1702053121                     33163767           $243,433.82     1704620606                    124792441             $286,518.20
 1702053138                     33169798           $177,516.18     1704620625                      40498958            $267,374.38
 1702053140                     33170515           $134,264.43     1704620626                      40510547            $283,425.32
 1702053149                     33174418            $46,862.64     1704620658                      40614059            $277,751.44
 1702053167                     33185430            $30,883.96     1704620659                      40614109            $214,910.91
 1702053170                     33188111           $176,713.71     1704620661                      40622649            $218,939.41
 1702053176                     33192147            $95,356.24     1704620666                      40629164            $138,388.59
 1702053181                     33197104           $237,799.14     1704620669                      40641748            $117,401.67
 1702053193                     33213869           $108,740.30     1704620671                      40642969            $101,635.30
 1702053202                     38276408           $143,590.17     1704620695                      40668568            $220,059.30
 1702053220                     38682696           $154,453.77     1704620715                      40691727            $241,793.26
 1702053304                     38914677            $41,025.06     1704620718                      40693616            $340,616.51
 1702053308                     38932620           $224,632.24     1704620719                      40695637            $444,362.89
 1702053327                     38989083           $197,551.88     1704620746                      40708455            $142,977.32
 1702053337                     39078928           $228,876.16     1704620749                      40710485            $333,598.10
 1702053340                     18950790           $146,046.67     1704620754                      40711756            $155,288.19
 1702053351                     33051335           $211,284.44     1704620764                      40714727            $166,846.31
 1702053362                     33068289           $209,949.33     1704620794                      40721896            $270,830.96
 1702053368                     33083395           $212,265.21     1704620805                      40725343             $63,160.89
 1702053369                     33084229           $156,137.15     1704620808                      40725400            $357,233.97
 1702053381                     33100801           $146,348.34     1704620825                      40731739            $455,926.62
 1702053382                     33102864            $70,505.28     1704620883                      40751133            $292,751.17
 1702053399                     33114067           $125,815.75     1704620902                      40758872            $197,158.33
 1702053411                     33122425           $233,784.08     1704620904                      40759037            $110,984.62
 1702053435                     33142720           $104,925.96     1704620920                      40765125            $166,122.33
 1702053459                     33163445           $218,994.25     1704620949                      40774150            $316,345.97
 1702053461                     33165374            $92,535.30     1704620963                      40780090            $136,865.26
 1702053465                     33171661           $227,221.32     1704620965                      40782369             $59,739.88
 1702053472                     33183666            $77,120.98     1704620984                      40791899            $514,439.45
 1702053484                     33192485            $71,862.93     1704620986                      40793671            $316,424.81
 1702053495                     33207523           $215,844.28     1704620989                      40794422            $189,997.95



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702053509                     38579207            $67,033.03     1704620991                      46110151            $150,938.70
 1702053516                     38698874           $179,056.12     1704621003                      46615373            $214,418.96
 1702053523                     38780433           $118,172.73     1704621013                      46792602            $176,235.75
 1702053533                     38813846           $128,525.73     1704621021                      46866406            $105,760.27
 1702053539                     38859211           $428,432.30     1704621050                      46978797            $246,780.53
 1702053548                     38905303           $308,940.85     1704621056                      46993911            $306,961.40
 1702053569                     39080650            $53,945.90     1704621063                      47006770            $110,153.51
 1702053588                     33046475           $140,187.61     1704621067                      47011291            $195,124.09
 1702053608                     33098245           $148,239.21     1704621073                      47026141            $260,586.01
 1702053610                     33099136               $766.30     1704621074                      47027024            $239,646.23
 1702053643                     33128554           $280,510.62     1704621088                      47052006            $118,801.66
 1702053659                     33140039           $196,009.69     1704621091                      47059241            $268,442.82
 1702053664                     33144007           $225,543.77     1704621098                      47069992            $272,887.31
 1702053668                     33145665           $392,674.23     1704621117                      47099312            $222,175.92
 1702053670                     33147547            $48,409.97     1704621123                      47110465            $381,332.52
 1702053688                     33162595           $289,416.66     1704621150                      47163050            $166,071.71
 1702053689                     33163114           $267,579.29     1704621168                      47218391            $184,549.95
 1702053697                     33167552           $319,116.13     1704621209                      40740623            $153,341.88
 1702053723                     33193640           $238,019.15     1704621221                      47129242            $182,197.99
 1702053743                     38648713           $204,983.25     1704798917                    124474529             $130,303.79
 1702053749                     38709416           $210,444.62     1704798919                      40197998            $308,336.98
 1702053752                     38740619           $256,194.73     1704798929                      40585713            $312,704.48
 1702053768                     38836235            $98,904.59     1704798936                      40630345            $132,469.04
 1702053776                     38884326           $109,117.51     1704798938                      40635294            $256,101.01
 1702053786                     38956801           $308,330.07     1704798939                      40644874            $137,223.95
 1702053814                     33043795           $121,724.64     1704798942                      40654907            $345,258.74
 1702053842                     33107624           $227,770.35     1704798949                      40671810            $330,113.58
 1702053849                     33112459           $179,893.95     1704798951                      40678005            $207,860.57
 1702053874                     33125048           $252,309.10     1704798953                      40679318            $207,361.46
 1702053877                     33127580           $217,199.45     1704798972                      46544920            $248,007.97
 1702053904                     33151648           $181,168.15     1704798973                      46560421            $339,098.46
 1702053951                     33197740           $148,163.88     1704798974                      46595781            $104,014.51
 1702053958                     33210477           $247,918.12     1704798978                      46781340            $202,350.28
 1702053965                     38526216           $255,799.26     1704798979                      46846077            $168,372.94
 1702053972                     38710380            $65,600.06     1704798985                    124478132             $243,417.97



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702053976                     38747200           $102,899.68     1704798989                    124792086              $78,800.24
 1702053980                     38755674           $105,760.81     1704799001                      40589301            $175,589.38
 1702053989                     38800140            $88,416.25     1704799010                      40627598             $67,674.98
 1702054025                     31582976            $99,061.96     1704799011                      40631079            $192,577.89
 1702054027                     32833410            $83,009.02     1704799016                      40642522            $131,930.56
 1702054034                     32981912            $46,683.19     1704799019                      40647703            $171,704.11
 1702054038                     33021056           $196,965.35     1704799024                      40661019            $215,425.13
 1702054042                     33056623           $129,272.28     1704799028                      40675076            $114,641.90
 1702054051                     33076969            $87,865.81     1704799031                      40678419            $147,071.88
 1702054057                     33094046           $186,492.59     1704799034                      40683716            $291,855.21
 1702054108                     33132523           $100,539.19     1704799037                      40689051            $140,877.57
 1702054120                     33139346           $117,346.05     1704799043                      40707416             $91,335.40
 1702054135                     33151911           $205,179.33     1704799044                      40710881             $79,749.67
 1702054137                     33154022            $82,638.51     1704799046                      40711681            $161,492.02
 1702054145                     33163189            $78,682.48     1704799048                      40715401            $107,674.43
 1702054173                     33193087           $208,657.43     1704799051                      40729311            $379,799.83
 1702054202                     38762605           $105,393.30     1704799059                      40765588            $111,544.18
 1702054203                     38768065           $147,106.11     1704799061                      40779084            $306,898.67
 1702054210                     38798872            $43,641.85     1704799065                      46382834            $348,491.27
 1702054219                     38836292           $207,604.99     1704799068                      46595948            $126,547.55
 1702054223                     38850178           $205,987.92     1704799070                      46615605            $172,660.64
 1702054224                     38881678           $216,273.78     1704799082                      46742730            $164,315.81
 1702054228                     38896692           $196,076.73     1704799088                      46783650             $97,845.92
 1702054247                     38999355           $122,125.75     1704799095                      46820718            $209,557.95
 1702054249                     39008693           $228,003.41     1704799107                      46977534             $92,421.25
 1702054254                     39085824            $83,835.82     1704799115                      47171855            $463,656.24
 1702054258                     32909434           $210,427.20     1704799117                      47252432             $33,481.28
 1702054295                     33076712           $240,338.85     1704799120                    124644287             $106,756.92
 1702054297                     33081076           $252,476.35     1704799127                      40465833            $271,969.38
 1702054314                     33098153           $241,093.21     1704799128                      40478752            $165,664.31
 1702054315                     33098641           $253,356.47     1704799131                      40505497            $276,818.55
 1702054326                     33104167           $290,214.06     1704799132                      40515017            $198,696.32
 1702054327                     33104191           $118,371.19     1704799133                      40528499            $288,811.07
 1702054329                     33104563           $173,698.20     1704799134                      40528960             $73,228.03
 1702054354                     33110784           $214,635.71     1704799135                      40530677            $274,175.65



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702054375                     33118514           $172,178.75     1704799142                      40555559             $31,238.30
 1702054377                     33120270           $184,180.37     1704799143                      40560070            $418,509.25
 1702054392                     33122904            $50,069.45     1704799145                      40569840             $88,794.74
 1702054410                     33129768           $288,620.85     1704799147                      40584633            $314,735.69
 1702054424                     33133521           $266,980.84     1704799152                      40594525            $134,629.54
 1702054426                     33133992           $206,186.17     1704799161                      40605040             $42,801.84
 1702054431                     33134701           $244,595.50     1704799166                      40608960            $419,748.55
 1702054434                     33134735           $274,398.71     1704799167                      40609646            $112,306.36
 1702054436                     33134768            $76,596.71     1704799169                      40619967            $143,802.07
 1702054446                     33137613           $290,962.96     1704799171                      40619991            $114,582.66
 1702054448                     33137712           $162,662.63     1704799172                      40622409            $131,100.65
 1702054454                     33138397           $146,086.15     1704799174                      40624090            $107,479.73
 1702054455                     33138413            $77,452.61     1704799177                      40625543            $218,523.50
 1702054493                     33149972           $173,430.22     1704799181                      40628364            $253,677.79
 1702054496                     33151465           $212,809.33     1704799182                      40628703            $140,423.79
 1702054509                     33157272           $113,336.26     1704799188                      40633059            $321,437.67
 1702054510                     33158098           $132,530.23     1704799190                      40634818             $25,398.04
 1702054518                     33163635           $219,726.88     1704799191                      40634834             $79,335.78
 1702054519                     33163825           $180,684.63     1704799195                      40636748             $57,894.75
 1702054523                     33164559           $151,803.57     1704799197                      40638082            $238,993.07
 1702054536                     33169608           $267,551.37     1704799200                      40640773            $287,579.82
 1702054539                     33170168           $301,273.98     1704799202                      40643017            $138,496.98
 1702054545                     33173246           $149,915.48     1704799204                      40644908            $202,775.73
 1702054547                     33173337           $370,547.22     1704799212                      40650731            $149,698.47
 1702054548                     33173394           $244,631.06     1704799213                      40650921            $194,742.02
 1702054567                     33182973           $123,921.43     1704799214                      40650954            $401,145.24
 1702054580                     33187337           $212,256.42     1704799218                      40653784            $285,323.36
 1702054586                     33192709           $193,379.53     1704799219                      40654980            $377,221.80
 1702054591                     33195835           $445,732.34     1704799220                      40655003            $112,107.45
 1702054603                     33203324           $275,033.92     1704799222                      40656381            $148,035.19
 1702054623                     33216359            $61,002.14     1704799227                      40660581            $510,504.87
 1702054624                     33216961           $200,223.29     1704799228                      40660599            $193,347.78
 1702054658                     38628640           $177,442.20     1704799230                      40660839            $425,671.84
 1702054669                     38684957           $264,636.05     1704799232                      40661217            $145,872.46
 1702054697                     38757795           $124,971.06     1704799234                      40662306             $38,901.16



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702054713                     38775052           $197,012.66     1704799245                      40668188            $445,991.43
 1702054717                     38778221           $257,075.83     1704799247                      40668238            $242,476.59
 1702054753                     38807145           $275,938.38     1704799251                      40670754            $112,919.50
 1702054787                     38840310           $134,437.96     1704799253                      40671844            $153,696.41
 1702054796                     38847513           $177,593.63     1704799257                      40671935            $372,451.84
 1702054806                     38859500           $186,082.77     1704799261                      40675134            $281,653.43
 1702054811                     38862991            $92,155.89     1704799265                      40679375            $153,751.80
 1702054817                     38868774           $111,486.15     1704799266                      40679383            $192,960.02
 1702054825                     38876546            $97,009.69     1704799281                      40691388            $139,418.05
 1702054838                     38886339            $83,420.93     1704799286                      40695280            $244,989.40
 1702054850                     38897807           $108,468.96     1704799291                      40699274            $199,009.30
 1702054875                     38922670           $196,967.70     1704799293                      40699977            $295,050.45
 1702054885                     38933602           $125,895.44     1704799295                      40703266            $112,789.94
 1702054889                     38936290           $147,389.66     1704799297                      40703308            $153,557.70
 1702054912                     38959151           $233,038.15     1704799303                      40711210            $272,989.67
 1702054925                     38968970            $51,008.17     1704799304                      40711699            $380,674.50
 1702054948                     39015185            $60,128.17     1704799311                      40715823            $221,808.40
 1702054979                     33034836           $222,075.06     1704799324                      40726028            $456,322.57
 1702054981                     33047416           $293,098.29     1704799325                      40728941            $199,601.52
 1702055001                     33096710           $166,193.82     1704799326                      40730327            $266,578.09
 1702055020                     33105297           $235,535.74     1704799339                      40746224            $207,144.95
 1702055034                     33113739           $125,853.27     1704799342                      40751455            $131,950.47
 1702055035                     33115742            $87,320.25     1704799345                      40753998            $352,301.85
 1702055046                     33120528           $309,214.93     1704799347                      40756272            $310,943.98
 1702055056                     33127945           $278,714.31     1704799356                      40774002            $200,196.38
 1702055072                     33136656           $204,303.60     1704799358                      45917283            $199,806.33
 1702055096                     33147083           $178,729.37     1704799360                      46129300            $310,142.21
 1702055117                     33157264           $123,950.14     1704799364                      46321683            $263,877.22
 1702055126                     33163981           $140,033.77     1704799365                      46373965            $146,122.66
 1702055134                     33167966           $169,904.99     1704799366                      46397253            $191,411.77
 1702055138                     33168782           $416,486.21     1704799373                      46475554            $302,095.00
 1702055140                     33168998           $108,740.57     1704799374                      46480646            $125,411.50
 1702055148                     33172610           $302,899.99     1704799379                      46552873            $260,872.13
 1702055156                     33177338           $233,678.57     1704799383                      46604914            $306,387.00
 1702055159                     33177569           $154,467.13     1704799384                      46639266            $148,754.33



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702055169                     33184904           $142,887.39     1704799385                      46641643            $165,936.79
 1702055171                     33186917            $99,167.75     1704799387                      46657284            $415,133.87
 1702055178                     33196791           $189,832.89     1704799389                      46674024             $96,406.99
 1702055193                     33205857           $216,523.89     1704799396                      46717476            $320,902.56
 1702055195                     33206228           $205,839.49     1704799403                      46739041            $109,578.93
 1702055201                     33212945            $59,574.69     1704799406                      46746186            $345,661.07
 1702055206                     33217175           $162,649.31     1704799410                      46766945            $193,990.18
 1702055216                     38605622           $211,061.45     1704799414                      46779211            $386,699.99
 1702055237                     38717807           $224,426.44     1704799419                      46815098            $187,636.15
 1702055239                     38729778           $185,402.16     1704799420                      46817797            $127,578.09
 1702055244                     38738019            $53,239.14     1704799421                      46819090            $292,411.52
 1702055245                     38748257           $236,397.12     1704799423                      46821260            $180,596.08
 1702055254                     38759346           $165,002.62     1704799428                      46842373            $334,249.74
 1702055269                     38790739           $190,500.64     1704799432                      46900486            $190,647.91
 1702055274                     38801759           $136,182.03     1704799433                      46905527            $137,366.23
 1702055290                     38823977           $155,079.40     1704799435                      46906350            $155,190.90
 1702055311                     38849477           $262,830.86     1704799441                      46968285            $151,101.09
 1702055314                     38851457            $59,822.35     1704799443                      46978383            $326,715.54
 1702055324                     38862363           $115,962.41     1704799444                      46980686             $41,865.35
 1702055327                     38864849           $182,277.69     1704799447                      46997219            $431,235.29
 1702055348                     38903241           $168,107.48     1704799456                      47078712             $64,992.43
 1702055350                     38905717           $329,915.56     1704799458                      47092168            $107,639.58
 1702055361                     38920963           $100,146.12     1704799460                      47131073            $407,956.27
 1702055364                     38933644           $151,495.89     1704799463                      47139936            $388,172.42
 1702055388                     38994646           $157,807.20     1704799465                      47163357            $279,856.43
 1702055399                     39045034           $194,321.21     1704799469                      47208202            $188,697.90
 1702055403                     39067608           $179,292.52     1704799473                    124461260             $276,974.80
 1702055404                     39083555           $252,133.58     1704799479                    124478355             $218,306.55
 1702055406                     32859001            $79,358.90     1704799481                    124478512             $126,097.23
 1702055409                     32968679           $507,475.47     1704799482                    124488040             $269,321.36
 1702055427                     33094350           $104,272.53     1704799484                    124729831             $199,812.01
 1702055432                     33099045           $131,534.77     1704799487                    124730078             $169,294.79
 1702055444                     33110842           $104,976.18     1704799489                    124792243             $147,038.33
 1702055452                     33116351           $253,316.12     1704799494                      40382400            $123,139.85
 1702055462                     33122037           $108,414.04     1704799495                      40433252            $193,947.75



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702055495                     33163668           $223,433.70     1704799503                      40519829             $22,980.27
 1702055497                     33166901           $325,802.41     1704799509                      40551681            $268,130.72
 1702055510                     33196106           $231,358.50     1704799512                      40567075            $105,537.56
 1702055533                     38513834           $188,659.50     1704799513                      40572158            $169,173.90
 1702055537                     38615498            $29,041.96     1704799514                      40576845            $129,248.26
 1702055539                     38707436           $258,852.94     1704799519                      40580573            $237,760.29
 1702055549                     38746640           $270,578.71     1704799531                      40603656            $177,421.83
 1702055594                     38892287           $286,758.39     1704799532                      40605222            $214,013.13
 1702055598                     38899308           $216,011.16     1704799533                      40608432            $197,031.08
 1702055623                     39033766           $342,881.11     1704799534                      40609737            $116,508.96
 1702055651                     33094327           $127,363.35     1704799537                      40613481            $144,678.62
 1702055654                     33099425           $205,571.61     1704799543                      40620452             $88,333.18
 1702055664                     33110867           $303,599.44     1704799546                      40621674            $172,087.24
 1702055667                     33114422           $191,314.32     1704799547                      40621732            $226,274.53
 1702055703                     33148404            $77,911.38     1704799548                      40623357            $171,495.55
 1702055717                     33168261           $123,258.83     1704799556                      40630113            $241,017.78
 1702055732                     33187766           $222,407.83     1704799557                      40630121            $256,732.18
 1702055759                     38702817           $345,704.51     1704799558                      40630139            $263,876.93
 1702055761                     38717708           $103,599.70     1704799566                      40633703            $148,979.06
 1702055777                     38762191           $158,643.84     1704799568                      40634511            $249,107.70
 1702055783                     38795142           $305,993.06     1704799569                      40634545            $352,758.79
 1702055803                     38851168           $219,339.99     1704799574                      40634602            $177,361.50
 1702055810                     38866265           $271,180.53     1704799579                      40638173            $154,255.70
 1702055811                     38867222           $224,482.29     1704799584                      40640088            $298,332.93
 1702055861                     33011198            $93,646.71     1704799586                      40640112            $108,018.45
 1702055864                     33038514           $230,108.79     1704799587                      40640120            $330,964.47
 1702055869                     33058058           $286,143.09     1704799588                      40640153            $152,162.83
 1702055871                     33065855           $101,756.28     1704799593                      40642282            $215,794.18
 1702055877                     33090986            $61,990.66     1704799595                      40643603            $329,563.48
 1702055880                     33096256           $307,639.46     1704799598                      40644999            $336,724.33
 1702055910                     33129529           $111,343.98     1704799606                      40650434            $233,163.99
 1702055912                     33130188            $86,361.20     1704799607                      40650863            $176,957.14
 1702055913                     33133158           $225,159.56     1704799609                      40651044            $354,449.53
 1702055919                     33137571           $197,850.80     1704799611                      40651101            $106,394.59
 1702055920                     33137639           $127,615.85     1704799614                      40655086            $175,842.75



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702055937                     33148826           $170,150.34     1704799618                      40655144            $273,522.52
 1702055954                     33172503           $141,784.08     1704799623                      40658460            $240,807.27
 1702055963                     33177981           $165,654.97     1704799625                      40660615            $317,222.42
 1702055969                     33183369           $382,686.92     1704799626                      40660656            $164,071.23
 1702055971                     33187485           $209,065.85     1704799628                      40661225            $286,606.21
 1702055983                     33203886           $104,010.24     1704799630                      40661282            $248,266.83
 1702055985                     33210212           $193,702.09     1704799631                      40661415            $302,919.86
 1702056004                     38730057            $33,863.49     1704799632                      40661563            $310,101.15
 1702056010                     38762688           $176,776.48     1704799635                      40664112            $417,905.03
 1702056026                     38796926           $151,684.77     1704799644                      40666398            $152,412.76
 1702056034                     38823233           $188,670.61     1704799645                      40666422            $218,485.40
 1702056059                     38902862           $118,130.61     1704799646                      40666430             $99,276.82
 1702056082                     39039813           $208,116.56     1704799651                      40669822            $119,302.79
 1702056087                     32974933           $219,045.63     1704799661                      40671984            $148,991.62
 1702056097                     33080060           $245,390.64     1704799664                      40672396            $284,664.40
 1702056102                     33098609            $65,758.31     1704799666                      40673196            $313,631.77
 1702056137                     33132978           $284,493.77     1704799668                      40675159             $91,652.46
 1702056138                     33133075           $137,489.26     1704799670                      40676223            $283,929.94
 1702056141                     33134776           $198,565.49     1704799672                      40677197            $213,891.71
 1702056149                     33140617            $18,784.54     1704799673                      40677627            $130,475.25
 1702056150                     33141482           $286,845.47     1704799676                      40679821             $23,681.12
 1702056160                     33148743           $184,312.41     1704799684                      40683849            $139,976.52
 1702056194                     33184797           $185,233.93     1704799690                      40684409            $357,958.00
 1702056199                     33191362            $35,744.86     1704799691                      40684987            $157,211.13
 1702056206                     33210931            $83,646.83     1704799693                      40685729            $266,010.38
 1702056230                     38736914            $69,893.53     1704799694                      40686586            $109,088.26
 1702056232                     38740320           $100,973.62     1704799700                      40689382            $306,688.15
 1702056246                     38788220           $274,643.05     1704799701                      40689556            $415,160.14
 1702056265                     38845368           $176,504.12     1704799706                      40695108            $225,914.29
 1702056326                     33158700           $279,654.72     1704799707                      40695884            $417,506.47
 1702056327                     33158973           $178,994.60     1704799710                      40696916            $165,901.47
 1702056335                     38725297           $200,463.74     1704799713                      40698045            $100,737.88
 1702056352                     33097080           $453,617.84     1704799716                      40699308            $300,425.37
 1702056353                     33103029           $205,183.66     1704799717                      40699324            $276,083.69
 1702056427                     33074105           $113,465.90     1704799722                      40703324            $252,876.41



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702056433                     33079252           $303,045.35     1704799723                      40703415            $149,294.13
 1702056498                     33128349           $167,138.74     1704799733                      40711236            $194,783.44
 1702056499                     33128828           $226,342.03     1704799735                      40711251            $245,129.02
 1702056517                     33135500           $178,643.32     1704799737                      40711475            $201,232.44
 1702056530                     33139536           $272,411.98     1704799738                      40712713            $168,788.59
 1702056544                     33146929           $206,019.21     1704799740                      40713687            $163,388.58
 1702056558                     33153024           $123,670.87     1704799743                      40716052            $166,414.83
 1702056566                     33157058             $5,112.01     1704799745                      40718330            $205,482.89
 1702056616                     33186859           $128,737.17     1704799751                      40722043            $296,889.39
 1702056655                     38706453           $211,838.85     1704799757                      40724528            $222,348.85
 1702056689                     38848669           $108,881.55     1704799759                      40726044            $274,121.13
 1702056693                     38872685            $55,107.25     1704799760                      40726267            $138,071.45
 1702056701                     38891164           $162,192.79     1704799761                      40727430            $207,949.19
 1702056715                     38969903           $119,117.68     1704799765                      40729006            $197,766.13
 1702056732                     33031360            $55,096.35     1704799767                      40733412            $298,489.74
 1702056736                     33044876           $154,936.12     1704799768                      40735532            $169,825.83
 1702056745                     33088188            $78,003.44     1704799769                      40737033            $281,223.78
 1702056759                     33105214           $111,872.76     1704799770                      40737066            $221,693.07
 1702056774                     33119207           $114,526.57     1704799773                      40737488            $330,330.79
 1702056785                     33122847            $73,646.39     1704799776                      40739427            $168,935.59
 1702056802                     33133356            $83,368.93     1704799782                      40740334            $124,596.68
 1702056814                     33141045           $168,695.97     1704799783                      40743775            $308,508.02
 1702056818                     33144551           $235,503.25     1704799784                      40743783            $290,565.35
 1702056840                     33163676           $217,959.41     1704799787                      40746372            $128,598.46
 1702056856                     33173360           $197,452.58     1704799792                      40749822            $177,890.40
 1702056879                     33196817            $88,808.70     1704799794                      40751497            $303,868.03
 1702056885                     33205618           $100,452.08     1704799798                      40753824             $73,656.13
 1702056888                     33210295            $44,933.97     1704799802                      40758401            $250,223.51
 1702056892                     33213166           $119,439.70     1704799803                      40761322            $165,222.05
 1702056912                     38660528            $54,552.73     1704799805                      40763849            $153,745.72
 1702056913                     38671707           $157,427.30     1704799807                      40766479            $167,303.61
 1702056914                     38680344            $86,703.37     1704799810                      40768665            $357,413.47
 1702056924                     38726022            $67,938.71     1704799811                      40770802             $97,455.37
 1702056953                     38803243           $242,599.47     1704799812                      40771321             $60,638.15
 1702056959                     38811386           $200,206.36     1704799813                      40771768            $174,273.91



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702056987                     38887972           $101,558.95     1704799815                      40774416            $300,858.73
 1702243262                     33254566            $71,019.43     1704799817                      40775066            $230,099.61
 1702243313                     33301094            $59,262.31     1704799819                      40778839            $376,579.07
 1702243323                     33314485           $319,823.56     1704799820                      40778979            $126,689.71
 1702243348                     39001060           $163,783.15     1704799824                      45970431            $132,795.59
 1702243581                     33232539           $161,406.99     1704799825                      45994316            $280,159.90
 1702243675                     33273335            $67,927.01     1704799827                      46060505            $218,121.75
 1702243728                     33297938           $175,627.80     1704799828                      46136552            $220,206.85
 1702243803                     39000716            $89,873.85     1704799829                      46169314            $183,620.90
 1702243812                     39043443           $272,092.62     1704799830                      46173704            $194,029.07
 1702243816                     39060322           $197,960.13     1704799831                      46387767            $114,016.47
 1702243828                     39106208           $262,571.75     1704799834                      46412219            $183,465.08
 1702243984                     33262353            $22,302.67     1704799835                      46445797            $291,797.50
 1702244161                     33166448           $260,620.69     1704799842                      46533410             $38,653.63
 1702244192                     33219072           $143,471.21     1704799846                      46570974            $166,144.00
 1702244207                     33228073           $260,237.38     1704799856                      46622163            $339,703.85
 1702244234                     33243262            $47,040.76     1704799862                      46636809            $161,011.60
 1702244268                     33274952           $214,209.54     1704799866                      46658621            $198,691.86
 1702244276                     33286444           $339,543.62     1704799868                      46662433             $73,059.45
 1702244292                     33300674           $204,654.24     1704799872                      46673935            $155,749.77
 1702244337                     38950820           $118,993.01     1704799873                      46675500            $139,315.12
 1702244362                     39100219           $325,068.26     1704799876                      46687059            $165,751.01
 1702244440                     33239161            $45,517.68     1704799877                      46687836            $189,619.27
 1702244591                     39233606           $109,606.56     1704799879                      46697702            $445,273.53
 1702244614                     33219304           $108,231.38     1704799880                      46700555            $107,904.78
 1702244642                     33300690           $112,311.68     1704799884                      46706198            $239,540.70
 1702244857                     39253935           $452,566.37     1704799888                      46715116            $110,660.65
 1702244928                     33247123            $56,917.81     1704799890                      46720710            $169,478.37
 1702245063                     39145313           $121,066.26     1704799891                      46720892             $73,034.36
 1702245067                     39151485           $205,950.88     1704799908                      46744652            $114,834.74
 1702245085                     33082355           $329,749.90     1704799911                      46749271            $158,133.06
 1702245087                     33136581           $250,101.96     1704799913                      46752564            $314,723.08
 1702245105                     33230186           $340,030.01     1704799915                      46756144             $61,775.61
 1702245119                     33273517            $90,791.62     1704799916                      46756383             $88,614.20
 1702245120                     33274028           $219,331.78     1704799917                      46757936             $76,285.17



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702245140                     33325994           $384,636.11     1704799921                      46771887            $245,268.91
 1702449338                     33393182            $83,770.70     1704799927                      46784138             $81,750.55
 1702449389                     33268871           $166,862.09     1704799928                      46784864            $125,718.52
 1702449420                     33322595           $195,665.64     1704799929                      46789814            $102,626.37
 1702449512                     33392283           $109,809.86     1704799934                      46800165            $442,929.04
 1702449540                     33413196           $255,313.21     1704799938                      46804852            $229,700.12
 1702449598                     39310289           $123,061.98     1704799944                      46819512            $218,745.25
 1702449798                     33175365           $310,764.01     1704799946                      46822417            $263,724.44
 1702449837                     33279787           $265,055.37     1704799950                      46839593            $167,203.19
 1702449861                     33311804            $42,362.12     1704799952                      46850590            $171,109.42
 1702449895                     33332958           $107,899.49     1704799953                      46852158            $117,884.74
 1702449904                     33337320           $235,585.29     1704799954                      46852232             $37,317.38
 1702449956                     33362153           $130,624.42     1704799959                      46868212            $252,554.33
 1702449986                     33375056           $213,848.57     1704799964                      46875316            $194,187.19
 1702450041                     33394438           $158,075.44     1704799977                      46904835             $79,603.05
 1702450052                     33400078           $142,895.26     1704799983                      46933479            $225,943.80
 1702450076                     33412800            $57,910.90     1704799984                      46934451            $229,869.76
 1702450119                     33437104           $181,770.44     1704799988                      46945176            $232,599.85
 1702450163                     39224456            $90,879.49     1704799992                      46957601            $169,042.72
 1702450167                     39233853           $169,050.47     1704799994                      46959169            $219,258.12
 1702450169                     39241302           $184,024.71     1704799995                      46962452            $140,732.11
 1702450181                     39323464           $217,424.89     1704799999                      46968079            $188,701.40
 1702450192                     39349147           $127,830.50     1704800000                      46971479            $281,257.56
 1702450225                     39448394           $154,937.29     1704800003                      46974226            $260,636.37
 1702450292                     33309972            $97,336.53     1704800006                      46982377            $243,328.76
 1702450428                     33445230           $135,961.43     1704800007                      46986691            $127,879.71
 1702450461                     39270137            $68,754.21     1704800009                      46990669            $152,059.58
 1702450473                     39294038           $134,733.80     1704800011                      46996021            $229,101.89
 1702450523                     33219122           $109,416.73     1704800012                      46997409            $247,405.78
 1702450524                     33220195           $140,850.70     1704800015                      47000252            $104,532.35
 1702450544                     33342031            $54,304.28     1704800019                      47007836            $107,503.59
 1702450549                     33346669           $110,190.07     1704800021                      47011846             $81,812.09
 1702450560                     33359191            $80,489.39     1704800022                      47012224            $138,033.25
 1702450606                     39267935           $188,471.26     1704800024                      47035282            $244,782.43
 1702450642                     33166398           $100,042.03     1704800026                      47041819            $154,200.74



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702450654                     33274267            $68,823.62     1704800031                      47069620            $124,267.71
 1702450732                     33413352           $116,183.44     1704800032                      47073739            $120,661.49
 1702450737                     33422825           $154,955.60     1704800043                      47112248            $120,652.69
 1702450745                     33447467           $139,810.13     1704800047                      47123021            $171,932.03
 1702450758                     39204532           $115,461.09     1704800049                      47133608            $252,427.83
 1702450788                     39421474           $103,276.26     1704800051                      47144175            $219,624.48
 1702450790                     39428040            $93,091.89     1704800054                      47161286            $303,548.64
 1702450815                     33351552            $92,193.21     1704800061                      40323263            $259,311.69
 1702450826                     33375213            $64,540.62     1704800064                      40460800            $231,273.32
 1702450828                     33391020            $70,179.22     1704800065                      40485831            $244,585.47
 1702450836                     39192455            $74,093.94     1704800068                      40510653            $318,879.91
 1702450839                     39307806            $49,348.02     1704800069                      40513715            $350,153.07
 1702450840                     39321930           $101,929.11     1704800079                      40606378            $141,244.54
 1702450845                     39420823           $227,924.05     1704800080                      40608531            $160,679.45
 1702450854                     39527932           $103,422.51     1704800081                      40610826            $275,455.89
 1702450948                     33349523           $135,128.43     1704800085                      40617847            $480,049.13
 1702450955                     33365537           $351,725.99     1704800086                      40621526            $175,356.36
 1702450969                     33392895           $126,049.76     1704800093                      40633083            $124,249.61
 1702451004                     33318445           $168,780.12     1704800095                      40633687            $360,602.61
 1702451015                     39014733           $100,156.91     1704800097                      40641169            $424,054.06
 1702451048                     39348677           $159,676.23     1704800099                      40641565            $272,233.16
 1702451049                     39349501            $84,938.73     1704800100                      40643595            $101,400.06
 1702451057                     39388608           $104,293.23     1704800103                      40648495            $310,745.53
 1702451061                     39406434           $311,747.60     1704800107                      40653958            $212,508.45
 1702451092                     33272451           $194,007.18     1704800109                      40664427            $171,587.63
 1702451106                     33329400           $145,486.40     1704800110                      40664567            $259,459.99
 1702451141                     33381633           $222,166.78     1704800112                      40665994            $270,487.43
 1702451153                     33414996           $210,824.80     1704800113                      40668683            $373,327.30
 1702451158                     33425661           $159,054.98     1704800115                      40669590            $388,097.82
 1702451165                     33279134           $243,603.86     1704800118                      40671117            $216,659.91
 1702451168                     33388992            $61,948.32     1704800122                      40678237            $330,550.40
 1702451183                     39279864           $104,797.05     1704800123                      40678823            $242,121.49
 1702451197                     39412382           $163,342.24     1704800126                      40685489            $190,648.33
 1702451198                     39426309           $226,457.87     1704800129                      40701518            $237,706.33
 1702451205                     39488077            $89,200.56     1704800131                      40702383            $126,983.56



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702451208                     39537337            $79,175.44     1704800132                      40705642            $283,872.47
 1702451222                     33322645           $115,704.55     1704800134                      40713901            $225,327.20
 1702451224                     33327404           $120,207.77     1704800135                      40714065            $108,099.91
 1702451231                     33379207           $127,214.09     1704800136                      40719700            $348,464.23
 1702685268                     33541145           $131,203.83     1704800137                      40720112            $194,147.96
 1702685325                     33383456           $134,969.05     1704800139                      40723223            $453,765.45
 1702685375                     33455189           $197,348.28     1704800140                      40726481            $144,804.28
 1702685471                     33533712           $278,223.72     1704800141                      40730772            $274,227.56
 1702685565                     39761267           $206,672.85     1704800143                      40735326            $210,696.23
 1702685676                     33545369            $99,333.77     1704800146                      40745226            $205,505.38
 1702685683                     39318878           $117,746.47     1704800147                      40749871            $184,394.41
 1702685815                     33453184           $179,548.53     1704800148                      40757841            $188,538.08
 1702685817                     33454927           $112,878.53     1704800151                      40772584            $202,105.32
 1702685826                     33459561           $143,965.73     1704800155                      46238713            $177,250.13
 1702685855                     33475930           $218,035.60     1704800166                      46601225            $170,448.61
 1702685871                     33486051           $116,485.28     1704800176                      46676300            $108,731.87
 1702685882                     33491564           $183,650.28     1704800178                      46685632            $260,034.37
 1702685890                     33494634           $141,335.43     1704800182                      46702239            $375,545.22
 1702685908                     33505512           $219,200.79     1704800196                      46748596            $123,952.38
 1702685956                     33554346            $90,515.08     1704800200                      46777017            $248,391.37
 1702685965                     39120878           $153,380.83     1704800211                      46824884            $114,497.00
 1702685987                     39496427            $19,048.49     1704800221                      46897401            $170,777.91
 1702686001                     39562988           $197,380.84     1704800232                      46978078            $143,404.54
 1702686021                     39728241           $200,411.61     1704800234                      46980793            $229,069.81
 1702686221                     33443706           $173,203.68     1704800238                      46995775            $109,216.22
 1702686224                     33444076           $127,761.75     1704800241                      47015672            $292,214.21
 1702686239                     33462557           $113,225.51     1704800245                      47047113            $339,157.54
 1702686277                     33503137           $145,764.53     1704800252                      47100334             $93,594.61
 1702686359                     33401944           $211,927.56     1704800259                      47121231            $185,877.52
 1702686375                     33453994           $111,301.58     1704800262                      47155791            $178,794.47
 1702686376                     33456419            $78,779.94     1704800266                      47167895            $170,805.42
 1702686384                     33469446           $125,045.30     1704800267                      47174768            $231,785.08
 1702686428                     33538406           $259,500.94     1704800269                      47194774            $104,615.63
 1702686469                     39751961            $88,069.28     1704800272                      46773768            $426,031.26
 1702686476                     33181082           $287,214.31     1704800280                      40687022            $175,188.94



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702686500                     33467176           $162,946.99     1704800281                      40690430            $233,434.22
 1702686510                     33496605           $182,249.83     1704800286                      40578387            $175,565.39
 1702686518                     33505900            $78,733.79     1704800290                      46550224            $201,484.60
 1702686558                     39619564           $194,215.05     1704800293                      46790267            $236,876.36
 1702686559                     39621412            $65,326.02     1704800302                      40659674            $234,201.54
 1702686566                     39667613            $92,140.63     1704800304                      40704132            $264,372.51
 1702686725                     33543992            $97,928.03     1704800305                      40712309            $175,122.56
 1702686787                   122958549            $152,776.56     1704800308                      40723058            $106,871.85
 1702686816                     39236989           $105,228.27     1704800317                      40762064             $58,813.17
 1702686834                     39528666           $370,440.60     1704800323                      47070636            $108,831.04
 1702686837                     39542030            $89,123.81     1704800329                      40668147             $91,228.52
 1702686840                     39566260           $117,515.42     1704800342                      40752206            $320,324.53
 1702686845                     39621107           $123,083.96     1704800346                      40780595            $310,750.99
 1702686853                     39687819           $125,687.18     1704800348                      40799678            $164,681.60
 1702686856                     39728761           $194,330.64     1704800349                      46422127            $397,922.16
 1702686862                     33131459           $107,264.57     1704800350                      46437539            $106,090.80
 1702686864                     33205436           $255,601.36     1704800351                      46643482            $292,590.38
 1702686867                     33281007           $295,039.68     1704800355                      46920252            $166,917.59
 1702686891                     33451626           $157,957.48     1704800359                      47008115            $151,925.51
 1702686896                     33455080           $181,675.59     1704800361                      47017496            $206,952.59
 1702686932                     33486101           $225,909.00     1704800365                      47040993            $269,651.33
 1702686942                     33494667           $242,143.43     1704800375                      47114962            $235,361.37
 1702686955                     33523705           $168,006.92     1704800382                      47208814            $252,673.68
 1702686967                     33547662           $289,563.56     1704800388                      47258231            $113,302.97
 1702882893                     33408337           $270,476.25     1704800395                      40548869            $491,862.60
 1702882964                     33559618            $99,296.00     1704800401                      40569345            $141,437.87
 1702882985                     33566431           $222,687.81     1704800404                      40580250            $175,443.28
 1702883006                     33582602           $159,948.29     1704800407                      40594632            $212,828.80
 1702883045                     33611237           $272,585.91     1704800410                      40614216             $90,318.08
 1702883139                     39710819           $171,914.24     1704800413                      40618324            $216,152.11
 1702883334                     39756069            $83,913.13     1704800414                      40622599            $318,701.01
 1702883369                     33410010           $349,310.16     1704800418                      40645194            $143,933.90
 1702883373                     33429473           $291,239.01     1704800419                      40654006            $289,498.27
 1702883375                     33452830           $285,389.27     1704800420                      40655193            $449,054.17
 1702883380                     33474891           $241,575.81     1704800426                      40707325            $155,339.13



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702883388                     33487943            $20,026.98     1704800432                      40718959            $212,484.60
 1702883392                     33500323           $144,862.80     1704800434                      40731754            $333,541.26
 1702883419                     33553116           $233,972.45     1704800435                      40733099            $194,931.08
 1702883474                     33583659            $86,449.47     1704800439                      40734063            $302,265.62
 1702883484                     33588229           $111,636.38     1704800445                      40743718            $321,182.36
 1702883511                     33605320            $66,875.68     1704800447                      40745408            $110,626.98
 1702883551                     33632761            $68,583.79     1704800449                      40754681            $107,618.30
 1702883554                     33633728           $326,294.76     1704800452                      40766552            $187,045.32
 1702883561                     33637836           $166,131.66     1704800453                      40771958            $445,342.02
 1702883570                     33640202           $465,971.91     1704800464                      46345195            $108,889.31
 1702883571                     33641762            $75,576.98     1704800471                      46736328            $190,959.34
 1702883611                     33691262           $234,376.30     1704800472                      46772356            $361,492.09
 1702883620                     39597448           $200,420.07     1704800473                      46805784            $126,025.52
 1702883672                     39975719            $58,133.96     1704800475                      46856142            $298,718.41
 1702883742                     33502451            $36,685.84     1704800477                      46936571            $183,715.04
 1702883743                     33503954            $80,501.20     1704800479                      47019724            $275,575.83
 1702883758                     33555186            $76,270.24     1704800480                      47019914             $92,112.97
 1702883760                     33558628           $101,250.40     1704800486                      47081633            $273,864.54
 1702883786                     33597154           $177,241.40     1704800497                      47190012            $259,987.93
 1702883809                     33643420           $154,384.67     1704800507                      40466245            $274,115.26
 1702883849                     39933148            $67,164.84     1704800516                      40588626            $338,699.38
 1702883988                     33516931           $116,530.75     1704800518                      40600843            $264,086.42
 1702884066                     33561689           $108,622.83     1704800523                      40625626            $213,662.83
 1702884073                     33590043           $196,724.39     1704800526                      40635427            $232,765.30
 1702884076                     33591769           $100,724.24     1704800528                      40640062            $210,143.63
 1702884105                     33645748           $201,217.66     1704800530                      40643298             $74,844.81
 1702884109                     33655697           $283,607.15     1704800531                      40647422            $129,255.04
 1702884123                     39831300           $185,035.47     1704800535                      40676199            $285,979.97
 1702884158                     33506247           $250,572.23     1704800536                      40677247            $251,780.91
 1702884166                     33540303           $215,436.92     1704800547                      40714289            $157,818.46
 1702884168                     33555806           $267,760.95     1704800548                      40718421            $327,723.85
 1702884178                     33578147           $158,122.75     1704800550                      40722472            $228,901.32
 1702884182                     33579681           $374,969.18     1704800554                      40726333            $178,876.81
 1702884200                     33610429            $70,592.61     1704800564                      40747495            $314,094.32
 1702884202                     33614728           $131,340.33     1704800565                      40747503            $155,532.71



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702884206                     33623000            $74,409.46     1704800568                      40751612            $310,157.92
 1702884211                     33635426           $292,465.11     1704800570                      40752065            $293,464.65
 1702884222                     33675836           $217,335.14     1704800572                      40752461            $344,920.71
 1702884224                     33684614           $104,761.34     1704800577                      40758534            $308,299.73
 1702884227                     39627369           $253,425.90     1704800579                      40765687            $264,049.82
 1702884232                     39768205           $184,585.92     1704800582                      40768616            $218,979.13
 1702884234                     39780762           $248,550.49     1704800583                      40770430            $507,049.67
 1702884242                     39872031           $374,604.14     1704800584                      40770851            $220,833.24
 1702884371                     33588930           $141,394.00     1704800585                      40772873            $237,534.97
 1702884376                     33605114           $232,861.43     1704800586                      40774499            $328,919.21
 1702884418                     33672015            $66,228.38     1704800592                      40790750            $338,426.35
 1702884421                     33683111           $212,697.10     1704800594                      40793234            $136,209.58
 1702884476                     33588898           $155,154.77     1704800596                      40798704             $88,456.65
 1702884487                     33655614           $172,455.32     1704800597                      46104311            $277,185.23
 1702884512                     39775481           $215,157.59     1704800600                      46454153            $246,247.69
 1702884521                     39834056           $203,337.58     1704800602                      46645545            $263,546.44
 1702884528                     39859764           $206,537.94     1704800606                      46756821            $119,821.15
 1702884549                     45023207           $129,685.55     1704800608                      46872529            $296,344.02
 1702884560                     33369232            $56,868.92     1704800609                      46907119            $294,053.65
 1702884586                     33502733            $68,227.36     1704800615                      46935052            $212,825.01
 1702884615                     33570268           $168,812.70     1704800617                      46960662             $29,218.08
 1702884616                     33572645           $243,471.14     1704800620                      47003926            $227,174.64
 1702884636                     33597741           $193,703.20     1704800621                      47017082            $160,134.98
 1702884661                     33633058            $96,530.74     1704800622                      47020441            $228,461.57
 1702884678                     33654237           $335,956.20     1704800632                      47074208            $328,171.62
 1702884691                     33670373           $263,688.48     1704800634                      47091517            $240,490.12
 1702884738                     39843016           $233,977.03     1704800635                      47102801            $102,474.16
 1702884746                     33551144           $122,830.97     1704800637                      47117866            $183,792.21
 1702884749                     33578535            $72,655.26     1704800645                      47139472            $385,512.12
 1702884751                     33579855           $291,416.44     1704800650                      47153036            $337,100.99
 1702884754                     33599515           $421,330.65     1704800652                      47156617            $127,822.88
 1702884755                     33605213           $189,322.86     1704800654                      47165618            $147,787.10
 1702884761                     33662842           $465,778.18     1704800655                      47168679            $196,176.58
 1702884775                     33491010            $98,307.81     1704800656                      47168760            $249,042.46
 1702884777                     33550385           $141,738.90     1704800659                      47182829            $193,457.61



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702884782                     33618687            $91,447.81     1704800663                      47193214            $249,327.86
 1702884784                     33641473           $152,206.40     1704800665                      47200100            $499,922.14
 1702884789                     39686514           $242,156.79     1704800666                      47206164            $244,215.04
 1702884790                     39686621           $224,857.59     1704800668                      47213566            $251,906.90
 1702884794                     39754122            $89,046.79     1704800670                      47257308            $185,883.72
 1702884795                     39761432            $73,786.24     1704800671                      47257985            $238,352.78
 1702884796                     39761580           $119,373.11     1704800673                      47275615            $184,327.74
 1702884802                     39771738           $221,457.23     1704800675                      40432577            $198,546.49
 1702884803                     39783907           $246,158.86     1704800677                      40574907            $305,124.72
 1702884808                     39835459           $411,777.33     1704800678                      40623399            $171,045.61
 1702884809                     39880489           $387,251.60     1704800680                      40653685            $323,922.00
 1702884817                     33313818           $107,511.15     1704800682                      40668261            $194,826.37
 1702884828                     33602699           $449,421.19     1704800683                      40669541            $378,496.40
 1702884831                     33608290           $129,132.18     1704800684                      40673865            $336,563.77
 1702884838                     33635269           $137,592.28     1704800685                      40687246            $372,900.08
 1702884843                     33649070           $141,731.85     1704800686                      40689333            $364,059.47
 1702884857                     33276320           $208,487.66     1704800687                      40695157            $178,005.29
 1702884863                     33344128           $694,930.69     1704800690                      40705253            $222,518.60
 1702884866                     33347006           $273,631.68     1704800691                      40705550            $336,886.62
 1702884872                     33379181           $103,758.13     1704800693                      40713513            $246,579.33
 1702884884                     33430646           $279,914.65     1704800702                      40730236            $369,464.25
 1702884889                     33440595           $158,975.65     1704800707                      40740441            $116,617.61
 1702884895                     33462862           $276,132.20     1704800708                      40741357            $186,103.39
 1702884907                     33480252           $145,713.17     1704800712                      40748964            $201,852.83
 1702884910                     33489949           $169,093.02     1704800716                      40764235            $210,027.51
 1702884918                     33503533            $96,809.02     1704800721                      40784340            $378,921.58
 1702884921                     33505850           $143,170.32     1704800722                      40785321            $225,885.85
 1702884940                     33528183           $316,051.21     1704800727                      46702494            $246,030.98
 1702884946                     33535428           $386,231.50     1704800728                      46712204            $166,217.39
 1702884957                     33545443            $87,070.31     1704800730                      46822599            $380,179.26
 1702884962                     33549379            $65,961.41     1704800735                      46975512            $158,449.93
 1702884963                     33549965           $160,825.17     1704800736                      46981874            $115,211.92
 1702884965                     33552159           $409,004.08     1704800739                      46990735            $231,634.49
 1702884975                     33557943             $8,064.66     1704800741                      47012240            $219,678.47
 1702884976                     33558222           $132,492.89     1704800742                      47014659            $111,234.69



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702884987                     33562638           $417,689.32     1704800758                      47102728            $121,765.21
 1702885001                     33566340            $63,633.92     1704800763                      47128756            $245,639.37
 1702885003                     33567009            $62,331.72     1704800767                      47156567            $169,735.33
 1702885016                     33578881           $112,068.61     1704800769                      47170709            $262,409.07
 1702885036                     33592361           $245,704.27     1704800771                      47177563            $177,162.75
 1702885056                     33599853           $270,515.26     1704800772                      47195953            $158,408.69
 1702885067                     33604588           $504,653.09     1704800776                      47220041            $182,589.82
 1702885073                     33608837           $207,662.21     1704800781                      47258496            $181,773.08
 1702885086                     33620733            $99,821.93     1704800784                      40757593            $196,373.61
 1702885087                     33620758           $151,788.52     1704800785                      46869376            $293,893.95
 1702885091                     33622168           $175,453.99     1704800786                      46496519            $313,210.87
 1702885106                     33631722           $371,661.64     1704889294                      40736373             $84,328.66
 1702885108                     33633314           $288,711.50     1704889303                      40769044            $114,758.02
 1702885110                     33633975            $54,459.20     1704889409                      40549503            $270,515.23
 1702885111                     33634239            $56,012.71     1704889419                      40737512            $186,144.39
 1702885115                     33638024           $132,842.57     1704889434                      40768285            $188,267.80
 1702885116                     33638891           $118,442.85     1704889436                      40771453             $59,693.77
 1702885128                     33648981           $248,596.50     1704889442                      40797953            $124,182.39
 1702885157                     33669110           $184,061.93     1704889445                      40808164            $241,770.25
 1702885164                     33679580           $146,677.53     1704902369                      40587479            $249,388.92
 1702885203                     39577135           $238,544.30     1704902473                      40793085            $374,119.55
 1702885213                     39629696           $239,557.64     1704902480                      40804965            $253,022.33
 1702885218                     39640073           $242,474.78     1704902533                      47275169             $93,851.56
 1702885222                     39678057            $17,514.28     1704902545                      47310214            $142,832.95
 1702885237                     39723473           $318,968.24     1704902555                      47330485             $33,103.35
 1702885244                     39744446           $270,777.59     1704902586                      40473712            $174,882.06
 1702885245                     39761028           $185,942.21     1704902592                      40569626            $316,386.77
 1702885251                     39775283           $149,241.21     1704902610                      40743460            $211,072.00
 1702885260                     39816566           $134,058.44     1704902613                      40752982            $123,724.06
 1702885267                     39843313           $189,152.95     1704902657                      40809964            $134,514.77
 1702885272                     39848916           $183,270.31     1704902673                      40820250            $247,460.65
 1702885289                     39903638           $316,316.93     1704902676                      40820516            $355,566.17
 1702885294                     39910344           $299,592.56     1704902727                      47302898            $276,756.89
 1702885302                     39938097           $179,935.34     1704902783                      40776601            $240,881.29
 1702885306                     45001617           $434,864.00     1704902792                      40795700            $199,728.96



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702885309                     45018108           $257,333.93     1704902812                      40837502            $157,310.57
 1702885311                     45041514            $88,029.01     1704902832                      47123666            $196,556.75
 1702885320                   122955917            $206,152.69     1704902847                      47217625            $222,016.86
 1702885322                   122134307            $166,827.71     1704902854                      47246350            $360,517.84
 1702885335                   123160590            $380,092.79     1704902858                      47265665            $301,241.47
 1702885337                   123160723            $224,233.72     1704902870                      47312244            $118,637.74
 1702885348                     33305079           $161,499.53     1704902897                      40422412            $210,425.25
 1702885353                     33371063           $130,673.64     1704902903                      40642811            $302,959.47
 1702885358                     33413485           $192,863.82     1704902904                      40654618            $202,595.24
 1702885364                     33440975           $141,399.32     1704902911                      40716367            $187,115.02
 1702885374                     33471988           $142,969.09     1704902915                      40719445            $267,990.49
 1702885386                     33497645            $77,445.99     1704902932                      40772907            $229,487.97
 1702885391                     33505314           $148,427.70     1704902933                      40773657            $271,079.23
 1702885402                     33527094            $67,520.00     1704902936                      40777120            $289,008.93
 1702885407                     33529314           $109,875.53     1704902939                      40779498            $198,147.62
 1702885408                     33535386           $217,417.62     1704902974                      40804718            $102,954.28
 1702885427                     33556218           $259,633.89     1704902975                      40805335            $120,179.02
 1702885451                     33570581            $74,136.57     1704903041                      47198411            $325,211.84
 1702885454                     33571050           $154,532.95     1704903053                      47263678            $183,617.68
 1702885494                     33605197           $205,288.96     1704903056                      47275193            $195,760.54
 1702885531                     33621699           $411,805.60     1704903060                      47285135            $139,252.77
 1702885558                     33647017           $155,105.96     1704903079                      47339965            $244,595.50
 1702885560                     33648056           $252,710.87     1704903088                      47367644            $266,742.74
 1702885568                     33662859           $189,970.99     1704903148                      40815045            $305,281.84
 1702885603                     39457809           $201,122.24     1704903149                      40824534            $192,494.02
 1702885607                     39483995            $60,125.95     1704903156                      47226725             $88,439.10
 1702885617                     39531504           $274,079.56     1704903219                      40798068            $150,319.76
 1702885620                     39544168           $133,965.87     1704903311                      40838898            $354,442.16
 1702885626                     39549852            $79,851.26     1704903468                    123194839              $92,986.65
 1702885630                     39583935            $78,428.82     1704903528                      40701633            $280,570.52
 1702885631                     39589130           $152,847.31     1704903530                      40707408            $279,147.79
 1702885632                     39592993            $62,123.70     1704903534                      40722209            $301,264.68
 1702885635                     39627138           $231,161.85     1704903542                      40737157            $222,087.22
 1702885645                     39695499           $216,434.27     1704903544                      40738619            $265,863.38
 1702885666                     39739925           $125,509.10     1704903553                      40747545            $246,243.16



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702885676                     39762794           $213,338.98     1704903561                      40755480            $452,920.23
 1702885680                     39765557           $162,449.90     1704903563                      40757015            $149,167.63
 1702885691                     39796313           $147,015.18     1704903567                      40765760            $282,403.32
 1702885696                     39802129           $124,518.86     1704903634                      47027610            $125,958.74
 1702885708                     39846183           $122,551.51     1704903639                      47072426            $265,994.71
 1702885727                     39903000           $270,125.70     1704903689                      40777393            $173,690.50
 1702885747                     39972625           $139,180.45     1704903704                      40818106            $127,465.27
 1702885786                   123161515            $270,936.55     1704903708                      40829160            $204,234.57
 1702885807                     39575568           $126,563.59     1704903760                      40771248             $80,998.56
 1702885811                     39677158           $219,315.10     1704903765                      40775322             $66,065.38
 1702885815                   122201221            $192,433.27     1704903790                      47180435             $58,687.09
 1702885823                   122577026            $199,236.46     1704903873                      47148457             $74,938.79
 1702885834                   123153843            $104,295.96     1704903879                      47258181            $487,763.25
 1702885844                     33274903           $222,227.96     1704903894                      47360995            $105,529.63
 1702885865                     33451915           $163,385.38     1705139178                      40018442            $191,618.46
 1702885873                     33468034            $23,150.01     1705139206                      40476681            $178,530.58
 1702885874                     33468422           $181,562.01     1705139221                      40425753            $133,713.51
 1702885876                     33472069           $373,647.90     1705139227                      40712218            $236,525.18
 1702885884                     33489915           $134,715.96     1705139235                      40794471            $193,080.60
 1702885892                     33497306           $151,459.11     1705139237                      40813032            $346,919.15
 1702885903                     33505116           $102,822.44     1705139274                    123608689             $425,279.77
 1702885909                     33515578           $255,997.95     1705145807                    124461716             $214,606.84
 1702885913                     33518747           $202,477.07     1705145851                      40139461             $54,005.42
 1702885914                     33518895           $245,382.24     1705145932                      40428252            $153,047.82
 1702885924                     33531096           $189,960.18     1705145954                      40113458             $43,522.42
 1702885931                     33535642           $281,973.13     1705145960                      40840514             $86,715.46
 1702885933                     33536855           $147,037.67     1705145965                      45338183             $60,307.24
 1702885946                     33544693           $313,458.02     1705145985                      40703597            $183,403.97
 1702885947                     33545336            $97,636.38     1705145995                      40777401            $215,846.18
 1702885958                     33552639           $221,754.08     1705146008                      40830465            $383,941.10
 1702885969                     33558768           $206,162.84     1705146018                      46531315            $311,822.35
 1702885971                     33559014           $247,720.25     1705146040                      47394861            $218,434.67
 1702885986                     33565193           $159,272.40     1705146051                    124707928              $83,068.58
 1702886000                     33570623           $290,738.62     1705146053                      40300501             $22,878.32
 1702886013                     33576133           $123,493.64     1705146083                      40865024             $59,365.18



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702886027                     33582479           $206,736.70     1705146115                      47556196             $71,477.51
 1702886048                     33592684           $151,733.85     1705146144                      33665951            $142,561.92
 1702886052                     33595638           $138,637.57     1705146146                      40554974            $270,551.87
 1702886058                     33597881           $131,855.67     1705146153                      46727061            $174,262.00
 1702886065                     33599960           $190,752.66     1705146188                      47428362            $146,040.88
 1702886066                     33599986            $84,396.81     1705146199                      47557673            $191,284.42
 1702886097                     33613829           $249,541.40     1705146201                      47575774             $65,712.05
 1702886105                     33615725           $181,769.52     1705146233                      46329074            $370,760.22
 1702886122                     33627142           $214,503.92     1705146255                      47446166            $160,484.56
 1702886126                     33631250           $183,557.54     1705146257                      47462023            $100,946.22
 1702886141                     33636937           $150,380.20     1705146259                      47479894             $94,596.11
 1702886148                     33640905           $278,388.12     1705146264                      47516356            $154,215.59
 1702886162                     33647793            $92,706.83     1705146277                      47583992            $346,500.43
 1702886164                     33648320           $192,345.58     1705146282                      47610993             $90,148.93
 1702886168                     33652447           $132,366.06     1705146283                      47611090             $81,071.64
 1702886184                     33663105           $297,066.63     1705146286                      33783648            $168,715.84
 1702886209                     33674383           $197,052.90     1705146304                      40562068             $74,086.73
 1702886217                     33682915           $244,549.62     1705146323                      40803298            $116,352.38
 1702886235                     39279310           $294,874.38     1705146324                      40811275            $100,143.60
 1702886241                     39399506           $274,403.13     1705146390                    124643602             $208,335.67
 1702886246                     39550272           $108,083.39     1705146403                      40492761            $209,329.88
 1702886247                     39550959            $84,044.66     1705146426                      40619694            $222,237.13
 1702886260                     39624044           $311,369.16     1705146458                      40847204            $190,188.14
 1702886264                     39634480           $290,778.87     1705146481                      46998860            $306,690.87
 1702886271                     39660089           $312,829.47     1705146483                      47107974            $155,444.09
 1702886274                     39666581           $137,314.35     1705146490                      47288758            $457,827.60
 1702886291                     39715115           $140,504.38     1705146500                      47370820            $104,269.62
 1702886298                     39736509           $232,828.88     1705146507                      47444179            $111,184.53
 1702886301                     39739776           $189,840.81     1705146508                      47444252            $111,586.23
 1702886309                     39753827           $104,683.58     1705146511                      47485917            $193,397.84
 1702886330                     39807516           $311,232.54     1705146514                      47505425            $211,278.15
 1702886333                     39814165           $215,828.39     1705146515                      47508270            $269,678.12
 1702886335                     39822663           $326,724.77     1705146529                      47596226            $269,469.03
 1702886352                     39864806           $318,282.43     1705146551                      40828048            $198,720.03
 1702886361                     39884499           $188,954.42     1705146561                      40853533            $232,874.44



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702886370                     39905609           $187,940.63     1705146574                      47165477            $291,574.35
 1702886404                     45018769           $206,560.82     1705146597                      47476890            $127,731.81
 1702886406                     45019965           $197,069.36     1705146601                      47529243            $315,859.90
 1702886444                     33258252           $155,703.76     1705146612                      47613567            $388,025.35
 1702886459                     33423831           $158,679.81     1705146620                      40349334            $224,322.34
 1702886472                     33466830           $296,059.03     1705146630                      40851453            $239,220.74
 1702886478                     33474958           $394,385.92     1705146637                      47376975            $227,276.39
 1702886500                     33506304           $145,320.71     1705375530                      40545741            $408,473.73
 1702886506                     33516311           $176,592.13     1705375533                      40615189            $118,694.31
 1702886512                     33525585           $214,847.32     1705375612                      40571630            $152,777.37
 1702886514                     33527284           $167,148.62     1705375644                      46289559            $151,085.29
 1702886524                     33539313           $182,590.90     1705375656                      46670048            $116,592.80
 1702886561                     33562745           $220,669.45     1705375668                      47179452            $316,771.44
 1702886571                     33567694            $93,003.54     1705375671                      47201934            $431,790.79
 1702886572                     33567835           $183,913.08     1705375672                      47269766            $243,607.28
 1702886577                     33569690            $56,132.71     1705375679                    124456377             $424,847.12
 1702886584                     33578451           $237,371.86     1705375699                      40519720            $111,205.74
 1702886590                     33580960           $171,020.75     1705375702                      40530966            $128,506.04
 1702886598                     33586124           $190,918.09     1705375710                      40562175            $242,675.57
 1702886607                     33591900           $153,657.11     1705375716                      40572240            $188,169.20
 1702886616                     33597733           $169,689.85     1705375717                      40575482            $153,817.03
 1702886617                     33598038           $211,601.27     1705375723                      40594939            $152,367.34
 1702886618                     33598616           $146,072.01     1705375724                      40602385            $314,617.56
 1702886640                     33612557           $339,736.31     1705375726                      40605552            $192,829.33
 1702886658                     33626375           $205,948.29     1705375728                      40612533            $205,701.97
 1702886673                     33638180            $80,708.59     1705375745                      40741175            $190,432.26
 1702886699                     33653767           $164,351.66     1705375747                      40766081            $119,374.20
 1702886709                     33661877           $113,598.14     1705375749                      40792145            $176,664.93
 1702886718                     33670910           $118,330.83     1705375757                      40839268            $246,025.56
 1702886739                     39321559           $185,766.59     1705375775                      46368197            $132,529.07
 1702886753                     39542402           $312,642.94     1705375776                      46372181            $146,392.05
 1702886760                     39591979           $288,568.88     1705375790                      46547089            $280,827.40
 1702886764                     39613369            $45,506.54     1705375797                      46616561            $123,028.79
 1702886766                     39656962           $231,903.89     1705375808                      46790200            $166,548.34
 1702886773                     39702535           $168,605.28     1705375811                      46899316            $159,853.64



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                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702886784                     39775598            $99,872.76     1705375812                      46947487            $260,154.14
 1702886791                     39804042           $212,343.53     1705375817                      47117478            $127,172.58
 1702886800                     39840848           $204,340.79     1705375827                      47248588             $98,029.07
 1702886808                     39872924           $165,100.29     1705375828                      47251418            $300,410.29
 1702886812                     39902168           $343,287.67     1705375853                      47408075            $201,353.89
 1702886816                     39915863           $168,928.06     1705375882                      40335986            $201,336.99
 1702886817                     39916317           $184,006.22     1705375893                      46382305            $273,633.27
 1702886829                     39953435           $168,288.14     1705375921                    124645128             $106,581.87
 1702886835                     39991179           $198,563.54     1705375929                      40670846            $133,453.23
 1702886838                     45008232           $435,109.94     1705375933                      40708208            $258,292.77
 1702886842                     45018330           $203,085.98     1705375959                      46936241            $244,546.72
 1702886843                     45019924           $239,123.54     1705375971                      47188529            $171,710.89
 1702886855                   123160681            $223,522.19     1705375994                      40600538             $77,754.32
 1702886857                   123161218            $330,987.61     1705375995                      40615460            $354,742.22
 1702886859                   123161374            $177,154.16     1705376041                      46832440            $202,948.26
 1702886862                     33213299           $181,807.36     1705376096                      40693889            $205,983.94
 1702886869                     33308321           $375,722.77     1705376113                      40708216            $153,088.11
 1702886877                     33384710           $385,575.47     1705376114                      40760720            $131,960.96
 1702886890                     33446998           $296,001.96     1705574859                      47505896             $82,579.73
 1702886891                     33447053           $363,903.03     1705574896                      40848434            $244,143.31
 1702886894                     33453143           $186,459.97     1705574918                      47639935            $105,546.48
 1702886895                     33455155           $104,633.62     1705574930                      40849986            $316,816.45
 1702886900                     33466905           $166,254.79     1705574946                      47586722            $196,352.07
 1702886901                     33467069           $108,418.98     1705574953                      47613963            $251,888.44
 1702886906                     33477670           $160,227.83     1705717693                    124991860             $163,653.99
 1702886907                     33481094           $219,732.49     1705717714                    124975897             $102,731.76
 1702886909                     33487422           $134,547.20     1705717742                    125003905              $60,970.31
 1702886920                     33512450           $151,377.69     1705717747                    124980095              $49,116.09
 1702886935                     33536954           $204,888.15     1705717767                    124976184             $116,638.73
 1702886978                     33566092           $124,193.60     1705717777                    124979865             $242,142.58
 1702886980                     33566191           $244,370.36     1705717778                    124980939             $130,539.99
 1702886989                     33570565           $363,904.01     1705717781                    124989666             $112,934.06
 1702886997                     33575408           $391,531.22     1705717845                    124965443             $171,412.49
 1702887000                     33576513           $292,938.34     1705717846                    124966086              $58,534.50
 1702887002                     33578162           $504,217.59     1705717854                    124961624             $127,909.42



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                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702887003                     33581661           $198,801.05     1705717861                    124974833             $298,914.79
 1702887006                     33586082           $205,974.02     1705717870                    125002402              $99,777.14
 1702887008                     33586553           $187,937.40     1705717889                    124976978             $340,351.59
 1702887034                     33604984           $231,063.87     1705717921                    125013094             $332,878.64
 1702887048                     33618471           $206,188.45     1705717923                    124984626             $177,060.17
 1702887054                     33620543           $282,630.66     1705724633                      47464656            $160,284.90
 1702887064                     33627050           $118,190.41     1705724678                      47488333            $129,848.36
 1702887066                     33627589           $208,619.86     1705724684                      47714191            $136,286.43
 1702887079                     33634866            $97,780.14     1705724687                      47795521             $76,589.80
 1702887084                     33638107            $77,319.81     1705725549                      47708110             $60,784.47
 1702887088                     33640103           $297,164.82     1705725550                      47718721            $119,753.67
 1702887090                     33641713           $222,069.85     1705725599                      47682778            $158,668.82
 1702887095                     33644477           $102,411.94     1705725624                      47753744             $88,745.45
 1702887103                     33659020           $214,265.37     1705725640                      40851628            $147,948.80
 1702887121                     33674169            $94,144.27     1705725652                      40885253            $205,383.05
 1702887122                     33674342           $241,694.72     1705725678                      47643762            $280,552.25
 1702887128                     33687948           $111,544.94     1705725688                      47667514            $300,801.62
 1702887150                     39486402           $136,045.96     1705725705                      47692728             $91,501.41
 1702887155                     39543889           $138,478.66     1705725746                      47779798             $95,914.15
 1702887171                     39646146           $170,951.47     1705933159                      40843484            $107,442.85
 1702887178                     39694526           $254,991.82     1705933207                      40863425             $50,052.95
 1702887190                     39754502           $173,426.00     1705933436                      47805387            $218,836.31
 1702887195                     39783394           $529,869.41     1705933476                      47886213             $62,176.92
 1702887220                     39884531           $182,128.66     1705933479                      47887674            $166,662.22
 1702887228                     39898655           $197,605.57     1705933644                      47592894            $152,486.14
 1702887231                     39913363           $406,029.79     1705933676                      47755145            $223,222.31
 1702887234                     39927546           $197,686.85     1705933694                      47793104            $192,687.64
 1702887238                     39928973           $188,726.55     1705933713                      47816202            $199,482.50
 1702887271                   122955651             $92,770.72     1705933747                      47887062            $152,510.76
 1702887298                     33458191           $158,839.18     1705933831                      47730098            $214,746.66
 1702887299                     33463852            $23,016.43     1705933857                      47792064            $165,047.38
 1702887330                     33559642           $218,496.13     1705933863                      47803028             $63,712.27
 1702887334                     33564683           $209,559.92     1705933903                      40884983            $169,129.11
 1702887348                     33591322           $152,524.06     1705933907                      40891905            $187,332.95
 1702887372                     33615113           $186,637.44     1705933923                      47770003            $300,611.03



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                                                           Exhibit A
                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702887383                     33625583           $165,386.39     1705933939                      40888257            $209,512.60
 1702887385                     33628918           $243,379.79     1705934361                      47787809            $303,912.14
 1702887387                     33631128           $146,574.66     1705934378                      40883415            $145,516.49
 1702887394                     33647975           $316,894.22     1705934381                      47697586            $230,054.18
 1702887398                     33653759           $182,754.27     1705934382                      47697685            $238,607.84
 1702887399                     33654070           $308,791.61     1705934385                      47750898            $247,002.93
 1702887417                     33691361           $218,826.22     1705935895                      47827613             $99,396.40
 1702887429                     39509138           $151,082.88     1705935920                      40890964            $204,733.19
 1702887440                     39659750           $110,483.91     1705935978                      47920061             $89,668.38
 1702887447                     39733555           $210,654.33     1705935992                      47722574            $177,192.58
 1702887450                     39761648           $188,212.55     1705935993                      47729702            $229,107.34
 1702887457                     39846209           $253,274.03     1705935994                      47733316            $247,952.89
 1702887466                     39887260            $34,577.62     1705935996                      47763586            $365,784.41
 1702887473                     39932017           $155,558.20     1705935998                      47782818            $207,468.26
 1702887486                   122955628            $240,719.17     1706210648                      48028146             $81,149.92
 1702887487                   122955636            $117,063.95     1706210660                      47719307            $373,059.29
 1702887489                   123159022            $102,560.15     1706210664                      47816285            $151,567.28
 1702887492                   123160749            $333,740.87     1706210670                      47889035             $55,348.93
 1702887500                     33404674           $309,006.53     1706210700                      47988449             $85,879.38
 1702887524                     33518168           $336,086.76     1706210713                      40919821            $119,531.72
 1702887531                     33535261           $236,031.03     1706210737                      47871702             $95,708.29
 1702887536                     33539461           $130,154.04     1706210747                      47726278            $137,093.54
 1702887539                     33540659           $126,606.63     1706210768                      47710231            $241,309.90
 1702887547                     33550351           $165,633.24     1706210780                      47807979            $243,542.18
 1702887560                     33564899           $158,028.97     1706210782                      47829734            $237,830.35
 1702887561                     33565565           $405,768.23     1706210798                      48027270            $121,041.31
 1702887564                     33569161           $104,441.05     1706210806                      40904724             $93,687.02
 1702887565                     33570011           $247,300.98     1706210815                      47692165            $259,861.06
 1702887573                     33585092           $363,202.85     1706210820                      47823844            $225,754.10
 1702887617                     33647322           $139,438.72     1706210822                      47826474            $126,419.92
 1702887625                     33650946           $241,342.58     1706210846                      47668033            $276,600.76
 1702887628                     33655887           $131,275.63     1706210856                      47955133            $321,616.10
 1702887636                     33668120           $163,168.20     1706210881                      40692865            $433,711.03
 1702887645                     33681297           $157,080.77     1706210887                      47266093            $258,753.08
 1702887655                     39587100           $284,809.27     1706210903                      47468186            $226,019.17



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                                                           Exhibit A
                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702887694                     39968508           $203,376.36     1706210906                    123968158              $82,070.10
 1702887721                     33485426           $129,164.06     1706210918                      40784928            $149,964.30
 1702887727                     33504879           $212,105.20     1706210928                      40852261            $186,398.81
 1702887729                     33507013           $192,547.83     1706210935                      47070784            $130,723.05
 1702887737                     33534942           $366,325.16     1706210941                      47220348            $312,773.77
 1702887739                     33535246           $158,458.73     1706210947                      47280292            $178,529.52
 1702887746                     33552449           $261,330.28     1706210956                      47384789            $100,989.96
 1702887751                     33559972           $227,580.03     1706210957                      47391818            $266,510.18
 1702887754                     33564980           $349,552.93     1706210960                      47404447            $209,187.19
 1702887760                     33569468           $260,707.64     1706219012                      47862487             $57,681.05
 1702887762                     33570433           $247,094.12     1706219083                      40874703            $112,358.87
 1702887767                     33577503           $192,185.12     1706219211                      47890223            $122,019.95
 1702887769                     33582701           $178,273.25     1706219239                      47929179             $46,463.04
 1702887775                     33587148           $148,248.24     1706219314                      47684816            $102,760.65
 1702887786                     33604398           $146,048.57     1706219329                      47809520            $340,753.98
 1702887789                     33607771           $154,725.59     1706219356                      47899612            $230,406.08
 1702887798                     33624651           $296,364.70     1706219382                      47950001            $265,227.23
 1702887800                     33627266           $255,230.72     1706219383                      47953658            $349,124.11
 1702887804                     33632274           $177,557.63     1706219403                      47615596            $239,269.55
 1702887814                     33643248           $214,320.78     1706219405                      47658380            $274,628.48
 1702887820                     33648692           $360,515.75     1706219412                      47866421            $197,787.22
 1702887835                     39442298           $202,493.05     1706219420                      47921333            $413,743.00
 1702887848                     39664800           $236,382.33     1706219428                      47977533            $318,664.70
 1702887854                     39709670           $164,404.47     1706219432                      40904088            $271,584.99
 1702887855                     39732318            $94,963.30     1706219434                      40909137            $226,807.35
 1702887862                     39755525            $68,076.64     1706219440                      47634894            $242,834.31
 1702887865                     39761713           $297,243.56     1706219446                      47733761            $167,709.11
 1702887869                     39797618           $173,567.04     1706219454                      47774252            $185,799.74
 1702887881                     39898838           $206,188.92     1706219484                      47895917            $382,188.24
 1702887886                     39927207           $313,704.70     1706497610                      40907388            $118,732.81
 1702887888                     39938279           $113,615.40     1706497704                      47894365            $359,802.61
 1702887890                     39953575           $240,889.49     1706497717                      47977210            $254,386.57
 1702887903                   123159501            $134,300.03     1706497769                      48052948             $78,880.30
 1702887910                     33114612           $166,043.08     1706497773                      48057905            $245,075.07
 1702887915                     33289703           $384,343.68     1706497833                      47833454            $159,713.76



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                                                           Exhibit A
                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702887918                     33327263           $133,739.78     1706497852                      47933817            $157,657.17
 1702887926                     33357989           $244,793.07     1706497871                      47976733            $153,556.37
 1702887929                     33370958           $130,945.35     1706497874                      47982053             $88,989.33
 1702887930                     33380734           $222,304.11     1706497898                      48016711            $335,596.74
 1702887931                     33383605           $112,698.54     1706497944                      47919113            $318,381.13
 1702887932                     33388257           $236,123.17     1706497960                      48001366            $177,159.17
 1702887934                     33389651           $147,656.07     1706497965                      48039416            $309,793.66
 1702887935                     33400193            $87,215.26     1706497972                      40914368            $192,557.24
 1702887938                     33407586           $297,681.91     1706497977                      47940119             $88,618.54
 1702887943                     33422189           $215,077.79     1706497980                      47976758            $403,466.86
 1702887944                     33423005            $91,676.81     1706497985                      48005276            $204,461.23
 1702887962                     33452095           $216,604.49     1706497986                      48016273            $155,883.35
 1702887978                     33477035            $84,863.64     1706497999                      47988118            $329,915.43
 1702887981                     33477662           $228,605.36     1706498001                      47995345            $135,488.21
 1702887983                     33480872           $336,216.47     1706742054                      47732300            $188,901.92
 1702887990                     33489931           $276,418.61     1706746777                      40932782             $90,399.64
 1702887992                     33492224           $149,242.14     1706746893                      40872905            $247,750.80
 1702887996                     33499062           $189,373.35     1707005479                      47962451            $362,862.55
 1702888012                     33518234           $130,261.79     1707009944                      47888946            $298,058.45
 1702888016                     33519745           $690,563.99     1707010015                      47805502            $263,950.55
 1702888017                     33520834           $215,993.46     1707010021                      47981584            $555,780.46
 1702888018                     33523739           $232,045.14     1707010217                      47884937            $148,127.05
 1702888019                     33523747           $182,739.40     1707010223                      48011043            $178,677.84
 1702888029                     33528985           $147,588.25     1707010233                      47778675            $348,796.52
 1702888031                     33531849           $299,004.96     1707010271                      47741491            $220,156.24
 1702888033                     33532581            $77,633.64     1707428827                      48038269            $284,371.27
 1702888035                     33534249           $195,319.10     4004234458                   1100061589             $100,501.16
 1702888043                     33539594           $340,413.21     4005559886                      39106810            $123,753.13
 1702888049                     33544651           $114,419.51     4005631690                      24429920            $248,316.99
 1702888053                     33545120           $313,784.26     4005631716                      24447047             $57,043.63
 1702888057                     33546177           $117,098.90     4005631846                      24487118            $230,815.12
 1702888069                     33552076           $289,739.76     4005631855                      24487944            $207,972.49
 1702888076                     33556366           $152,984.74     4005631894                      24509192            $205,453.52
 1702888086                     33561523           $132,899.39     4005631929                      24512568            $187,279.80
 1702888087                     33561614           $259,395.19     4005631999                      24535676            $110,957.02



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                                                           Exhibit A
                                                  Rep & Warranty Default Loans

                                            Actual Make-Whole                                                 Actual Make-Whole
                                                   Claim                                                             Claim
                                             Amount/Damage                                                     Amount/Damage
FNMA Loan ID   Acquisition Loan ID Number        Amount          FNMA Loan ID    Acquisition Loan ID Number        Amount
 1702888088                     33561788           $265,643.97     4005632045                      24543290            $139,739.05
 1702888098                     33564584           $242,384.10     4005632050                      24543597            $137,433.22
 1702888101                     33565185           $387,943.44     4005632128                      24566887            $170,318.63
 1702888110                     33568007            $36,164.55     4005632139                      24570376            $253,859.00
 1702888131                     33572736           $146,073.68     4005632228                      24589517            $279,308.52
 1702888132                     33573247           $364,886.92     4005632233                      24594954            $250,783.61
 1702888144                     33576539           $179,652.22     4005632253                      24598245            $211,438.11
 1702888148                     33576927           $326,914.70     4005632267                      24606899            $181,278.83
 1702888156                     33578634           $643,672.98     4005632282                      24608127            $129,173.76
 1702888173                     33588625           $229,830.27     4005632365                      24622144            $125,578.24
 1702888183                     33591876           $245,444.40     4005632460                      24645335            $165,880.08
 1702888184                     33591884           $266,971.14     4005632540                      24429615            $208,223.03
 1702888186                     33593443           $178,802.92     4005632594                      24447781            $186,022.90
 1702888196                     33598459           $174,660.27     4005632633                      24453706            $225,233.65
 1702888202                     33601147           $332,279.14     4005632742                      24485245            $200,449.60
 1702888204                     33602673           $439,884.61     4005632743                      24485518            $218,045.48
 1702888209                     33604489            $78,495.15     4005632775                      24489247            $254,458.42
 1702888211                     33604638           $263,311.23     4005632841                      24512501             $59,773.00
 1702888228                     33611708           $279,160.32     4005632854                      24513681            $168,972.00
 1702888230                     33611757           $337,376.67     4005632883                      24525735            $198,361.27
 1702888235                     33612748           $286,846.70     4005633029                      24567067            $201,134.01
 1702888236                     33612771           $234,623.32     4005633075                      24573495            $131,612.47
 1702888237                     33613068           $140,740.90     4005633118                      24584567            $337,603.07
 1702888239                     33613381           $318,577.36     4005633147                      24587701            $117,127.24
 1702888246                     33615618           $134,371.47     4005633231                      24608507            $124,066.38
 1702888257                     33621368           $354,273.69     4005633264                      24617995            $205,901.85
 1702888265                     33626276           $253,630.18     4005633381                      24656258            $195,675.11
 1702888269                     33626581           $153,813.37     4005633548                      24608200            $239,554.37
 1702888279                     33632522           $286,047.88     4005633554                      24609588            $248,822.35
 1702888284                     33633116           $200,348.97     4005633569                      24623621            $224,043.18
 1702888291                     33637182            $50,665.77     4005633597                      24649261            $214,993.58
 1702888299                     33640814           $132,773.79      4005633687                     24621104            $139,303.42
                                                                 Total Loan
 1702888308                     33647462           $384,332.32   Count: 7,625




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                                             EXHIBIT B
                                             (Loan File)

 As used in the Agreement, the term “Loan File” shall include, but not be limited to, the following
 information organized by loan:

     1. Loan Origination and Underwriting File (including loan application and credit
        underwriting documents)

     2. Deed of Trust or Mortgage

     3. All Allonges and Assignments




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                                              EXHIBIT C
                                            (Servicing File)

 As used in the Agreement, the term “Servicing File” shall include, but not be limited to, the
 following information organized by loan:

     1. Payment History

     2. Collection Notes

     3. Servicing Notes

     4. Loss Mitigation File (if any)

     5. Foreclosure File (if any)

     6. Bankruptcy File (if any)

     7. Any correspondence to or from the borrower or other relevant party (if any)

     8. MERS Record

     9. Investor Screen from Servicing System

     10. Any pleadings from any judicial or administrative proceeding (if any)




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                                                     FORM OF EXHIBIT D
                                                     (Valuation Information)

  Fannie Mae            Valuation Type   Valuation   Valuation     Transaction Type              Property    Property Sale
   Loan ID              (Appraisal /     Date        Amount        (REO/Short Sale/Third Party   Sale Date   Amount
   Number               BPO)                                       Sale/Other




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                                              FORM OF EXHIBIT E
                                       (List and Offer History Information)

 Fannie Mae Loan ID
                                    Activity Type (List/Offer/Sale)   Activity Date   Activity Amount
      Number




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                                              Annex B
                                         (Trumpp Declaration)




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 WEIL, GOTSHAL & MANGES LLP
 767 Fifth Avenue
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 Facsimile: (212) 310-8007
 Lori R. Fife
 David J. Lender
 Alfredo R. Pérez

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al.                              :   08-13555 (JMP)
                                                                    :
                   Debtors.                                         :   (Jointly Administered)
 -------------------------------------------------------------------x

             DECLARATION OF ZACHARY TRUMPP IN SUPPORT
       OF LEHMAN BROTHERS HOLDINGS INC.’S MOTION PURSUANT TO
     BANKRUPTCY RULE 9019 FOR APPROVAL OF SETTLEMENT AGREEMENT
     REGARDING CLAIM OF FEDERAL NATIONAL MORTGAGE ASSOCIATION

 Pursuant to 28 U.S.C. §1746, I, Zachary Trumpp, declare:

                    1.        I am over 18 years of age and have personal knowledge of all of the facts

 set forth in this declaration and if called upon to testify as a witness, I could testify to the truth of

 the matters set forth herein.

                    2.        I submit this Declaration in support of Lehman Brothers Holdings Inc.’s

 Motion Pursuant to Bankruptcy Rule 9019 for Approval of Settlement Agreement Regarding

 Claim of Federal National Mortgage Association (the “Motion”).1

                    3.        I am currently employed by Lehman Brothers Holdings Inc. (“LBHI”). I

 was previously employed by Aurora Loan Services LLC (“ALS”).

                    4.        As the Vice President of Loss Management at ALS, one of my

 1
  All capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the
 Motion.

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 responsibilities was the development and operation of a department that was responsible for

 identifying residential mortgage loans with the potential for breaches, having the potential

 breaches reviewed either internally or externally by a forensic due diligence provider,

 determining which breaches were material and adverse, and pursuing remedies on behalf of ALS

 and LBHI against certain Mortgage Originators. This work was performed on LBHI’s whole

 loan portfolio and the universe of residential mortgage backed securitizations sponsored by

 LBHI. During my tenure in this position, my team resolved several billion dollars-worth of

 claims on behalf of ALS, LBHI, and Lehman-sponsored residential mortgage backed securities.

                    5.        In my current role at LBHI, I have continued responsibility for Lehman’s

 claims against the Mortgage Originators and am also involved in the evaluation and resolution of

 claims asserted in the Chapter 11 Cases related to residential mortgage backed securities. In this

 regard, I have worked closely with other Lehman employees and the Plan Administrator’s

 professionals to (i) evaluate the various elements of the Fannie Mae Claim, (ii) negotiate with

 representatives of Fannie Mae, and (iii) develop a strategy to use the information to be provided

 by Fannie Mae in connection with the proposed Settlement Agreement to enhance Lehman’s

 ability to obtain recoveries from the Mortgage Originators. I am thus fully familiar with the facts

 and representations set forth in the Motion, which I reviewed and approved prior to its filing. I

 adopt the representations contained in the Motion as if set forth in this Declaration.

                    6.        It is my belief that the Settlement Agreement will benefit LBHI and its

 creditors in four principal respects. First, the Settlement Agreement provides for the Fannie Mae

 Claim to be allowed in the amount of $2.15 billion in LBHI Class 7. This represents a

 substantial reduction from the filed amount of the Fannie Mae Claim (approximately

 $18,937,811,000), is the product of arm’s length negotiations of each element of the Fannie Mae


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 Claim, and takes into consideration, among other things, (i) similar settlements that Fannie Mae

 has entered into with other large banks regarding claims related to alleged breaches of

 representations and warranties; (ii) the strengths and weaknesses of the Parties’ respective legal

 arguments in connection with the disputed portions of the Fannie Mae Claim; and (iii) the

 expense and delay attendant to litigating each of the disputed portions of the Fannie Mae Claim.

                    7.        Second, the Settlement Agreement provides that Fannie Mae will provide

 (or cause its agents to provide) to the Plan Administrator all of the documents and information

 required by the Plan Administrator to pursue LBHI’s indemnification claims against the

 Mortgage Originators for breaches of representations and warranties. I expect that this

 information will significantly enhance LBHI’s ability to obtain recoveries from the Mortgage

 Originators. And these recoveries should offset a portion of the distributions to be made on

 account of the allowed Fannie Mae Claim.

                    8.        Third, in exchange for Aurora’s and ALS’s release of the Collateral to

 Fannie Mae, Fannie Mae will consent to the termination of the RPSA and the Transaction

 Agreements and release Aurora and ALS from any further obligations in connection therewith.

 This will complete the process of extricating Aurora and ALS from their respective obligations

 to Fannie Mae.

                    9.        Fourth, the Settlement Agreement provides that the Lehman Parties on the

 one hand, and Fannie Mae on the other, will provide each other with broad releases of existing

 claims. I expect that this provision will benefit LBHI by providing the Plan Administrator with

 certainty that all disputes with Fannie Mae have been resolved, allowing the Plan Administrator

 to move forward with the process of winding down Aurora and ALS—potentially allowing

 LBHI to realize a return on its substantial equity investment in these entities.


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                    10.       For these reasons, it is my belief that the Settlement Agreement is in the

 best interests of LBHI and its creditors and should be approved.

                    11.       I declare under penalty of perjury under the laws of the United States that

 the foregoing is true and correct to the best of my knowledge.

                                     Executed on this 22nd day of January, 2014.



                                                                    /s/ Zachary Trumpp

                                                                    Zachary Trumpp




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                                               Annex C
                                           (Proposed Order)




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al.                              :   08-13555 (JMP)
                                                                    :
                                    Debtors.                        :   (Jointly Administered)
 -------------------------------------------------------------------x

                     ORDER PURSUANT TO BANKRUPTCY
               RULE 9019 APPROVING SETTLEMENT AGREEMENT
       REGARDING CLAIM OF FEDERAL NATIONAL MORTGAGE ASSOCIATION

                    Upon the motion (the “Motion”) dated January 22, 2014, of Lehman Brothers

 Holdings Inc. (“LBHI” and the “Plan Administrator”), as Plan Administrator under the Modified

 Third Amended Joint Chapter 11 Plan of Lehman Brothers Holdings Inc. and Its Affiliated

 Debtors, pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure, for authorization

 to enter into Settlement Agreement1 regarding claim of Federal National Mortgage Association,

 all as more fully described in the Motion; and the Court having jurisdiction to consider the

 Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and the

 Amended Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.); and

 consideration of the Motion and the relief requested therein being a core proceeding pursuant to

 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

 1409; and due and proper notice of the Motion having been provided to (i) the United States

 Trustee for Region 2; (ii) the Securities and Exchange Commission; (iii) the Internal Revenue

 Service; (iv) the United States Attorney for the Southern District of New York; (v) Federal

 National Mortgage Association; (vi) Federal Housing Finance Agency; and (vii) all other parties

 entitled to notice in accordance with the procedures set forth in the second amended order


 1
     Capitalized terms used but not defined in this Order have the meanings ascribed to them in the Motion.

                                                          1
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 entered on June 17, 2010 governing case management and administrative procedures for these

 cases (ECF No. 9635); and it appearing that no other or further notice need be provided; and a

 hearing having been held to consider the relief requested in the Motion; and the Court having

 found and determined that the relief sought in the Motion is in the best interests of LBHI, its

 creditors, and all parties in interest and that the legal and factual bases set forth in the Motion

 establish just cause for the relief granted herein; and after due deliberation and sufficient cause

 appearing therefor, it is

                    ORDERED that, the Court having found and determined that the compromises

 and settlements set forth in the Settlement Agreement are reasonable and appropriate, the Motion

 is GRANTED; and it is further

                    ORDERED that, pursuant to Bankruptcy Rule 9019, the compromises and

 settlements described in the Motion and contemplated by and provided for in the Settlement

 Agreement are approved and LBHI is authorized to enter into the Settlement Agreement; and it

 is further

                    ORDERED that the Plan Administrator is authorized to execute, deliver,

 implement and fully perform any and all obligations, instruments, documents and papers and to

 take any and all actions reasonably necessary or appropriate to consummate the Settlement

 Agreement and perform any and all obligations and transactions contemplated therein; and it is

 further

                    ORDERED that the terms of this Order shall be immediately effective and

 enforceable upon its entry; and it is further




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                    ORDERED that notice of the Motion as provided therein shall be deemed good

 and sufficient notice of such Motion; and it is further

                    ORDERED that this Court shall retain jurisdiction with respect to all matters

 arising from or related to the interpretation or implementation of this Order.

 Dated: _____________, 2014
        New York, New York




                                              UNITED STATES BANKRUPTCY JUDGE




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